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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 IN RE:                                                  §
                                                         § CASE NO. 21-30085-hdh-11
 NATIONAL RIFLE ASSOCIATION OF                           §
 AMERICA and SEA GIRT LLC,                               § CHAPTER 11
                                                         §
                  Debtors.1                              § Jointly Administered

                           DECLARATION OF LUZMARINA VARGAS

 I, Luzmarina Vargas, pursuant to 28 U.S.C. § 1746, state:

         1.       On or about April 4, 2021, I prepared the summaries of invoices entitled 1)

 Spreadsheet Re Invoices from Gayle Stanford and 2) Spreadsheet Re Invoices from CAA – Air

 Transportation Cost (the “Summaries”). The Summaries are attached hereto as Exhibit “A”.

         2.       All of the entries contained in the Summaries come from documents to the NYAG

 by the National Rifle Association (“NRA”) and were stamped with Bates Numbers.

         3.       All invoices have been filed along with the NYAG Exhibit List and made

 available to the counsel for the NRA.

         I declare, under penalty of perjury, that the foregoing is true and correct.

 Executed on this day April 6, 2021

                                                     /s/ Luzmarina Vargas
                                                     Luzmarina Vargas




 1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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                                  EXHIBIT A
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Invoice Date      Start Date        End Date             Vendor              Billed To                       Manifest              Air Transportation Cost   Credits         Invoice Number     Total Invoice Cost             Other               Bates Number


                                                                                               Air Transportation -
    12/14/2017          1/8/2018         1/8/2018 GS2 Enterprises   National Rifle Association Dallas/Wash                                     $43,000.00                                3244            $43,000.00                                NYAG-00116485

                                                                                               Air Transportation -
       1/7/2017        1/14/2017        1/15/2017 GS2 Enterprises   National Rifle Association Wash/Houston/Vegas                              $45,875.00                                3137            $45,875.00                                NYAG-00116486
                                                                                               Air Transportation -
      4/22/2017        4/28/2017        4/28/2017 GS2 Enterprises   National Rifle Association Atlanta/Salt Lake City/Nashville                $43,650.00                                3167            $43,650.00                                NYAG-00116487


       6/7/2018        6/29/2018        6/29/2018 GS2 Enterprises   National Rifle Association Air Transportation                              $48,365.00                                3318            $48,365.00                                NYAG-00116489
                                                                                               Air Transportation -                                                                                                 Credit for Inv. 3163 - April
      4/22/2017         5/4/2017         5/7/2017 GS2 Enterprises   National Rifle Association Wash/San Antonio/Wash                           $48,450.00       -$1,500.00               3168            $46,950.00 20 Changed Trip                NYAG-00116490
                                                                                               Air Transportation -
       2/6/2017       2/10/2017        2/10/2017 GS2 Enterprises    National Rifle Association Wash/Harrisburg/Wash                            $10,500.00                               3150             $10,500.00                                NYAG-00116491
                                                                                               Air Transportation -
     6/28/2016          7/1/2016         7/4/2016 GS2 Enterprises   National Rifle Association Wash/Orlando/Wash                               $40,480.00                               3079             $50,980.00                                NYAG-00116492
                                                                                               Louisville - Additional Charges -
     6/28/2016        5/15/2016        5/23/2016 GS2 Enterprises    National Rifle Association Cars                                                                                     3079             $50,980.00                    $2,000.00   NYAG-00116492
     6/28/2016         6/8/2016        6/13/2016 GS2 Enterprises    National Rifle Association Nashville Charges                                                                        3079             $50,980.00                    $7,000.00   NYAG-00116492
     6/28/2016        6/13/2016        6/17/2016 GS2 Enterprises    National Rifle Association Dallas Charges                                                                           3079             $50,980.00                    $1,500.00   NYAG-00116492
                                                                                               Air Transportation -
       9/6/2018       9/14/2018        9/14/2018 GS2 Enterprises    National Rifle Association Hot Springs, VA/Houston                         $21,900.00                               3331             $21,900.00                                NYAG-00116493
                                                                                               Air Transportation -
    12/15/2015       12/29/2015       12/29/2015 GS2 Enterprises    National Rifle Association Wash/Bahamas/Dallas/Wash                        $64,890.00                               3009             $64,890.00                                NYAG-00116494
                                                                                               Air Transportation -
     1/29/2015        2/11/2015        2/12/2015 GS2 Enterprises    National Rifle Association Wash/Houston/Harrisburg/Wash                    $44,350.00                               2909             $51,450.00                                NYAG-00116495
                                                                                               Air Transportation -
                                                                                               Redding/Las Vegas/Redding
     1/29/2015          2/4/2015         2/7/2015 GS2 Enterprises   National Rifle Association Balance                                          $7,100.00                               2909             $51,450.00                                NYAG-00116495
                                                                                               Air Transportation -
     4/10/2018        4/16/2018        4/19/2018 GS2 Enterprises    National Rifle Association DC/Phoenix/DC                                   $75,800.00                               3277             $75,800.00                                NYAG-00116496
                                                                                               Air Transportation -
     4/22/2016        4/28/2016        4/28/2016 GS2 Enterprises    National Rifle Association Wash/Lynchburg/Wash                             $28,185.00                               3050             $28,185.00                                NYAG-00116497
                                                                                               Air Transportation -
       7/7/2017       7/23/2017        7/25/2017 GS2 Enterprises    National Rifle Association Wash/Aspen/Wash                                 $68,300.00                               3196             $68,300.00                                NYAG-00116498
                                                                                               Air Transportation -
     5/24/2018          6/1/2018         6/1/2018 GS2 Enterprises   National Rifle Association Los Angeles/Dallas                              $39,900.00                               3298             $39,900.00                                NYAG-00116499
                                                                                               Air Transportation -                                                                                                                                NYAG-00116503
     3/12/2018        3/15/2018        3/18/2018 GS2 Enterprises    National Rifle Association Wash/Atlanta/Wash                               $44,295.00                               3273             $44,295.00                                NYAG-00116504
                                                                                               Air Transportation -
                                                                                               Wash/Springield, M.O., Cape
       8/9/2016       8/11/2016        8/12/2016 GS2 Enterprises    National Rifle Association Girardeau/OKC/Wash                              $55,380.00                               3091             $71,345.00                                NYAG-00116505
                                                                                               Air Transportation -
       8/9/2016       8/11/2016        8/11/2016 GS2 Enterprises    National Rifle Association Cape Girardeau/Wash                             $15,965.00                               3091             $71,345.00                                NYAG-00116505
                                                                                               Air Transportation -
     1/14/2015        1/19/2015        1/24/2015 GS2 Enterprises    National Rifle Association Wash/Las Vegas/Sidney/Wash                      $95,760.00                               2904             $95,760.00                                NYAG-00116506
                                                                                               Air Transportation -
    11/12/2015       11/17/2015       11/20/2015 GS2 Enterprises    National Rifle Association Wash/Vegas/LA/Wash                              $78,150.00                               2999             $78,150.00                                NYAG-00116507
                                                                                               Air Transportation -
     1/25/2017          1/4/2017         1/5/2017 GS2 Enterprises   National Rifle Association Los Angeles/Wash                                $40,850.00                               3143             $40,850.00                                NYAG-00116508
                                                                                               Air Transportation -
     5/22/2015        5/24/2015        5/24/2015 GS2 Enterprises    National Rifle Association Wash/Concord/Wash                               $12,366.00                               2946             $12,366.00                                NYAG-00116510

                                                                                                 Air Transportation -
       9/6/2016       8/31/2016        8/31/2016 GS2 Enterprises    National Rifle Association   Los Angeles/Phoenix/Los Angeles               $12,648.00                               3099             $29,228.00                                NYAG-00116512
                                                                                                 Air Transportation -
       9/6/2016       9/10/2016        9/10/2016 GS2 Enterprises    National Rifle Association   Wash/Bristol/Wash                             $16,580.00                               3099             $29,228.00                                NYAG-00116512
                                                                                                 Air Transportation -
     1/13/2015        1/12/2015        1/17/2015 GS2 Enterprises    National Rifle Association   DC/Dallas/DC                                  $54,625.00                               2903             $54,625.00                                NYAG-00116514
                                                                                                 Air Transportation -
     10/2/2015        10/7/2015       10/13/2015 GS2 Enterprises    National Rifle Association   Wash/Col. Springs/Pierre/Wash                 $87,735.00                               2983             $87,735.00                                NYAG-00116516
                                                                                                 Air Transportation -
     5/31/2015        5/31/2015        5/31/2015 GS2 Enterprises    National Rifle Association   Halifax/New York                              $14,895.00                               2952             $14,895.00                                NYAG-00116517
                                                                                                 Air Transportation -
       4/1/2015         4/7/2015       4/14/2015 GS2 Enterprises    National Rifle Association   Wash/Nashville/Wash                           $49,500.00                               2928             $49,500.00                                NYAG-00116520
                                                                                                 Air Transportation -
     8/26/2019        9/24/2019        9/29/2019 GS2 Enterprises    National Rifle Association   Wash/Pearl/San Antonio/Wash                   $48,400.00                               3384             $48,400.00                                NYAG-00116522




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                                                                                        Air Transportation -
 12/9/2015   12/11/2015     12/11/2015 GS2 Enterprises     NRA - ILA                    DC/Statesville, NC/DC                          $12,375.00                 3008     $12,375.00                                NYAG-00116528
                                                                                        Air Transportation -
 3/20/2015    3/20/2015      3/20/2015 I.I. & I.S. Inc.    NRA - ILA                    DC/Charleston/Boca Raton                       $18,150.00                 2921     $18,150.00                                NYAG-00116530
                                                                                        Air Transportation -
 8/17/2019    8/23/2019      8/25/2019 GS2 Enterprises     National Rifle Association   Wash/Anaheim/Wash                              $71,000.00                 3381     $71,000.00                                NYAG-00116531
 3/19/2019    3/21/2019      3/24/2019 GS2 Enterprises     National Rifle Association   Air Transportation                             $24,100.00                 3361     $24,100.00                                NYAG-00116532
  6/7/2018    6/25/2018      6/28/2018 GS2 Enterprises     National Rifle Association   Air Transportation                             $48,365.00                 3317     $48,365.00                                NYAG-00116547
                                                                                        Air Transportation -
 1/12/2016    1/30/2016       2/7/2016 GS2 Enterprises     National Rifle Association   Wash/LA/Las Vegas/Wash                         $81,700.00                 3018     $81,700.00                                NYAG-00116548
                                                                                        Air Transportation -
 2/25/2016     3/4/2016       3/8/2016 GS2 Enterprises     National Rifle Association   Wash/Las Vegas/LA                              $61,155.00                 3030     $61,155.00                                NYAG-00116549

                                                                                        Air Transportation -
 6/21/2016     6/8/2016      6/17/2016 GS2 Enterprises     National Rifle Association   DC/Nashville/Dallas/DC - Change                 $8,729.26                 3075     $65,529.26                                NYAG-00116550
                                                                                        Air Transportation -
 6/21/2016    6/23/2016      6/26/2016 GS2 Enterprises     National Rifle Association   DC/Alpine, TX/DC                               $56,800.00                 3075     $65,529.26                                NYAG-00116550
                                                                                        Air Transportation -
  6/1/2016     6/8/2016      6/16/2016   GS2 Enterprises   National Rifle Association   Wash/Nashville/Dallas/Wash                     $63,325.00                 3069     $63,325.00                                NYAG-00116551
 6/14/2017     6/2/2017       6/2/2017   GS2 Enterprises   National Rifle Association   Hallow - New York - A/D                                                   3190     $29,099.24                      $576.11   NYAG-00116552
 6/14/2017     6/7/2017       6/7/2017   GS2 Enterprises   National Rifle Association   La Pierre - Nashville - A/D                                               3190     $29,099.24                    $1,385.04   NYAG-00116552
 6/14/2017     6/8/2017       6/8/2017   GS2 Enterprises   National Rifle Association   La Pierre - Nashville - A/D                                               3190     $29,099.24                    $2,469.92   NYAG-00116552
 6/14/2017     6/9/2017       6/9/2017   GS2 Enterprises   National Rifle Association   La Pierre - Nashville - A/D                                               3190     $29,099.24                      $918.17   NYAG-00116552
 6/14/2017    5/27/2017      5/27/2017   GS2 Enterprises   National Rifle Association   Phoenix Gratuity                                                          3190     $29,099.24                    $1,000.00   NYAG-00116552
 6/14/2017     6/2/2017       6/2/2017   GS2 Enterprises   National Rifle Association   New York - Hallow                                                         3190     $29,099.24                      $150.00   NYAG-00116552
 6/14/2017    6/14/2017      6/14/2017   GS2 Enterprises   National Rifle Association   Nashville Gratuity                                                        3190     $29,099.24                    $1,000.00   NYAG-00116552
                                                                                        Air Transportation -
 6/14/2017    6/20/2017      6/22/2017 GS2 Enterprises     National Rifle Association   Wash/New York/Wash                             $21,600.00                 3190     $29,099.24                                NYAG-00116552
                                                                                        Air Transportation -
 10/6/2016   10/12/2016     10/12/2016 GS2 Enterprises     National Rifle Association   Wash/Lexington/Wash                            $14,950.00                 3113     $46,775.00                                NYAG-00116553
                                                                                        Air Transportation -
 10/6/2016   10/13/2016     10/23/2016 GS2 Enterprises     National Rifle Association   Changes and Add. Days                         $102,610.00   -$70,785.00   3113     $46,775.00 Credit for Inv. 3108           NYAG-00116553
                                                                                        Air Transportation -
  4/5/2016     4/1/2016       4/5/2016 GS2 Enterprises     National Rifle Association   Amended Itinerary - Add Raleigh                 $4,670.00                 3045     $54,370.00                                NYAG-00116556
                                                                                        Air Transportation -                                                                          Credit for Deposit from
  4/5/2016     4/7/2016      4/12/2016 GS2 Enterprises     National Rifle Association   Wash/Dallas/Wash                               $74,700.00   -$25,000.00   3045     $54,370.00 Inv. 3037                      NYAG-00116556
                                                                                        Air Transportation -
10/13/2017   10/17/2017     10/19/2017 GS2 Enterprises     National Rifle Association   Wash/Chicago/Nashville/Wash                    $34,700.00                 3227     $34,700.00                                NYAG-00116557
 10/9/2018   10/10/2018     10/11/2018 GS2 Enterprises     National Rifle Association   Air Transportation                             $40,920.00                 3341     $40,920.00                                NYAG-00116558
                                                                                        Air Transportation -
 2/19/2016    2/21/2016      2/21/2016 GS2 Enterprises     National Rifle Association   Wash/Daytona/Wash                              $18,650.00                 3029     $18,650.00                                NYAG-00116559
                                                                                        Air Transportation -
 5/30/2017     6/7/2017      6/11/2017 GS2 Enterprises     National Rifle Association   Wash/Nashville/Wash                            $43,245.00                 3183     $43,245.00                                NYAG-00116560
                                                                                                                                                                                      Credit for Air
                                                                                                                                                                                      Transportation -
                                                                                      Air Transportation -                                                                            Washington/Sea
 5/16/2016    5/20/2016      5/21/2016 GS2 Enterprises     National Rifle Association Las Vegas/Louisville/New York                    $45,425.00   -$15,995.00   3057     $29,475.00 Island/Wash                    NYAG-00116562
                                                                                      Dallas - Add. Transportation
 4/29/2015    4/17/2015      4/20/2015 I.I. & I.S. Inc.    National Rifle Association Charge                                            $8,723.24                 2937     $17,483.24                                NYAG-00116563
 4/29/2015    4/28/2015      4/28/2015 I.I. & I.S. Inc.    National Rifle Association Dallas - Add. Gratuity                                                      2937     $17,483.24                     $100.00    NYAG-00116563
                                                                                      Air Transportation -
                                                                                      Los Angeles Credit for Changed
 4/29/2015    4/26/2015      4/28/2015 I.I. & I.S. Inc.    National Rifle Association Trip                                                          -$17,740.00   2937     $17,483.24                                NYAG-00116563
                                                                                      Air Transportation -
 4/29/2015     5/7/2015      5/11/2015 I.I. & I.S. Inc.    National Rifle Association Wash/Charleston/Lexington/DC                     $26,400.00                 2937     $17,483.24                                NYAG-00116563
                                                                                      Air Transportation -
10/20/2016    11/2/2016      11/7/2016 GS2 Enterprises     National Rifle Association Wash/Dallas/Wash                                 $83,250.00                 3116     $83,250.00                                NYAG-00116564

                                                                                        Air Transportation -
 4/14/2018    4/16/2018      4/22/2018 GS2 Enterprises     National Rifle Association   Changed it - Added Days & Dallas               $55,085.00                 3281     $55,085.00                                NYAG-00116565
 3/13/2018    3/22/2018      3/26/2018 GS2 Enterprises     National Rifle Association   Air Transportation                             $47,715.00                 3274     $47,715.00                                NYAG-00116567
                                                                                        Air Transportation -
12/17/2015    1/18/2016      1/23/2016 GS2 Enterprises     National Rifle Association   Orlando/Las Vegas/Wash                         $50,000.00                 3012     $50,000.00                                NYAG-00116568
                                                                                        Invoice No. 2999 - Add. Collect to
 12/3/2015   11/17/2015     11/20/2015 GS2 Enterprises     National Rifle Association   Add Oklahoma City                               $3,836.68                 3005     $64,086.68                                NYAG-00116569
                                                                                        Air Transportation -
 12/3/2015    12/4/2015      12/6/2015 GS2 Enterprises     National Rifle Association   Wash/Wichita/Wash                              $60,250.00                 3005     $64,086.68                                NYAG-00116569
                                                                                        Air Transportation -
  4/1/2015     4/8/2015      4/12/2015 GS2 Enterprises     National Rifle Association   Los Angeles/Nashville/NY                       $52,150.00                 2929     $52,150.00                                NYAG-00116575
                                                                                        Air Transportation -
 1/22/2015    1/22/2015      1/24/2015 GS2 Enterprises     National Rifle Association   NY/Las Vegas/NY                                $53,090.00                 2906     $53,090.00                                NYAG-00116576




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                                                                                     Air Transportation -
 9/10/2015    9/17/2015      9/24/2015 GS2 Enterprises    National Rifle Association Wash/LA/Albuquerque/Wash                      $88,200.00          2974     $88,200.00               NYAG-00116578
                                                                                     Air Transportation -
10/15/2015   10/16/2015     10/18/2015 GS2 Enterprises    National Rifle Association Wash/Charlston/Wash                           $27,300.00          2988     $27,300.00               NYAG-00116579
                                                                                     Air Transportation -
  7/8/2015     7/5/2015       7/6/2015 GS2 Enterprises    National Rifle Association Wash/Daytona/Wash                             $66,991.79          2960     $66,991.79               NYAG-00116581
                                                                                     Air Transportation -
                                                                                     Los Angeles/Las Vegas/Los
10/20/2016   10/19/2016     10/19/2016 I.I. & I.S. Inc.   NRA - ILA                  Angeles                                        $8,125.00          3117      $8,125.00               NYAG-00116582
                                                                                     Air Transportation -
 1/12/2015     1/7/2015      1/10/2015 GS2 Enterprises    National Rifle Association Wash/Birmingham/Wash                          $39,958.63          2902     $39,958.63               NYAG-00116583
                                                                                     Air Transportation -
  1/7/2016    1/22/2016      1/22/2016 I.I. & I.S. Inc.   NRA - ILA                  Las Vegas/Palm Springs                         $6,115.00          3017      $6,115.00               NYAG-00116584
                                                                                     Air Transportation -
  4/4/2019    4/14/2019      4/19/2019 GS2 Enterprises    National Rifle Association Wash/Phoenix/Wash                             $87,200.00          3365     $87,200.00               NYAG-00116585
                                                                                     Air Transportation -
10/20/2017   10/24/2017     10/24/2017 I.I. & I.S. Inc.   NRA - ILA                  Wash/Wilmington, NC/Wash                      $16,050.00          3229     $16,350.00               NYAG-00116588
                                                                                     New York - Add. Transfer Charge
10/20/2017    9/29/2017      9/29/2017 I.I. & I.S. Inc.   NRA - ILA                  Greeter                                                           3229     $16,350.00    $300.00    NYAG-00116588
                                                                                     Air Transportation -
                                                                                     Changed Itinerary for Inv. 3250 &
  2/7/2018    1/23/2018       2/3/2018 GS2 Enterprises    National Rifle Association 3253 Add. Charges                             $73,406.16          3259     $73,406.16               NYAG-00116604
                                                                                     Air Transportation -
                                                                                     DC/Colorado
 12/5/2016   12/23/2016       1/3/2016 GS2 Enterprises    National Rifle Association Springs/Bahamas/DC                            $89,950.00          3130     $89,950.00               NYAG-00116605
                                                                                     Air Transportation -
 9/18/2017    9/28/2017      10/4/2017 GS2 Enterprises    National Rifle Association Wash/Montana/Utah/LA/Wash                     $89,850.00          3216     $89,850.00               NYAG-00116607
                                                                                     Air Transportation -
10/23/2017    11/2/2017      11/7/2017 GS2 Enterprises    National Rifle Association Wash/Nebraska/Dallas/Wash                     $61,400.00          3230     $61,400.00               NYAG-00116609
                                                                                     Air Transportation -
 5/25/2016    5/26/2016      5/27/2016 GS2 Enterprises    National Rifle Association Wash/Denver/Wash                              $45,760.00          3060     $45,760.00               NYAG-00116610
                                                                                     Air Transportation -
 3/31/2016    3/30/2016      3/30/2016 GS2 Enterprises    National Rifle Association Wash/Columbus/Wash                            $12,995.00          3041     $12,995.00               NYAG-00116611
                                                                                     Air Transportation -
 6/15/2016     6/9/2016       6/9/2016 GS2 Enterprises    National Rifle Association Wash/Nashville                                $14,864.00          3073     $41,598.40               NYAG-00116612
                                                                                     Air Transportation -
 6/15/2016    6/10/2016      6/10/2016 GS2 Enterprises    National Rifle Association Nashville/DC/Nashville                        $24,134.40          3073     $41,598.40               NYAG-00116612
 6/15/2016                             GS2 Enterprises    National Rifle Association Add. Charges - Louisville                      $2,600.00          3073     $41,598.40               NYAG-00116612
                                                                                     Air Transportation -
 8/25/2016    8/29/2016       9/2/2016 GS2 Enterprises    National Rifle Association Wash/LA/Wash                                  $67,400.00          3095     $67,400.00               NYAG-00116613
                                                                                     Air Transportation -
  8/7/2017    8/20/2017      8/21/2017 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                              $50,100.00          3204     $50,100.00               NYAG-00116614
                                                                                     Air Transportation -
                                                                                     Wash/Baton
                                                                                     Rouge/Dallas/Springfield/Dallas/
 9/14/2017    9/19/2017      9/25/2017 GS2 Enterprises    National Rifle Association Wash                                          $87,850.00          3215     $89,679.90               NYAG-00116615
 9/14/2017    9/19/2017      9/20/2017 GS2 Enterprises    National Rifle Association Springfield, MO - Lodging                                         3215     $89,679.90   $1,829.90   NYAG-00116615
  6/7/2018     7/1/2018       7/8/2018 GS2 Enterprises    National Rifle Association Air Transportation                            $49,700.00          3319     $49,700.00               NYAG-00116616
                                                                                     Air Transportation -
 1/17/2017    1/25/2017      1/30/2017 GS2 Enterprises    National Rifle Association Wash/Los Angeles/Atlanta/Wash                 $75,340.00          3140     $75,340.00               NYAG-00116617
                                                                                     Air Transportation -
 5/26/2015     6/2/2015       6/7/2015 GS2 Enterprises    National Rifle Association Wash/Victoria/Wash                            $76,675.00          2948     $76,675.00               NYAG-00116619
                                                                                     Air Transportation -
                                                                                     Wash/St. Louis/Colorado
 6/11/2015    6/16/2015      6/19/2015 GS2 Enterprises    National Rifle Association Springs/Wash                                  $75,640.00          2955     $75,640.00               NYAG-00116620
                                                                                     Air Transportation -
 1/25/2017    1/31/2017       2/5/2017 GS2 Enterprises    National Rifle Association Wash/Vegas/LA                                 $70,095.00          3142     $70,095.00               NYAG-00116622
                                                                                     Air Transportation -
 9/19/2017    9/29/2017      9/29/2017 GS2 Enterprises    National Rifle Association Dallas/Provo/Dallas                           $29,725.00          3217     $29,725.00               NYAG-00116623
                                                                                     Air Transportation -
  2/8/2018     2/9/2018       2/9/2018 GS2 Enterprises    National Rifle Association Wash/Harrisburg/Wash                          $10,475.00          3261     $34,425.00               NYAG-00116624
                                                                                     Air Transportation -
  2/8/2018    2/19/2018      2/19/2018 GS2 Enterprises    National Rifle Association Orlando/Wash                                  $23,950.00          3261     $34,425.00               NYAG-00116624
                                                                                     Air Transportation -
 5/26/2015    5/26/2015      5/30/2015 GS2 Enterprises    National Rifle Association Wash/LA/Wash                                  $71,300.00          2947     $71,300.00               NYAG-00116625
                                                                                     Air Transportation -
 6/27/2016     7/5/2016       7/7/2016 GS2 Enterprises    National Rifle Association Wash/Jackson/Wash                             $54,550.00          3078     $54,550.00               NYAG-00116627

                                                                                     Air Transportation -
11/21/2016   11/13/2016     11/16/2016 GS2 Enterprises    National Rifle Association Wash/Tulsa/Austin/Orlando/ Wash               $54,535.02          3123     $54,535.02               NYAG-00116628




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                                                                                      Air Transportation -
                                                                                      Dallas/Wichita/Kearney/Pierre/
 10/4/2017    10/6/2017      10/9/2017 GS2 Enterprises     National Rifle Association DC                                               $65,600.00                 3223      $65,600.00                               NYAG-00116629
                                                                                                                                                                                       Credit from Inv. 3149 -
                                                                                        Air Transportation -                                                                           Changed Itinerary -
 3/17/2017    3/26/2017      3/31/2017 GS2 Enterprises     National Rifle Association   Wash/LA/Wash                                   $69,700.00   -$42,081.00   3155      $27,619.00 Wash/Dallas/Wash              NYAG-00116630
                                                                                        Air Transportation -
10/30/2015    11/5/2015     11/10/2015 GS2 Enterprises     National Rifle Association   Wash/Dallas/Wash                               $72,385.00                 2997      $72,385.00                               NYAG-00116631
                                                                                        Air Transportation -
 7/24/2015    7/20/2015      7/22/2015 GS2 Enterprises     National Rifle Association   Wash/Aspen/Wash                                $49,627.94                 2966      $49,627.94                               NYAG-00116632
                                                                                        Air Transportation -
 8/24/2015    8/22/2015      8/22/2015 GS2 Enterprises     National Rifle Association   Wash/Bristol/Wash                              $12,695.00                 2970      $12,695.00                               NYAG-00116633
                                                                                        Air Transportation -
 5/10/2017    5/21/2017      5/24/2017 GS2 Enterprises     National Rifle Association   DC/Phoenix/Charlotte/DC                        $63,400.00                 3174      $63,400.00                               NYAG-00116634
                                                                                        Air Transportation -
11/29/2017   11/11/2017     11/16/2017 GS2 Enterprises     National Rifle Association   Wash/Orlando/Austin/Wash                       $61,300.00                 3237      $21,499.87                               NYAG-00116635
                                                                                        Air Transportation -                                                                           Credit for Cancelled Trip -
11/29/2017    12/1/2017      12/3/2017 GS2 Enterprises     National Rifle Association   Wash/New York/Wash                             $20,750.00   -$61,400.00   3237      $21,499.87 Inv. 3230                     NYAG-00116635
11/29/2017   10/18/2017     10/18/2017 GS2 Enterprises     National Rifle Association   W. LaPierre - Nashville-A/D                                               3237      $21,499.87                    $499.87    NYAG-00116635
11/29/2017   11/10/2017     11/10/2017 GS2 Enterprises     National Rifle Association   Dallas Gratuity                                                           3237      $21,499.87                    $350.00    NYAG-00116635

                                                                                      Air Transportation -
 4/13/2015    4/14/2015      4/14/2015 GS2 Enterprises     National Rifle Association Wash/Boston/Wash - Late Cancel                    $8,500.00                 2930      $45,250.00                               NYAG-00116643
                                                                                      Air Transportation -
 4/13/2015    4/17/2015      4/17/2015 GS2 Enterprises     National Rifle Association Wash/Dallas/Wash                                 $42,800.00                 2930      $45,250.00                               NYAG-00116643
                                                                                      Changed Air Transportation - Inv.
                                                                                      2929 Los Angeles/ Nashville/St.
 4/13/2015    4/12/2015      4/12/2015 GS2 Enterprises     National Rifle Association Louis - Credit                                                 -$6,050.00   2930      $45,250.00                               NYAG-00116643
                                                                                      Air Transportation -
                                                                                      Wash/Phoenix/Salt Lake
 2/11/2015    2/17/2015      2/21/2015 GS2 Enterprises     National Rifle Association City/Wash                                        $79,600.00                 2915      $79,600.00                               NYAG-00116644
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
                                                                                      Air Transportation -
 7/15/2019                               GS2 Enterprises   National Rifle Association LAX/Ind/LAX                                       $2,058.60                 3378       $3,690.00                               NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
 7/15/2019                               GS2 Enterprises   National Rifle Association Marriott Hotel                                                              3378       $3,690.00                    $847.25    NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
 7/15/2019                               GS2 Enterprises   National Rifle Association Meals                                                                       3378       $3,690.00                    $429.15    NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
                                                                                      Tips - Baggage, Maid, Taxi
 7/15/2019                               GS2 Enterprises   National Rifle Association Drivers                                                                     3378       $3,690.00                    $205.00    NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
 7/15/2019                               GS2 Enterprises   National Rifle Association Taxis                                                                       3378       $3,690.00                    $150.00    NYAG-00116645
                                                                                      Air Transportation -
 10/2/2018    10/3/2018      10/3/2018 I.I. & I.S. Inc.    NRA - ILA                  Wash/Lexington/Wash                              $13,990.00                 3337      $13,990.00                               NYAG-00116647

                                                                                        Air Transportation -
 3/18/2017    3/22/2017      3/22/2017 I.I. & I.S. Inc.    NRA - ILA                    Wash/Little Rock/Nashville/Wash                $24,600.00                 3156      $24,600.00                               NYAG-00116648
                                                                                        Air Transportation -
  5/6/2019    5/15/2019      5/15/2019 GS2 Enterprises     National Rifle Association   DC/Los Angeles (OJAI)                          $34,050.00                 3370      $73,850.00                               NYAG-00116649
                                                                                        Air Transportation -
  5/6/2019    5/21/2019      5/21/2019 GS2 Enterprises     National Rifle Association   Los Angeles/DC                                 $39,800.00                 3370      $73,850.00                               NYAG-00116649
                                                                                        Air Transportation -
 1/10/2019    1/15/2019      1/26/2019 GS2 Enterprises     National Rifle Association   DC/Dallas/Vegas/LA/DC                         $136,300.00                 3354     $136,300.00                               NYAG-00116650
                                                                                        Air Transportation -
11/29/2017    12/4/2017      12/4/2017 I.I. & I.S. Inc.    NRA - ILA                    Wash/Raleigh, NC/Wash                          $11,980.00                 3236      $12,704.88                               NYAG-00116652
11/29/2017   10/18/2017     10/18/2017 I.I. & I.S. Inc.    NRA - ILA                    Chicago - A/D                                                             3236      $12,704.88                    $230.88    NYAG-00116652
11/29/2017   10/22/2017     10/22/2017 I.I. & I.S. Inc.    NRA - ILA                    Los Angeles - A/D                                                         3236      $12,704.88                    $494.00    NYAG-00116652
                                                                                        Air Transportation -
 7/13/2019    7/22/2019      7/26/2019 GS2 Enterprises     National Rifle Association   DC/Aspen/Jackson/DC                            $51,900.00                 3377      $36,035.32                               NYAG-00116655
                                                                                        Change to Camarillo - Add.
 7/13/2019    5/15/2019      5/19/2019   GS2 Enterprises   National Rifle Association   Collection                                      $3,100.00                 3377      $36,035.32                               NYAG-00116655
 7/13/2019    4/17/2019      4/19/2019   GS2 Enterprises   National Rifle Association   Schropp - Atlanta/NY                            $1,311.82   -$20,276.50   3377      $36,035.32 Credit from Inv. 3372         NYAG-00116655
 3/19/2019    2/13/2019      2/13/2019   GS2 Enterprises   National Rifle Association   Hallow - Orlando - As Directed                                            3361      $27,695.92                    $753.87    NYAG-00116657
 3/19/2019    2/17/2019      2/17/2019   GS2 Enterprises   National Rifle Association   Hallow - Orlando - A/D                                                    3361      $27,695.92                    $698.27    NYAG-00116657
 3/19/2019    2/21/2019      2/21/2019   GS2 Enterprises   National Rifle Association   Schropp - Dallas - A/D                                                    3361      $27,695.92                    $225.88    NYAG-00116657




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 3/19/2019     3/1/2019       3/1/2019   GS2 Enterprises   National Rifle Association   Schropp - Las Vegas - A/D                                                 3361     $27,695.92                     $287.10   NYAG-00116657
 3/19/2019     3/3/2019       3/3/2019   GS2 Enterprises   National Rifle Association   Schropp - Las Vegas - A/D                                                 3361     $27,695.92                     $335.32   NYAG-00116657
 3/19/2019     3/4/2019       3/4/2019   GS2 Enterprises   National Rifle Association   Schropp - Las Vegas - A/D                                                 3361     $27,695.92                     $281.10   NYAG-00116657
 3/19/2019     3/6/2019       3/6/2019   GS2 Enterprises   National Rifle Association   Schropp - New York - A/D                                                  3361     $27,695.92                   $1,014.38   NYAG-00116657
                                                                                        Air Transportation -
 3/19/2019    3/21/2019      3/24/2019 GS2 Enterprises     National Rifle Association   DC/Hickory, NC                                 $24,100.00                 3361     $27,695.92                               NYAG-00116657
                                                                                        Air Transportation -
 1/31/2017    1/31/2017      1/31/2017 GS2 Enterprises     National Rifle Association   Las Vegas/Wash/Las Vegas                       $47,850.00                 3145     $50,035.00                               NYAG-00116666
                                                                                        Air Transportation -
 1/31/2017    1/31/2017       2/6/2017   GS2 Enterprises   National Rifle Association   Wash/Vegas/Wash - Change                        $2,185.00                 3145     $50,035.00                               NYAG-00116666
 8/22/2018    8/26/2018      8/30/2018   GS2 Enterprises   National Rifle Association   Air Transportation                             $89,385.00                 3326     $89,385.00                               NYAG-00116667
  7/7/2017    6/14/2017      6/14/2017   GS2 Enterprises   National Rifle Association   Hallow - Dallas - A/D                                                     3197     $21,579.94                     $808.37   NYAG-00116668
  7/7/2017    6/16/2017      6/16/2017   GS2 Enterprises   National Rifle Association   Hallow - Dallas - A/D                                                     3197     $21,579.94                   $1,487.11   NYAG-00116668
  7/7/2017    6/17/2017      6/17/2017   GS2 Enterprises   National Rifle Association   Hallow - Dallas - A/D                                                     3197     $21,579.94                   $1,406.39   NYAG-00116668
  7/7/2017    6/17/2017      6/17/2017   GS2 Enterprises   National Rifle Association   Hallow - Sacramento - A/D                                                 3197     $21,579.94                     $778.87   NYAG-00116668
  7/7/2017    6/20/2017      6/20/2017   GS2 Enterprises   National Rifle Association   Hallow - Sacramento - A/D                                                 3197     $21,579.94                     $476.87   NYAG-00116668
  7/7/2017     7/1/2017       7/1/2017   GS2 Enterprises   National Rifle Association   LaPierre - Orlando - A/D                                                  3197     $21,579.94                   $1,572.33   NYAG-00116668
                                                                                        Inv. 3192 - Air Transportation -
  7/7/2017                               GS2 Enterprises   National Rifle Association   Add. Charge                                    $15,050.00                 3197     $21,579.94                               NYAG-00116668
                                                                                        Air Transportation -
 9/21/2016     9/9/2016      9/10/2016 GS2 Enterprises     National Rifle Association   Dallas/Wash/Dallas                             $34,959.88                 3104     $34,959.88 Re: Dana Loesch               NYAG-00116671
                                                                                        Air Transportation -
 2/13/2018    2/25/2018      2/28/2018 GS2 Enterprises     National Rifle Association   Wash/Palm Beach/Wash                           $46,500.00                 3262     $46,500.00                               NYAG-00116672
                                                                                        Air Transportation -
12/13/2017   12/26/2017     12/26/2017 GS2 Enterprises     National Rifle Association   Colorado/Miami                                 $46,285.00                 3241     $46,285.00                               NYAG-00116673
                                                                                        Air Transportation -
 9/28/2016    10/5/2016      10/9/2016 GS2 Enterprises     National Rifle Association   Wash/Dallas/Los Angeles/Wash                   $70,785.00                 3108     $70,785.00                               NYAG-00116674
                                                                                        Air Transportation -
 10/6/2016   10/12/2016     10/12/2016 GS2 Enterprises     National Rifle Association   Wash/Lexington/Wash                            $14,950.00                 3114     $46,775.00                               NYAG-00116675
                                                                                        Air Transportation -
 10/6/2016   10/13/2016     10/23/2016 GS2 Enterprises     National Rifle Association   Changes and Add. Days                         $102,610.00   -$70,785.00   3114     $46,775.00 Credit from Inv. 3108         NYAG-00116675
 10/3/2018    10/3/2018      10/4/2018 GS2 Enterprises     National Rifle Association   Air Transportation                             $18,610.00                 3338     $18,610.00                               NYAG-00116676
  9/6/2018    9/14/2018      9/14/2018 GS2 Enterprises     National Rifle Association   Air Transportation                             $21,900.00                 3331     $21,900.00                               NYAG-00116677
                                                                                        Air Transportation -
 3/22/2016    3/23/2016      3/23/2016 GS2 Enterprises     National Rifle Association   Wash/Lynchburg/Wash                            $16,250.00                 3039     $16,250.00                               NYAG-00116679
                                                                                        Air Transportation -
 4/22/2016    4/28/2016      4/28/2016 GS2 Enterprises     National Rifle Association   Wash/Minneapolis/Wash                          $28,185.00                 3050     $28,185.00                               NYAG-00116680
                                                                                        Dallas - Add. Transportation                                                                                                NYAG-00116681
 5/11/2015    4/17/2015      4/20/2015 GS2 Enterprises     National Rifle Association   Charge                                          $8,723.24                 2944     $50,258.24                               NYAG-00116871
                                                                                                                                                                                                                    NYAG-00116681
 5/11/2015    4/28/2015      4/28/2015 GS2 Enterprises     National Rifle Association   Dallas - Add. Gratuity                                                    2944     $50,258.24                    $100.00    NYAG-00116871
                                                                                        Air Transportation -
                                                                                        Los Angeles Credit for Changed                                                                                              NYAG-00116681
 5/11/2015    4/26/2015      4/28/2015 GS2 Enterprises     National Rifle Association   Trip                                                        -$17,740.00   2944     $50,258.24                               NYAG-00116871
                                                                                        Air Transportation -                                                                                                        NYAG-00116681
 5/11/2015    5/11/2015      5/11/2015 GS2 Enterprises     National Rifle Association   Wash/Lexington/DC                              $11,925.00                 2944     $50,258.24                               NYAG-00116871
                                                                                        Air Transportation -                                                                                                        NYAG-00116681
 5/11/2015    5/18/2015      5/20/2015 GS2 Enterprises     National Rifle Association   Wash/Dallas/Charlotte/Wash                     $47,250.00                 2944     $50,258.24                               NYAG-00116871
                                                                                        Air Transportation -
 4/22/2017     5/9/2017      5/12/2017 GS2 Enterprises     National Rifle Association   Wash/Los Angeles/Wash                          $68,900.00                 3169     $68,900.00                               NYAG-00116682
                                                                                        Air Transportation -
  8/7/2017    8/24/2017      8/25/2017 GS2 Enterprises     National Rifle Association   Wash/Madison/Wash                              $40,050.00                 3206     $40,050.00                               NYAG-00116683
                                                                                        Inv. 3260 - Air Transportation -
 2/24/2018                               GS2 Enterprises   National Rifle Association   Changed Itinerary                              $17,750.00                 3269     $52,965.00                               NYAG-00116684
                                                                                        Inv. 3264 - Air Transportation -
 2/24/2018                             GS2 Enterprises     National Rifle Association   Changed Itinerary                               $5,500.00                 3269     $52,965.00                               NYAG-00116684
 2/24/2018    2/25/2018      2/25/2018 GS2 Enterprises     National Rifle Association   Air Transportation                             $29,715.00                 3269     $52,965.00                               NYAG-00116684
                                                                                        Air Transportation -
 3/24/2016     4/1/2016       4/5/2016 GS2 Enterprises     National Rifle Association   Wash/Reno/Wash                                 $83,550.00                 3040     $83,550.00                               NYAG-0116686
                                                                                        Air Transportation -
 6/11/2015    6/10/2015      6/14/2015 GS2 Enterprises     National Rifle Association   Wash/Nashville/Wash                            $28,359.23                 2954     $28,359.23                               NYAG-00116687
                                                                                        Air Transportation -
  9/8/2016    9/14/2016      9/16/2016 GS2 Enterprises     National Rifle Association   Wash/OK. City/ Louisville/Wash                 $38,300.00                 3100     $38,300.00                               NYAG-00116688
                                                                                        Air Transportation -
 2/16/2016    2/11/2016      2/11/2016 GS2 Enterprises     National Rifle Association   Wash/Harrisburg/Wash                           $12,050.00                 3026     $12,050.00                               NYAG-00116689
                                                                                        Air Transportation -
 5/24/2018    5/30/2018      5/30/2018 GS2 Enterprises     National Rifle Association   Wash/Los Angeles                               $47,850.00                 3297     $47,850.00                               NYAG-00116690
                                                                                        Air Transportation -
 9/10/2015    9/14/2015      9/14/2015 GS2 Enterprises     National Rifle Association   Wash/Charlotte/Wash                            $13,280.00                 2976     $13,280.00                               NYAG-00116691
                                                                                        Air Transportation -
  3/1/2016     3/4/2016      3/14/2016 GS2 Enterprises     National Rifle Association   Add. Dallas, Add. Collect                      $12,350.00                 3036     $12,350.00                               NYAG-00116692




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  3/3/2015    2/28/2015       3/1/2015 GS2 Enterprises      National Rifle Association Air Transportation                             $19,033.06                 2920     $19,033.06                               NYAG-00116696
                                                                                       Air Transportation -
 5/21/2015    5/26/2015      5/30/2015 GS2 Enterprises      National Rifle Association Wash/LA/Wash                                   $72,400.00                 2945     $72,400.00                               NYAG-00116699
                                                                                       Air Transportation -
 3/28/2019     4/1/2019       4/1/2019   GS2 Enterprises    National Rifle Association Wash/Houston/Wash                              $37,850.00                 3363     $37,850.00                               NYAG-00116702
  9/8/2017    6/11/2017      6/11/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - New Orleans - A/D                                                   3213     $14,718.01                     $486.87   NYAG-00116711
  9/8/2017    6/12/2017      6/12/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - New Orleans - A/D                                                   3213     $14,718.01                   $1,020.70   NYAG-00116711
  9/8/2017    6/14/2017      6/14/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - New Orleans - A/D                                                   3213     $14,718.01                     $486.87   NYAG-00116711
  9/8/2017    6/16/2017      6/16/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - Dallas - A/D                                                        3213     $14,718.01                     $960.24   NYAG-00116711
  9/8/2017    6/21/2017      6/21/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - New York - A/D                                                      3213     $14,718.01                   $1,366.53   NYAG-00116711
  9/8/2017     7/1/2017       7/1/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - Vancouver - A/D                                                     3213     $14,718.01                     $509.87   NYAG-00116711
  9/8/2017    7/10/2017      7/10/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - Vancouver - A/D                                                     3213     $14,718.01                     $486.87   NYAG-00116711
  9/8/2017    7/12/2017      7/12/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - San Francisco - A/D                                                 3213     $14,718.01                     $244.88   NYAG-00116711
  9/8/2017     8/3/2017       8/3/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - Nashville - A/D                                                     3213     $14,718.01                     $479.87   NYAG-00116711
  9/8/2017     8/4/2017       8/4/2017   I.I. & I.S. Inc.   NRA - ILA                  Cox - Nashville - A/D                                                     3213     $14,718.01                     $590.31   NYAG-00116711
                                                                                       Air Transportation -
  9/8/2017    10/5/2017      10/5/2017 I.I. & I.S. Inc.     NRA - ILA                  Minneapolis/Pierre                              $8,085.00                 3213     $14,718.01                               NYAG-00116711
                                                                                       Air Transportation -
 4/20/2018    4/26/2018      4/29/2018 GS2 Enterprises      National Rifle Association Wash/California/Wash                           $76,950.00                 3282     $76,950.00                               NYAG-00116728
 5/10/2017     5/9/2017      5/12/2017 GS2 Enterprises      National Rifle Association Change Itinerary - Add. Collect                 $3,500.00                 3173     $21,575.00                               NYAG-00116729
                                                                                       Air Transportation -
 5/10/2017    5/20/2017      5/20/2017 GS2 Enterprises      National Rifle Association DC/Columbia, SC/DC                             $18,075.00                 3173     $21,575.00                               NYAG-00116729
                                                                                       Air Transportation -
 5/30/2017    6/14/2017      6/19/2017 GS2 Enterprises      National Rifle Association Wash/Dallas/Wash                               $55,500.00                 3184     $55,500.00                               NYAG-00116730

                                                                                         Air Transportation -                                                                        Credit for Changed
 6/15/2018    7/10/2018      7/14/2018 GS2 Enterprises      National Rifle Association   DC/Scottsdale/Col./DC                        $84,325.00   -$10,500.00   3320     $73,825.00 Itinerary Inv. 3317 & 3318    NYAG-00116731
                                                                                         Air Transportation -                                                                        Re: Inv. 3142 & 3143
                                                                                         Changed Itinerary -                                                                         02/06/17 - 02/09/17 --
 1/27/2017    1/31/2017       2/3/2017 GS2 Enterprises      National Rifle Association   Wash/Las/Wash                                $64,135.00                 3144     $64,135.00 Wash/LA/Wash                  NYAG-00116733
                                                                                         Air Transportation -                                                                        Credit for Changed
 10/9/2017   10/12/2017     10/15/2017 GS2 Enterprises      National Rifle Association   Wash/Arizona/Wash                            $80,770.00   -$21,150.00   3225     $59,620.00 Itinerary Inv. 3223           NYAG-00116735
                                                                                         Air Transportation -
 4/14/2017    4/20/2017      4/23/2017 GS2 Enterprises      National Rifle Association   Wash/John's Island/Bristol/Wash              $35,850.00                 3163     $40,450.00                               NYAG-00116736
                                                                                         Air Transportation -                                                                        Credit for Inv. 3159 -
 4/14/2017    4/25/2017       5/1/2017 GS2 Enterprises      National Rifle Association   Wash/Atlanta/Wash                            $32,875.00   -$28,275.00   3163     $40,450.00 Cancelled Trip                NYAG-00116736
                                                                                         Air Transportation -
 10/6/2016   10/12/2016     10/12/2016 GS2 Enterprises      National Rifle Association   Wash/Lexington/Wash                          $14,950.00                 3114     $46,775.00                               NYAG-00116737
                                                                                         Air Transportation -
 10/6/2016    10/5/2016      10/9/2016 GS2 Enterprises      National Rifle Association   Changes and Add. Days                       $102,610.00   -$70,785.00   3114     $46,775.00 Credit for Inv. 3108          NYAG-00116737
                                                                                         Air Transportation -
  2/4/2018     2/6/2018       2/6/2018 GS2 Enterprises      National Rifle Association   Wash/Harrisburg/Wash                         $10,475.00                 3258     $48,750.00                               NYAG-00116738
                                                                                         Air Transportation -
  2/4/2018     2/8/2018       2/8/2018 GS2 Enterprises      National Rifle Association   Wash/Dallas/Wash                             $38,275.00                 3258     $48,750.00                               NYAG-00116738
                                                                                         Air Transportation -
 2/19/2018    2/27/2018       3/1/2018 GS2 Enterprises      National Rifle Association   Wash & Return                                $51,595.00                 3264     $51,595.00                               NYAG-00116739
                                                                                         Air Transportation -
 8/22/2016    8/20/2016      8/21/2016 GS2 Enterprises      National Rifle Association   Wash/Bristol/Wash                            $35,820.00                 3092     $35,820.00                               NYAG-00116740
                                                                                         Air Transportation -
10/16/2015   10/14/2015     10/14/2016 GS2 Enterprises      National Rifle Association   Wash/Lexington/Wash                          $12,325.00                 2990     $12,325.00                               NYAG-00116741
                                                                                         Air Transportation -
  7/7/2017     6/7/2017      6/11/2017 GS2 Enterprises      National Rifle Association   Wash/Aspen/Wash                              $68,300.00                 3196     $68,300.00                               NYAG-00116743
                                                                                         Dallas - Add. Transportation
 5/12/2015    4/17/2015      4/20/2015 I.I. & I.S. Inc.     National Rifle Association   Charge                                        $8,723.24                 2937     $17,483.24                               NYAG-00116744
 5/12/2015    4/28/2015      4/28/2015 I.I. & I.S. Inc.     National Rifle Association   Dallas - Add. Gratuity                                                  2937     $17,483.24                     $100.00   NYAG-00116744
                                                                                         Air Transportation -
                                                                                         Los Angeles Credit for Changed
 5/12/2015    4/26/2015      4/28/2015 I.I. & I.S. Inc.     National Rifle Association   Trip                                                      -$17,740.00   2937     $17,483.24                               NYAG-00116744
                                                                                         Air Transportation -
 5/12/2015     5/7/2015      5/11/2015 I.I. & I.S. Inc.     National Rifle Association   Wash/Charleston/Lexington/DC                 $26,400.00                 2937     $17,483.24                               NYAG-00116744
                                                                                         Air Transportation -
                                                                                         Changed Itinerary - Added Days &
 4/17/2018    4/16/2018      4/22/2018 GS2 Enterprises      National Rifle Association   Dallas                                       $61,600.00                 3281     $61,600.00                               NYAG-00116745
                                                                                         Air Transportation -
 1/18/2018    1/23/2018      1/23/2018 GS2 Enterprises      National Rifle Association   Wash/Vegas/Wash                              $66,750.00                 3250     $66,750.00                               NYAG-00116747

                                                                                       Air Transportation -
 10/7/2015    10/7/2015     10/13/2015 GS2 Enterprises      National Rifle Association Wash/Colorado Spr./Pierre/Wash                 $87,535.00                 2987     $87,535.00                               NYAG-00116748
                                                                                       Air Transportation -
 12/7/2015   12/10/2015     12/13/2015 GS2 Enterprises      National Rifle Association Wash/NY/Wash                                   $20,500.00                 3007     $20,500.00                               NYAG-00116749




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                                                                                      Air Transportation -
 6/23/2017    6/30/2017       7/4/2017 GS2 Enterprises     National Rifle Association Wash/Orlando/Wash                             $31,800.00          3191     $31,800.00                             NYAG-00116751
                                                                                      Air Transportation -
 9/14/2017    9/15/2017      9/17/2017 GS2 Enterprises     National Rifle Association Wash/Maine/Wash                               $29,400.00          3214     $53,700.00                             NYAG-00116752
                                                                                      Air Transportation -
                                                                                      Baltimore/Springfield, MO./
 9/14/2017    9/20/2017      9/21/2017 GS2 Enterprises     National Rifle Association Baltimore                                     $24,300.00          3214     $53,700.00                             NYAG-00116752
                                                                                      Air Transportation -
 3/13/2018    3/22/2018      3/26/2018 GS2 Enterprises     National Rifle Association Wash/Raleigh/Charleston/Wash                  $47,715.00          3274     $47,715.00                             NYAG-00116753
                                                                                      Air Transportation -
  1/4/2017   12/23/2016     12/27/2016 GS2 Enterprises     National Rifle Association Add. Charges                                   $5,885.26          3136     $41,880.26                             NYAG-00116754
                                                                                      Air Transportation -
  1/4/2017     1/4/2017       1/5/2017 GS2 Enterprises     National Rifle Association Wash/Dallas/Wash                              $35,995.00          3136     $41,880.26                             NYAG-00116754
                                                                                      Air Transportation -
                                                                                      Laramie/Colorado Springs/
 10/5/2015    10/9/2015     10/11/2015 GS2 Enterprises     National Rifle Association Jackson Hole                                  $35,840.00          2985     $35,840.00 Re: VP Cheney               NYAG-00116755
                                                                                      Air Transportation -
 9/10/2015    9/14/2015      9/14/2015 GS2 Enterprises     National Rifle Association Wash/Charlotte/Wash                           $13,280.00          2970     $13,280.00                             NYAG-00116756
                                                                                      Air Transportation -
 6/29/2016    7/17/2016      7/18/2016 GS2 Enterprises     National Rifle Association Florida/Minneapolis/Wash                      $65,770.00          3082     $65,770.00                             NYAG-00116757
                                                                                      Air Transportation -
 7/12/2017    7/12/2017      7/16/2017 GS2 Enterprises     National Rifle Association Inv. 3192 Changed Itinerary                   $28,575.00          3198     $28,575.00                             NYAG-00116758
                                                                                      Air Transportation -
  8/7/2017     9/3/2017       9/4/2017 GS2 Enterprises     National Rifle Association Wash/W. Palm/Wash                             $31,175.00          3207     $31,175.00                             NYAG-00116759
                                                                                      Air Transportation -
 7/17/2015    7/15/2015      7/16/2015 GS2 Enterprises     National Rifle Association Wash/Dallas/Wash                              $44,790.97          2962     $44,790.97                             NYAG-00116763
                                                                                      Air Transportation -
 7/11/2016    7/22/2016      7/22/2016 I.I. & I.S. Inc.    NRA - ILA                  Cleveland/Wash                                 $9,890.00          3086      $9,890.00                             NYAG-00116765
                                                                                      Air Transportation -
 1/21/2015    1/21/2015      1/21/2015 GS2 Enterprises     National Rifle Association Las/Atlanta/Wash                              $34,868.85          2905     $34,868.85                             NYAG-00116766
                                                                                      Air Transportation -
 3/20/2019     4/4/2019       4/6/2019 GS2 Enterprises     National Rifle Association DC/Omaha/Tulsa/DC                             $49,535.00          3362     $49,535.00                             NYAG-00116772
                                                                                      Air Transportation -
 3/23/2017     4/7/2017      4/10/2017 GS2 Enterprises     National Rifle Association DC/Hillsdale/Dallas/DC                        $59,085.00          3158     $59,085.00                             NYAG-00116788

                                                                                      Air Transportation -
 1/16/2017    1/19/2017      1/19/2017 GS2 Enterprises     National Rifle Association T. Selleck - New York/Las Vegas               $35,995.00          3138     $35,995.00                             NYAG-00116790
10/19/2018    11/2/2018      11/5/2018 GS2 Enterprises     National Rifle Association Air Transportation                            $59,790.00          3342     $59,790.00                             NYAG-00116791
                                                                                      Air Transportation -
 3/18/2017    3/22/2017      3/24/2017   GS2 Enterprises   National Rifle Association Wash/OK. City/Wash                            $41,900.00          3157     $41,900.00                             NYAG-00116793
  9/8/2017    7/14/2017      7/14/2017   GS2 Enterprises   National Rifle Association Hallow - Minneapolis - A/D                                        3212     $51,812.97                 $1,302.75   NYAG-00116794
  9/8/2017    7/15/2017      7/15/2017   GS2 Enterprises   National Rifle Association Hallow - Minneapolis - A/D                                        3212     $51,812.97                 $1,070.46   NYAG-00116794
  9/8/2017    7/16/2017      7/16/2017   GS2 Enterprises   National Rifle Association Hallow - Minneapolis - A/D                                        3212     $51,812.97                 $1,197.18   NYAG-00116794
  9/8/2017    7/17/2017      7/17/2017   GS2 Enterprises   National Rifle Association Hallow - Minneapolis - A/D                                        3212     $51,812.97                   $901.87   NYAG-00116794
  9/8/2017    7/23/2017      7/23/2017   GS2 Enterprises   National Rifle Association La Pierre - Aspen - A/D                                           3212     $51,812.97                   $501.87   NYAG-00116794
  9/8/2017    7/25/2017      7/25/2017   GS2 Enterprises   National Rifle Association La Pierre - Aspen - A/D                                           3212     $51,812.97                   $486.87   NYAG-00116794
  9/8/2017     8/8/2017       8/8/2017   GS2 Enterprises   National Rifle Association Schropp - Dallas - A/D                                            3212     $51,812.97                   $247.38   NYAG-00116794
  9/8/2017     8/9/2017       8/9/2017   GS2 Enterprises   National Rifle Association Schropp - Dallas - A/D                                            3212     $51,812.97                   $247.88   NYAG-00116794
  9/8/2017    8/11/2017      8/11/2017   GS2 Enterprises   National Rifle Association Schropp - Charlotte - A/D                                         3212     $51,812.97                   $247.88   NYAG-00116794
  9/8/2017    8/21/2017      8/21/2017   GS2 Enterprises   National Rifle Association Hallow - Nashville - A/D                                          3212     $51,812.97                   $829.87   NYAG-00116794
  9/8/2017    8/22/2017      8/22/2017   GS2 Enterprises   National Rifle Association Hallow - Nashville - A/D                                          3212     $51,812.97                 $1,146.03   NYAG-00116794
  9/8/2017    8/23/2017      8/23/2017   GS2 Enterprises   National Rifle Association Hallow - Nashville - A/D                                          3212     $51,812.97                 $2,576.64   NYAG-00116794
  9/8/2017    8/24/2017      8/24/2017   GS2 Enterprises   National Rifle Association Hallow - Nashville - A/D                                          3212     $51,812.97                 $1,978.63   NYAG-00116794
  9/8/2017    8/25/2017      8/25/2017   GS2 Enterprises   National Rifle Association Hallow - Nashville - A/D                                          3212     $51,812.97                 $2,597.79   NYAG-00116794
  9/8/2017    8/26/2017      8/26/2017   GS2 Enterprises   National Rifle Association Hallow - Nashville - A/D                                          3212     $51,812.97                   $829.87   NYAG-00116794
                                                                                      Air Transportation -
  9/8/2017    8/20/2017      8/20/2017 GS2 Enterprises     National Rifle Association Add. Collection                                 $800.00           3212     $51,812.97                             NYAG-00116794
  9/8/2017    8/21/2017      8/26/2017 GS2 Enterprises     National Rifle Association Nashville Gratuity                                                3212     $51,812.97                 $1,500.00   NYAG-00116794
                                                                                      Air Transportation -
  9/8/2017     9/4/2017      9/10/2017 GS2 Enterprises     National Rifle Association Change Itinerary                               $5,800.00          3212     $51,812.97                             NYAG-00116794
                                                                                      Air Transportation -
  9/8/2017     9/8/2017       9/9/2017 GS2 Enterprises     National Rifle Association Wash/New York/Wash                            $27,550.00          3212     $51,812.97                             NYAG-00116794
                                                                                      Air Transportation -
 6/28/2016    6/23/2016      6/26/2016 GS2 Enterprises     National Rifle Association Add. Charges Alpine, TX                       $10,776.74          3080     $52,626.74                             NYAG-00116796
                                                                                      Air Transportation -
 6/28/2016     7/9/2016       7/9/2016 GS2 Enterprises     National Rifle Association Wash/Milwaukee/Florida                        $41,850.00          3080     $52,626.74                             NYAG-00116796
                                                                                      Air Transportation -
 5/24/2017    5/28/2017      5/28/2017 GS2 Enterprises     National Rifle Association Wash/Concord/Wash                             $18,500.00          3182     $18,500.00                             NYAG-00116798
                                                                                      Air Transportation - Late Cancel
11/28/2016   11/30/2016     11/30/2016 GS2 Enterprises     National Rifle Association DC/Nashville/DC                                $5,994.86          3126     $62,229.86                             NYAG-00116799




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                                                                                       Air Transportation -
11/28/2016    12/6/2016      12/11/2016 GS2 Enterprises     National Rifle Association DC/Dallas/NY/DC                                   $56,235.00                3126       $6,229.86                               NYAG-00116799
                                                                                       Air Transportation -
  2/1/2017    2/15/2017       2/21/2017 GS2 Enterprises     National Rifle Association Wash/Dallas/Orlando/Wash                          $65,185.00                3149      $65,185.00                               NYAG-00116800
                                                                                       Air Transportation -
 1/25/2018    1/30/2018        2/6/2018 GS2 Enterprises     National Rifle Association Wash/Vegas/LA/Wash                                $73,375.00                3253      $73,375.00                               NYAG-00116801
                                                                                       Air Transportation -
 2/19/2018    2/16/2018       2/22/2018 GS2 Enterprises     National Rifle Association Changed Itinerary                                 $47,750.00                3263      $47,750.00                               NYAG-00116802
                                                                                       Air Transportation -
  8/1/2018     8/2/2018        8/2/2018 GS2 Enterprises     National Rifle Association Wash/Dallas                                       $37,350.00                3225      $37,350.00                               NYAG-00116805
                                                                                       Air Transportation -
12/13/2017     1/2/2018        1/2/2018 GS2 Enterprises     National Rifle Association Wash/Dallas                                       $55,850.00                3243      $55,850.00                               NYAG-00116807
                                                                                       Air Transportation -
12/17/2015    1/12/2016       1/18/2016 GS2 Enterprises     National Rifle Association Wash/Dallas/Orlando                               $66,150.00                3011      $66,150.00                               NYAG-00116808
                                                                                       Air Transportation -
 2/19/2016    2/18/2016       2/19/2016 GS2 Enterprises     National Rifle Association Wash/Reno/Wash                                    $62,533.38                3028      $62,533.38                               NYAG-00116809
                                                                                       Air Transportation -
  8/7/2017    8/19/2017       8/19/2017 GS2 Enterprises     National Rifle Association Wash/Bristol/Wash                                 $20,575.00                3203      $20,575.00                               NYAG-00116812
                                                                                       Air Transportation -
12/13/2017   12/21/2017      12/21/2017 GS2 Enterprises     National Rifle Association Wash/Colorado                                     $42,285.00                3240      $42,285.00                               NYAG-00116813
                                                                                       Air Transportation -
 2/18/2016    2/18/2016       2/18/2016 GS2 Enterprises     National Rifle Association Wash/Reno/Wash                                    $62,850.00                3027      $62,850.00                               NYAG-00116814
                                                                                       Air Transportation -
  4/5/2016     3/4/2016       3/14/2016 GS2 Enterprises     National Rifle Association Wash/Charleston/Bristol/Wash                      $35,135.00                3046      $35,135.00                               NYAG-00116815
                                                                                                                                                                                                                      NYAG-00116816
  6/5/2017    5/21/2017       5/21/2017 GS2 Enterprises     National Rifle Association LaPierre - Scottsdale - As Directed                                         3182      $23,984.55                    $476.87    NYAG-00116817
                                                                                                                                                                                                                      NYAG-00116816
  6/5/2017    5/24/2017       5/24/2017 GS2 Enterprises     National Rifle Association LaPierre - Scottsdale - A/D                                                 3182      $23,984.55                  $1,943.05    NYAG-00116817
                                                                                                                                                                                                                      NYAG-00116816
  6/5/2017    5/29/2017       5/29/2017 GS2 Enterprises     National Rifle Association LaPierre - Phoenix Gratuity                                                 3182      $23,984.55                  $1,000.00    NYAG-00116817
                                                                                                                                                                                                                      NYAG-00116816
  6/5/2017    5/31/2017       5/31/2017 GS2 Enterprises     National Rifle Association Hallow - New York - A/D                                                     3182      $23,984.55                  $1,898.04    NYAG-00116817
                                                                                                                                                                                                                      NYAG-00116816
  6/5/2017     6/1/2017        6/1/2017 GS2 Enterprises     National Rifle Association Hallow - New York - A/D                                                     3182      $23,984.55                  $1,386.59    NYAG-00116817
                                                                                                                                                                                                                      NYAG-00116816
  6/5/2017     6/2/2017        6/2/2017 GS2 Enterprises     National Rifle Association Hallow - New York Gratuity                                                  3182      $23,984.55                     $150.00   NYAG-00116817
                                                                                       Air Transportation -                                                                             Credit for Inv. 3174 -        NYAG-00116816
  6/5/2017     6/7/2017       6/12/2017 GS2 Enterprises     National Rifle Association Changed Nashville Itinerary                       $19,130.00   -$2,000.00   3182      $23,984.55 Changed Itinerary             NYAG-00116817
                                                                                       Air Transportation -
                                                                                       Wash/Dallas/Phoenix/Denver/
 9/21/2016    9/19/2016       9/28/2016 GS2 Enterprises     National Rifle Association Dallas/New York/Wash                             $105,810.00                3105     $105,810.00                               NYAG-00116818
                                                                                       Air Transportation -
 9/26/2017   10/11/2017      10/11/2017 GS2 Enterprises     National Rifle Association Wash/Lexington/Wash                               $15,865.00                3218      $19,531.20                               NYAG-00116819
                                                                                       Add. Coll. For Change to Inv.
 9/26/2017                                GS2 Enterprises   National Rifle Association 3217                                               $1,650.00                3218      $19,531.20                               NYAG-00116819
                                                                                       Air Transportation -
 9/26/2017    8/20/2017       8/21/2017 GS2 Enterprises     National Rifle Association Wash/New York/Wash                                  $955.74                 3218      $19,531.20                               NYAG-00116819
                                                                                       Air Transportation -
 9/26/2017    8/21/2017       8/21/2017 GS2 Enterprises     National Rifle Association Wash/New York/Wash                                 $1,060.46                3218      $19,531.20                               NYAG-00116819
                                                                                       Air Transportation -
  3/3/2015    2/28/2015        3/1/2015 GS2 Enterprises     National Rifle Association Wash/Nashville/Wash                               $19,033.06                2920      $19,033.06                               NYAG-00116820
                                                                                       Air Transportation -
  4/4/2019    4/23/2019       4/30/2019 GS2 Enterprises     National Rifle Association Wash/Ind/Wash                                     $37,150.00                3366      $37,150.00                               NYAG-00116825
                                                                                       Air Transportation -
 6/21/2016    6/10/2016       6/10/2016 I.I. & I.S. Inc.    NRA - ILA                  DC/Hartford/DC                                    $13,379.28                3076      $13,379.28                               NYAG-00116826
  2/8/2019    1/15/2019       1/19/2019 GS2 Enterprises     National Rifle Association LaPierre - Dallas - Add. Land                      $1,500.00                3358      $81,600.00                               NYAG-00116827

  2/8/2019    1/21/2019       1/24/2019 GS2 Enterprises     National Rifle Association LaPierre - Las Vegas - Add. Land                   $1,200.00                3358      $81,600.00                               NYAG-00116827
  2/8/2019     3/2/2019       3/11/2019 GS2 Enterprises     National Rifle Association Air Transportation                                $78,900.00                3358      $81,600.00                               NYAG-00116827
                                                                                       Air Transportation -
 7/15/2016    7/22/2016       7/22/2016 I.I. & I.S. Inc.    NRA - ILA                  Cleveland/Wash                                     $9,998.00                3087       $9,998.00                               NYAG-00116828
                                                                                       Air Transportation -
 3/28/2018     4/6/2018       4/11/2018 GS2 Enterprises     National Rifle Association Wash/Dallas/Wash                                  $68,875.00                3275      $68,875.00                               NYAG-00116852
                                                                                       Air Transportation -
 2/26/2016    2/23/2016       2/24/2016   GS2 Enterprises   National Rifle Association Wash/Midland/Houston/Wash                         $44,255.66                3032      $44,255.66                               NYAG-00116854
  7/7/2017    6/14/2017       6/14/2017   GS2 Enterprises   National Rifle Association LaPierre - Dallas - A/D                                                     3197      $38,446.14                  $1,940.52    NYAG-00116855
  7/7/2017    6/15/2017       6/15/2017   GS2 Enterprises   National Rifle Association LaPierre - Dallas - A/D                                                     3197      $38,446.14                  $2,289.71    NYAG-00116855
  7/7/2017    6/16/2017       6/16/2017   GS2 Enterprises   National Rifle Association LaPierre - Dallas - A/D                                                     3197      $38,446.14                  $2,684.29    NYAG-00116855
  7/7/2017    6/19/2017       6/19/2017   GS2 Enterprises   National Rifle Association LaPierre - Dallas - A/D                                                     3197      $38,446.14                    $503.37    NYAG-00116855
  7/7/2017    6/20/2017       6/20/2017   GS2 Enterprises   National Rifle Association LaPierre - New York - A/D                                                   3197      $38,446.14                  $1,424.47    NYAG-00116855
  7/7/2017    6/21/2017       6/21/2017   GS2 Enterprises   National Rifle Association LaPierre - New York - A/D                                                   3197      $38,446.14                  $1,654.53    NYAG-00116855




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  7/7/2017           6/22/2017            6/22/2017 GS2 Enterprises     National Rifle Association   LaPierre - New York - A/D                                                3197      $38,446.14                   $491.87   NYAG-00116855
  7/7/2017   June                June               GS2 Enterprises     National Rifle Association   New York Gratuities                                                      3197      $38,446.14                 $1,350.00   NYAG-00116855
  7/7/2017   June                June               GS2 Enterprises     National Rifle Association   Dallas Gratuities                                                        3197      $38,446.14                 $2,025.00   NYAG-00116855
  7/7/2017   June                June               GS2 Enterprises     National Rifle Association   Nashville Gratuities                                                     3197      $38,446.14                 $1,000.00   NYAG-00116855
  7/7/2017   June                June               GS2 Enterprises     National Rifle Association   Phoenix Gratuities                                                       3197      $38,446.14                 $1,000.00   NYAG-00116855

  7/7/2017 June                  June                 GS2 Enterprises   National Rifle Association   LaPierre - Phoenix - Add. Charge                                         3197      $38,446.14                   $502.44   NYAG-00116855
  7/7/2017           6/14/2017            6/14/2017   GS2 Enterprises   National Rifle Association   Hallow - Dallas - A/D                                                    3197      $38,446.14                   $808.37   NYAG-00116855
  7/7/2017           6/16/2017            6/16/2017   GS2 Enterprises   National Rifle Association   Hallow - Dallas - A/D                                                    3197      $38,446.14                 $1,487.11   NYAG-00116855
  7/7/2017           6/17/2017            6/17/2017   GS2 Enterprises   National Rifle Association   Hallow - Dallas - A/D                                                    3197      $38,446.14                 $1,406.39   NYAG-00116855
  7/7/2017           6/17/2017            6/17/2017   GS2 Enterprises   National Rifle Association   Hallow - Sacramento - A/D                                                3197      $38,446.14                   $778.87   NYAG-00116855
  7/7/2017           6/20/2017            6/20/2017   GS2 Enterprises   National Rifle Association   Hallow - Sacramento - A/D                                                3197      $38,446.14                   $476.87   NYAG-00116855
  7/7/2017            7/1/2017             7/1/2017   GS2 Enterprises   National Rifle Association   LaPierre - Orlando - A/D                                                 3197      $38,446.14                 $1,572.33   NYAG-00116855
                                                                                                     Inv. 3192 - Air Transportation -
  7/7/2017                                            GS2 Enterprises   National Rifle Association   Add. Charge                                    $15,050.00                3197      $38,446.14                             NYAG-00116855
                                                                                                     Air Transportation -
  8/7/2017            9/4/2017            9/10/2017   GS2 Enterprises   National Rifle Association   Wash/Dallas/Springfield/Wash                   $56,985.00                3205      $56,985.00                             NYAG-00116856
 7/22/2017            7/1/2017            7/12/2017   GS2 Enterprises   National Rifle Association   LaPierre - Orlando - A/D                                                 3199      $29,619.49                   $738.75   NYAG-00116857
 7/22/2017            7/9/2017             7/9/2017   GS2 Enterprises   National Rifle Association   Hallow - Orlando - A/D                                                   3199      $29,619.49                   $728.87   NYAG-00116857
 7/22/2017           7/13/2017            7/13/2017   GS2 Enterprises   National Rifle Association   Hallow - Orlando - A/D                                                   3199      $29,619.49                   $851.87   NYAG-00116857
 7/22/2017 July                  July                 GS2 Enterprises   National Rifle Association   Hallow - Minneapolis Gratuity                                            3199      $29,619.49                   $750.00   NYAG-00116857
                                                                                                     Air Transportation -
 7/22/2017           7/20/2017            7/20/2017 GS2 Enterprises     National Rifle Association   Wash/Inverness/Wash                            $26,550.00                3199      $29,619.49                             NYAG-00116857
                                                                                                     Air Transportation -
 4/27/2016           5/10/2016            5/15/2016 GS2 Enterprises     National Rifle Association   DC/Sea Island/Se Isl./DC                       $50,460.00                3052      $50,460.00                             NYAG-00116859
                                                                                                     Air Transportation -
 6/28/2016           6/23/2016            6/26/2016 GS2 Enterprises     National Rifle Association   Add. Charges Alpine, TX                        $10,776.74                3080      $52,626.74                             NYAG-00116860
                                                                                                     Air Transportation -
 6/28/2016            7/9/2016             7/9/2016 GS2 Enterprises     National Rifle Association   Wash/Milwaukee/Nassau                          $41,850.00                3080      $52,626.74                             NYAG-00116860
                                                                                                     Air Transportation -
  2/4/2018            2/6/2018             2/6/2018 GS2 Enterprises     National Rifle Association   Wash/Dallas/Wash                               $10,475.00                3258      $48,750.00                             NYAG-00116861
                                                                                                     Air Transportation -
  2/4/2018            2/8/2018             2/8/2018 GS2 Enterprises     National Rifle Association   Wash/Dallas/Wash                               $38,275.00                3258      $48,750.00                             NYAG-00116861
                                                                                                     Air Transportation -
 6/29/2017           7/12/2017            7/16/2017 GS2 Enterprises     National Rifle Association   Wash/Seattle/Wash                              $67,950.00                3192      $67,950.00                             NYAG-00116862
                                                                                                     Air Transportation -
 2/25/2016            3/8/2016            3/12/2016 GS2 Enterprises     National Rifle Association   LA/Phoenix/Wash                                $56,200.00                3031      $56,200.00                             NYAG-00116863
 5/23/2018 April                 April              GS2 Enterprises     National Rifle Association   Dallas Gratuities                                                        3296      $26,263.31                   $700.00   NYAG-00116864
 5/23/2018 May                   May                GS2 Enterprises     National Rifle Association   Milan Group Trans. (Shikar)                     $3,713.31                3296      $26,263.31                             NYAG-00116864
                                                                                                     Air Transportation -
 5/23/2018           5/23/2018            5/23/2018 GS2 Enterprises     National Rifle Association   Wash/Charlotte/Wash                            $21,850.00                3296      $26,263.31                             NYAG-00116864
                                                                                                     Air Transportation -
 3/24/2017           4/11/2017            4/11/2017 GS2 Enterprises     National Rifle Association   Wash/Naples/Wash                               $28,275.00                3159      $28,275.00                             NYAG-00116866
                                                                                                     Air Transportation -
 9/30/2015           9/29/2015            9/29/2015 GS2 Enterprises     National Rifle Association   Portsmouth/Wash                                $20,875.00                2979      $20,875.00                             NYAG-00116867
                                                                                                     Air Transportation -
 5/24/2016           5/17/2016            5/23/2016 GS2 Enterprises     National Rifle Association   Wash/Louisville/Wash                           $36,810.96                3058      $36,810.96                             NYAG-00116872
                                                                                                     Air Transportation -
                                                                                                     Wash/New Orleans/San                                                                          Credit from Inv. 2989
10/27/2015          10/27/2015           10/30/2015 GS2 Enterprises     National Rifle Association   Antonio/Midland/Wash                           $66,667.20   -$5,000.00   2993      $61,667.20 (Cancel Memphis)            NYAG-00116874
                                                                                                     Inv. 2999 - Add. Collect to Add
 12/1/2015          11/17/2015           11/20/2015 GS2 Enterprises     National Rifle Association   OK. City                                        $3,836.68                3005     $117,056.68                             NYAG-00116876
                                                                                                     Air Transportation -
 12/1/2015           12/4/2015           12/13/2015 GS2 Enterprises     National Rifle Association   Wash/Wichita/LA/NY/Wash                       $113,220.00                3005     $117,056.68                             NYAG-00116876
                                                                                                     Air Transportation -
  1/4/2017          12/23/2016           12/27/2016 GS2 Enterprises     National Rifle Association   Add. Charges                                    $5,885.26                3136      $41,880.26                             NYAG-00116878
  1/4/2017            1/4/2017             1/5/2017 GS2 Enterprises     National Rifle Association   Air Transportation                             $35,995.00                3136      $41,880.26                             NYAG-00116878
                                                                                                     Air Transportation -
                                                                                                     Wash/Springfield/Nashville/
10/15/2015          10/19/2015           10/22/2015 GS2 Enterprises     National Rifle Association   Memphis/Nashville/Wash                         $73,800.00                2989      $73,800.00                             NYAG-00116879
                                                                                                     Air Transportation -
 4/14/2017           4/27/2017            4/28/2017 GS2 Enterprises     National Rifle Association   LA/Atlanta/LA (For Selleck)                    $53,400.00                3164      $53,400.00                             NYAG-00116880
                                                                                                     Air Transportation -
 4/20/2015           4/26/2015             5/3/2015   GS2 Enterprises   National Rifle Association   Wash/LA/Colorado Sp/Wash                       $89,990.00                2931      $89,990.00                             NYAG-00116883
  2/1/2019           11/2/2018            11/4/2018   GS2 Enterprises   National Rifle Association   Hallow - Orlando - A/D                                                   3353      $34,785.01                 $1,395.74   NYAG-00116890
  2/1/2019           11/2/2018            11/5/2018   GS2 Enterprises   National Rifle Association   LaPierre - Dallas - A/D                                                  3353      $34,785.01                 $1,930.61   NYAG-00116890
  2/1/2019           11/3/2018            11/4/2018   GS2 Enterprises   National Rifle Association   Schropp - Orlando - A/D                                                  3353      $34,785.01                   $445.76   NYAG-00116890
  2/1/2019          11/19/2018           11/24/2018   GS2 Enterprises   National Rifle Association   Hallow - Sacramento - A/D                                                3353      $34,785.01                   $982.37   NYAG-00116890
  2/1/2019           12/8/2018            12/8/2018   GS2 Enterprises   National Rifle Association   Hallow - Sacramento - A/D                                                3353      $34,785.01                   $696.87   NYAG-00116890
  2/1/2019          12/21/2018           12/27/2018   GS2 Enterprises   National Rifle Association   Air Transportation Change                                                3353      $34,785.01                 $3,610.00   NYAG-00116890
  2/1/2019            1/4/2019             1/5/2019   GS2 Enterprises   National Rifle Association   D. Cain - Wash. DC - A/D                                                 3353      $34,785.01                 $1,775.91   NYAG-00116890




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  2/1/2019           1/8/2019          1/11/2019   GS2 Enterprises   National Rifle Association   S. LaPierre - Reno - A/D                                              3353      $34,785.01   $2,122.71   NYAG-00116890
  2/1/2019          1/15/2019          1/19/2019   GS2 Enterprises   National Rifle Association   LaPierre - Dallas - A/D                                               3353      $34,785.01   $9,102.83   NYAG-00116890
  2/1/2019          1/19/2019          1/24/2019   GS2 Enterprises   National Rifle Association   Schropp - Dallas - A/D                                                3353      $34,785.01   $2,495.68   NYAG-00116890
  2/1/2019          1/21/2019          1/24/2019   GS2 Enterprises   National Rifle Association   LaPierre - Las Vegas - A/D                                            3353      $34,785.01   $6,784.05   NYAG-00116890
  2/1/2019          1/21/2019          1/26/2019   GS2 Enterprises   National Rifle Association   Hallow - Albuquerque - A/D                                            3353      $34,785.01   $1,413.74   NYAG-00116890
  2/1/2019          1/24/2019          1/26/2019   GS2 Enterprises   National Rifle Association   LaPierre - Los Angeles - A/D                                          3353      $34,785.01     $953.74   NYAG-00116890
  2/1/2019                                         GS2 Enterprises   National Rifle Association   Travel Agency Fees 2018                                               3353      $34,785.01   $1,075.00   NYAG-00116890
                                                                                                  Air Transportation -
 3/23/2017           4/7/2017          4/10/2017 GS2 Enterprises     National Rifle Association   DC/Hillsdale/Dallas/DC                           $70,465.00           3158      $70,465.00               NYAG-00116916
                                                                                                  Air Transportation -
 4/26/2018           5/1/2018           5/7/2018 GS2 Enterprises     National Rifle Association   Wash/Dallas/Wash                                 $63,600.00           3283      $63,600.00               NYAG-00116918
                                                                                                  Air Transportation -
 5/24/2018           6/6/2018           6/6/2018 GS2 Enterprises     National Rifle Association   Dallas/DC                                        $39,900.00           3299      $39,900.00               NYAG-00116920
                                                                                                  Air Transportation -
 1/17/2017          1/23/2017          1/24/2017 GS2 Enterprises     National Rifle Association   Wash/New York/Wash                               $25,975.00           3139      $25,975.00               NYAG-00116921
                                                                                                  Air Transportation -
 4/10/2018          4/11/2018          4/11/2018 GS2 Enterprises     National Rifle Association   Change Itinerary                                 $40,195.00           3278      $40,195.00               NYAG-00116922
                                                                                                  Air Transportation -
 5/24/2016          5/25/2016          5/25/2016 GS2 Enterprises     National Rifle Association   Wash/Charlotte/Wash                              $17,775.00           3059      $17,775.00               NYAG-00116924
                                                                                                  Air Transportation -
11/11/2015         11/14/2015         11/14/2015 GS2 Enterprises     National Rifle Association   Wash/Mississippi/Wash                            $29,705.00           2998      $29,705.00               NYAG-00116927
                                                                                                  Air Transportation -
  2/1/2017          2/15/2017          2/21/2017 GS2 Enterprises     National Rifle Association   Wash/Dallas/Orlando/Wash                         $80,985.00           3149      $80,985.00               NYAG-00116929
 10/1/2018          9/26/2018          10/2/2018 GS2 Enterprises     National Rifle Association   Air Transportation                               $96,200.00           3336      $96,200.00               NYAG-00116930
11/30/2018         12/21/2018         12/27/2018 GS2 Enterprises     National Rifle Association   Air Transportation                               $62,310.00           3347      $62,310.00               NYAG-00116931
                                                                                                  Air Transportation -
 1/28/2015          1/29/2015           2/3/2015 I.I. & I.S. Inc.    National Rifle Association   DC/Dallas/Las Vegas                              $71,850.00           2907     $121,750.00               NYAG-00116933
                                                                                                  Air Transportation -
 1/28/2015           2/8/2015           2/8/2015 I.I. & I.S. Inc.    National Rifle Association   Las Vegas/DC                                     $49,900.00           2907     $121,750.00               NYAG-00116933
                                                                                                  Air Transportation -
 4/20/2016          4/21/2016          4/21/2016 GS2 Enterprises     National Rifle Association   Wash/Pittsburgh/Wash                             $12,880.00           3049      $49,445.00               NYAG-00116934
                                                                                                  Air Transportation -
 4/20/2016          4/23/2016          4/24/2016 GS2 Enterprises     National Rifle Association   Wash/Dallas/Wash                                 $36,565.00           3049      $49,445.00               NYAG-00116934
                                                                                                  Air Transportation -
                                                                                                  DC/Charleston/San Antonio/
  2/8/2018          2/14/2018          2/16/2018 GS2 Enterprises     National Rifle Association   Orlando                                          $52,650.00           3260      $52,650.00               NYAG-00116936
                                                                                                  Air Transportation -
 9/25/2016          9/30/2016          9/30/2016 GS2 Enterprises     National Rifle Association   Wash/Jacksonville/Wash                           $19,150.00           3107      $19,150.00               NYAG-00116937
                                                                                                  Air Transportation -
 4/12/2018          4/16/2018          4/19/2018 GS2 Enterprises     National Rifle Association   Changed Itinerary                                $12,000.00           3279      $12,000.00               NYAG-00116938
                                                                                                  Air Transportation -
 1/11/2018           1/4/2018           1/4/2018 GS2 Enterprises     National Rifle Association   Dallas/OKC/Dallas                                $14,800.00           3249      $37,390.43               NYAG-00116939
                                                                                                  Air Transportation -
 1/11/2018         11/11/2017         11/15/2017 GS2 Enterprises     National Rifle Association   Add. Charges - Inv. 3237                           $735.65            3249      $37,390.43               NYAG-00116939
 1/11/2018         12/18/2017         12/18/2017 GS2 Enterprises     National Rifle Association   Schropp - Baton Rouge - A/D                                           3249      $37,390.43    $401.54    NYAG-00116939
 1/11/2018         12/19/2017         12/19/2017 GS2 Enterprises     National Rifle Association   Schropp - New Orleans - A/D                                           3249      $37,390.43    $220.88    NYAG-00116939

 1/11/2018         12/21/2017         12/21/2017 GS2 Enterprises     National Rifle Association LaPierre - Colorado Springs - A/D                                       3249      $37,390.43    $486.87    NYAG-00116939

 1/11/2018         12/26/2017         12/26/2017 GS2 Enterprises     National Rifle Association LaPierre - Colorado Springs - A/D                                       3249      $37,390.43     $486.87   NYAG-00116939
 1/11/2018           1/2/2018           1/2/2018 GS2 Enterprises     National Rifle Association LaPierre - Dallas - A/D                                                 3249      $37,390.43   $1,575.70   NYAG-00116939
 1/11/2018           1/3/2018           1/3/2018 GS2 Enterprises     National Rifle Association LaPierre - Dallas - A/D                                                 3249      $37,390.43   $2,495.50   NYAG-00116939
 1/11/2018           1/3/2018           1/3/2018 GS2 Enterprises     National Rifle Association S. LaPierre - Dallas - A/D                                              3249      $37,390.43   $1,505.72   NYAG-00116939
 1/11/2018           1/4/2018           1/4/2018 GS2 Enterprises     National Rifle Association S. LaPierre - Dallas - A/D                                              3249      $37,390.43   $1,304.84   NYAG-00116939
 1/11/2018           1/4/2018           1/4/2018 GS2 Enterprises     National Rifle Association LaPierre - Dallas - A/D                                                 3249      $37,390.43   $1,836.34   NYAG-00116939
 1/11/2018           1/5/2018           1/5/2018 GS2 Enterprises     National Rifle Association S. LaPierre - Dallas - A/D                                              3249      $37,390.43   $1,154.18   NYAG-00116939
 1/11/2018           1/5/2018           1/5/2018 GS2 Enterprises     National Rifle Association LaPierre - Dallas - A/D                                                 3249      $37,390.43   $2,079.77   NYAG-00116939
 1/11/2018           1/6/2018           1/6/2018 GS2 Enterprises     National Rifle Association LaPierre - Dallas - A/D                                                 3249      $37,390.43   $1,987.48   NYAG-00116939
 1/11/2018           1/7/2018           1/7/2018 GS2 Enterprises     National Rifle Association LaPierre - Dallas - A/D                                                 3249      $37,390.43   $1,580.61   NYAG-00116939
 1/11/2018           1/7/2018           1/7/2018 GS2 Enterprises     National Rifle Association S. LaPierre - Dallas - A/D                                              3249      $37,390.43     $230.88   NYAG-00116939
 1/11/2018           1/8/2018           1/8/2018 GS2 Enterprises     National Rifle Association LaPierre - Dallas - A/D                                                 3249      $37,390.43     $982.60   NYAG-00116939
 1/11/2018 January            January            GS2 Enterprises     National Rifle Association Dallas Gratuities                                                       3249      $37,390.43   $3,525.00   NYAG-00116939
                                                                                                Air Transportation -
 4/27/2016          4/23/2016          4/24/2016 GS2 Enterprises     National Rifle Association Wash/Dallas/Wash                                   $36,813.61           3051      $36,813.61               NYAG-00116942
                                                                                                Air Transportation -
 8/24/2019          9/11/2019          9/14/2019 GS2 Enterprises     National Rifle Association Wash/Anchorage/Wash                                $77,915.00           3382      $77,915.00               NYAG-00116951
                                                                                                Air Transportation -
  4/4/2019          4/14/2019          4/19/2019 GS2 Enterprises     National Rifle Association Wash/Phoenix/Wash                                  $71,725.00           3365      $71,725.00               NYAG-00116953
                                                                                                Air Transportation -
 12/9/2015         12/11/2015         12/11/2015 I.I. & I.S. Inc.    NRA - ILA                  DC/Statesville, NC/DC                              $12,375.00           3008      $12,375.00               NYAG-00116954




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                                                                                      Air Transportation -
12/15/2015   12/30/2015      12/30/2015 I.I. & I.S. Inc.   NRA - ILA                  Nashville/Baton Rouge/DC                         $23,185.00                   3010      $23,185.00                              NYAG-00116956
                                                                                      Dean Cain - Air Transportation -
 4/26/2019    4/28/2019       4/29/2019 GS2 Enterprises    National Rifle Association Los Angeles/Ind/Los Angeles                      $42,200.00                   3368      $42,200.00                              NYAG-00116961
                                                                                      Dean Cain - Air Transportation -
  4/4/2019    4/25/2019       4/26/2019 GS2 Enterprises    National Rifle Association Los Angeles/Ind/Los Angeles                      $43,265.00                   3367      $43,265.00                              NYAG-00116963


                                                                                      Air Transportation -                                                                               Invoice from Frosch         NYAG-00116975 to
 4/11/2019    4/24/2019       4/27/2019 GS2 Enterprises                               Wash/New York/Wash                                 $2,058.60                             $2,058.60 Classic Cruise and Travel    NYAG-00116978

                                                                                                                Total               $11,080,575.46   -$504,802.50
                                                                                                   Total Minus Credits              $10,575,772.96




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Invoice Date      Start Date        End Date             Vendor              Billed To                       Manifest              Air Transportation Cost   Credits         Invoice Number     Total Invoice Cost             Other               Bates Number


                                                                                               Air Transportation -
    12/14/2017          1/8/2018         1/8/2018 GS2 Enterprises   National Rifle Association Dallas/Wash                                     $43,000.00                                3244            $43,000.00                                NYAG-00116485

                                                                                               Air Transportation -
       1/7/2017        1/14/2017        1/15/2017 GS2 Enterprises   National Rifle Association Wash/Houston/Vegas                              $45,875.00                                3137            $45,875.00                                NYAG-00116486
                                                                                               Air Transportation -
      4/22/2017        4/28/2017        4/28/2017 GS2 Enterprises   National Rifle Association Atlanta/Salt Lake City/Nashville                $43,650.00                                3167            $43,650.00                                NYAG-00116487


       6/7/2018        6/29/2018        6/29/2018 GS2 Enterprises   National Rifle Association Air Transportation                              $48,365.00                                3318            $48,365.00                                NYAG-00116489
                                                                                               Air Transportation -                                                                                                 Credit for Inv. 3163 - April
      4/22/2017         5/4/2017         5/7/2017 GS2 Enterprises   National Rifle Association Wash/San Antonio/Wash                           $48,450.00       -$1,500.00               3168            $46,950.00 20 Changed Trip                NYAG-00116490
                                                                                               Air Transportation -
       2/6/2017       2/10/2017        2/10/2017 GS2 Enterprises    National Rifle Association Wash/Harrisburg/Wash                            $10,500.00                               3150             $10,500.00                                NYAG-00116491
                                                                                               Air Transportation -
     6/28/2016         7/1/2016         7/4/2016 GS2 Enterprises    National Rifle Association Wash/Orlando/Wash                               $40,480.00                               3079             $50,980.00                                NYAG-00116492
     6/28/2016        6/13/2016        6/17/2016 GS2 Enterprises    National Rifle Association Dallas Charges                                                                           3079             $50,980.00                    $1,500.00   NYAG-00116492
                                                                                               Louisville - Additional Charges -
     6/28/2016        5/15/2016        5/23/2016 GS2 Enterprises    National Rifle Association Cars                                                                                     3079             $50,980.00                    $2,000.00   NYAG-00116492
     6/28/2016         6/8/2016        6/13/2016 GS2 Enterprises    National Rifle Association Nashville Charges                                                                        3079             $50,980.00                    $7,000.00   NYAG-00116492
                                                                                               Air Transportation -
       9/6/2018       9/14/2018        9/14/2018 GS2 Enterprises    National Rifle Association Hot Springs, VA/Houston                         $21,900.00                               3331             $21,900.00                                NYAG-00116493
                                                                                               Air Transportation -
    12/15/2015       12/29/2015       12/29/2015 GS2 Enterprises    National Rifle Association Wash/Bahamas/Dallas/Wash                        $64,890.00                               3009             $64,890.00                                NYAG-00116494
                                                                                               Air Transportation -
                                                                                               Redding/Las Vegas/Redding
     1/29/2015          2/4/2015         2/7/2015 GS2 Enterprises   National Rifle Association Balance                                          $7,100.00                               2909             $51,450.00                                NYAG-00116495
                                                                                               Air Transportation -
     1/29/2015        2/11/2015        2/12/2015 GS2 Enterprises    National Rifle Association Wash/Houston/Harrisburg/Wash                    $44,350.00                               2909             $51,450.00                                NYAG-00116495
                                                                                               Air Transportation -
     4/10/2018        4/16/2018        4/19/2018 GS2 Enterprises    National Rifle Association DC/Phoenix/DC                                   $75,800.00                               3277             $75,800.00                                NYAG-00116496
                                                                                               Air Transportation -
     4/22/2016        4/28/2016        4/28/2016 GS2 Enterprises    National Rifle Association Wash/Lynchburg/Wash                             $28,185.00                               3050             $28,185.00                                NYAG-00116497
                                                                                               Air Transportation -
       7/7/2017       7/23/2017        7/25/2017 GS2 Enterprises    National Rifle Association Wash/Aspen/Wash                                 $68,300.00                               3196             $68,300.00                                NYAG-00116498
                                                                                               Air Transportation -
     5/24/2018          6/1/2018         6/1/2018 GS2 Enterprises   National Rifle Association Los Angeles/Dallas                              $39,900.00                               3298             $39,900.00                                NYAG-00116499
                                                                                               Air Transportation -                                                                                                                                NYAG-00116503
     3/12/2018        3/15/2018        3/18/2018 GS2 Enterprises    National Rifle Association Wash/Atlanta/Wash                               $44,295.00                               3273             $44,295.00                                NYAG-00116504
                                                                                               Air Transportation -
       8/9/2016       8/11/2016        8/11/2016 GS2 Enterprises    National Rifle Association Cape Girardeau/Wash                             $15,965.00                               3091             $71,345.00                                NYAG-00116505
                                                                                               Air Transportation -
                                                                                               Wash/Springield, M.O., Cape
       8/9/2016       8/11/2016        8/12/2016 GS2 Enterprises    National Rifle Association Girardeau/OKC/Wash                              $55,380.00                               3091             $71,345.00                                NYAG-00116505
                                                                                               Air Transportation -
     1/14/2015        1/19/2015        1/24/2015 GS2 Enterprises    National Rifle Association Wash/Las Vegas/Sidney/Wash                      $95,760.00                               2904             $95,760.00                                NYAG-00116506
                                                                                               Air Transportation -
    11/12/2015       11/17/2015       11/20/2015 GS2 Enterprises    National Rifle Association Wash/Vegas/LA/Wash                              $78,150.00                               2999             $78,150.00                                NYAG-00116507
                                                                                               Air Transportation -
     1/25/2017          1/4/2017         1/5/2017 GS2 Enterprises   National Rifle Association Los Angeles/Wash                                $40,850.00                               3143             $40,850.00                                NYAG-00116508
                                                                                               Air Transportation -
     5/22/2015        5/24/2015        5/24/2015 GS2 Enterprises    National Rifle Association Wash/Concord/Wash                               $12,366.00                               2946             $12,366.00                                NYAG-00116510

                                                                                                 Air Transportation -
       9/6/2016       8/31/2016        8/31/2016 GS2 Enterprises    National Rifle Association   Los Angeles/Phoenix/Los Angeles               $12,648.00                               3099             $29,228.00                                NYAG-00116512
                                                                                                 Air Transportation -
       9/6/2016       9/10/2016        9/10/2016 GS2 Enterprises    National Rifle Association   Wash/Bristol/Wash                             $16,580.00                               3099             $29,228.00                                NYAG-00116512
                                                                                                 Air Transportation -
     1/13/2015        1/12/2015        1/17/2015 GS2 Enterprises    National Rifle Association   DC/Dallas/DC                                  $54,625.00                               2903             $54,625.00                                NYAG-00116514
                                                                                                 Air Transportation -
     10/2/2015        10/7/2015       10/13/2015 GS2 Enterprises    National Rifle Association   Wash/Col. Springs/Pierre/Wash                 $87,735.00                               2983             $87,735.00                                NYAG-00116516
                                                                                                 Air Transportation -
     5/31/2015        5/31/2015        5/31/2015 GS2 Enterprises    National Rifle Association   Halifax/New York                              $14,895.00                               2952             $14,895.00                                NYAG-00116517
                                                                                                 Air Transportation -
       4/1/2015         4/7/2015       4/14/2015 GS2 Enterprises    National Rifle Association   Wash/Nashville/Wash                           $49,500.00                               2928             $49,500.00                                NYAG-00116520
                                                                                                 Air Transportation -
     8/26/2019        9/24/2019        9/29/2019 GS2 Enterprises    National Rifle Association   Wash/Pearl/San Antonio/Wash                   $48,400.00                               3384             $48,400.00                                NYAG-00116522




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                                                                                        Air Transportation -
 12/9/2015   12/11/2015      12/11/2015 GS2 Enterprises    NRA - ILA                    DC/Statesville, NC/DC                           $12,375.00                 3008      $12,375.00                           NYAG-00116528
                                                                                        Air Transportation -
 3/20/2015    3/20/2015       3/20/2015 I.I. & I.S. Inc.   NRA - ILA                    DC/Charleston/Boca Raton                        $18,150.00                 2921      $18,150.00                           NYAG-00116530
                                                                                        Air Transportation -
 8/17/2019    8/23/2019       8/25/2019 GS2 Enterprises    National Rifle Association   Wash/Anaheim/Wash                               $71,000.00                 3381      $71,000.00                           NYAG-00116531
 3/19/2019    3/21/2019       3/24/2019 GS2 Enterprises    National Rifle Association   Air Transportation                              $24,100.00                 3361      $24,100.00                           NYAG-00116532
  6/7/2018    6/25/2018       6/28/2018 GS2 Enterprises    National Rifle Association   Air Transportation                              $48,365.00                 3317      $48,365.00                           NYAG-00116547
                                                                                        Air Transportation -
 1/12/2016    1/30/2016        2/7/2016 GS2 Enterprises    National Rifle Association   Wash/LA/Las Vegas/Wash                          $81,700.00                 3018      $81,700.00                           NYAG-00116548
                                                                                        Air Transportation -
 2/25/2016     3/4/2016        3/8/2016 GS2 Enterprises    National Rifle Association   Wash/Las Vegas/LA                               $61,155.00                 3030      $61,155.00                           NYAG-00116549
                                                                                        Air Transportation -
 6/21/2016    6/23/2016       6/26/2016 GS2 Enterprises    National Rifle Association   DC/Alpine, TX/DC                                $56,800.00                 3075      $65,529.26                           NYAG-00116550

                                                                                      Air Transportation -
 6/21/2016     6/8/2016       6/17/2016 GS2 Enterprises    National Rifle Association DC/Nashville/Dallas/DC - Change                    $8,729.26                 3075      $65,529.26                           NYAG-00116550
                                                                                      Air Transportation -
  6/1/2016     6/8/2016       6/16/2016 GS2 Enterprises    National Rifle Association Wash/Nashville/Dallas/Wash                        $63,325.00                 3069      $63,325.00                           NYAG-00116551
                                                                                      Air Transportation -
 6/14/2017    6/20/2017       6/22/2017 GS2 Enterprises    National Rifle Association Wash/New York/Wash                                $21,600.00                 3190      $29,099.24                           NYAG-00116552
                                                                                      Air Transportation -
 10/6/2016   10/13/2016      10/23/2016 GS2 Enterprises    National Rifle Association Changes and Add. Days                            $102,610.00   -$70,785.00   3113      $46,775.00 Credit for Inv. 3108      NYAG-00116553
                                                                                      Air Transportation -
 10/6/2016   10/12/2016      10/12/2016 GS2 Enterprises    National Rifle Association Wash/Lexington/Wash                               $14,950.00                 3113      $46,775.00                           NYAG-00116553
                                                                                      Air Transportation -
  4/5/2016     4/1/2016        4/5/2016 GS2 Enterprises    National Rifle Association Amended Itinerary - Add Raleigh                    $4,670.00                 3045      $54,370.00                           NYAG-00116556
                                                                                      Air Transportation -                                                                              Credit for Deposit from
  4/5/2016     4/7/2016       4/12/2016 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                  $74,700.00   -$25,000.00   3045      $54,370.00 Inv. 3037                 NYAG-00116556
                                                                                      Air Transportation -
10/13/2017   10/17/2017      10/19/2017 GS2 Enterprises    National Rifle Association Wash/Chicago/Nashville/Wash                       $34,700.00                 3227      $34,700.00                           NYAG-00116557
 10/9/2018   10/10/2018      10/11/2018 GS2 Enterprises    National Rifle Association Air Transportation                                $40,920.00                 3341      $40,920.00                           NYAG-00116558
                                                                                      Air Transportation -
 2/19/2016    2/21/2016       2/21/2016 GS2 Enterprises    National Rifle Association Wash/Daytona/Wash                                 $18,650.00                 3029      $18,650.00                           NYAG-00116559
                                                                                      Air Transportation -
 5/30/2017     6/7/2017       6/11/2017 GS2 Enterprises    National Rifle Association Wash/Nashville/Wash                               $43,245.00                 3183      $43,245.00                           NYAG-00116560
                                                                                                                                                                                        Credit for Air
                                                                                                                                                                                        Transportation -
                                                                                      Air Transportation -                                                                              Washington/Sea
 5/16/2016    5/20/2016       5/21/2016 GS2 Enterprises    National Rifle Association Las Vegas/Louisville/New York                     $45,425.00   -$15,995.00   3057      $29,475.00 Island/Wash               NYAG-00116562
                                                                                      Air Transportation -
                                                                                      Los Angeles Credit for Changed
 4/29/2015    4/26/2015       4/28/2015 I.I. & I.S. Inc.   National Rifle Association Trip                                                           -$17,740.00   2937      $17,483.24                           NYAG-00116563
                                                                                      Air Transportation -
 4/29/2015     5/7/2015       5/11/2015 I.I. & I.S. Inc.   National Rifle Association Wash/Charleston/Lexington/DC                      $26,400.00                 2937      $17,483.24                           NYAG-00116563
                                                                                      Dallas - Add. Transportation
 4/29/2015    4/17/2015       4/20/2015 I.I. & I.S. Inc.   National Rifle Association Charge                                             $8,723.24                 2937      $17,483.24                           NYAG-00116563
                                                                                      Air Transportation -
10/20/2016    11/2/2016       11/7/2016 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                  $83,250.00                 3116      $83,250.00                           NYAG-00116564

                                                                                        Air Transportation -
 4/14/2018    4/16/2018       4/22/2018 GS2 Enterprises    National Rifle Association   Changed it - Added Days & Dallas                $55,085.00                 3281      $55,085.00                           NYAG-00116565
 3/13/2018    3/22/2018       3/26/2018 GS2 Enterprises    National Rifle Association   Air Transportation                              $47,715.00                 3274      $47,715.00                           NYAG-00116567
                                                                                        Air Transportation -
12/17/2015    1/18/2016       1/23/2016 GS2 Enterprises    National Rifle Association   Orlando/Las Vegas/Wash                          $50,000.00                 3012      $50,000.00                           NYAG-00116568
                                                                                        Air Transportation -
 12/3/2015    12/4/2015       12/6/2015 GS2 Enterprises    National Rifle Association   Wash/Wichita/Wash                               $60,250.00                 3005      $64,086.68                           NYAG-00116569
                                                                                        Invoice No. 2999 - Add. Collect to
 12/3/2015   11/17/2015      11/20/2015 GS2 Enterprises    National Rifle Association   Add Oklahoma City                                $3,836.68                 3005      $64,086.68                           NYAG-00116569
                                                                                        Air Transportation -
  4/1/2015     4/8/2015       4/12/2015 GS2 Enterprises    National Rifle Association   Los Angeles/Nashville/NY                        $52,150.00                 2929      $52,150.00                           NYAG-00116575
                                                                                        Air Transportation -
 1/22/2015    1/22/2015       1/24/2015 GS2 Enterprises    National Rifle Association   NY/Las Vegas/NY                                 $53,090.00                 2906      $53,090.00                           NYAG-00116576
                                                                                        Air Transportation -
 9/10/2015    9/17/2015       9/24/2015 GS2 Enterprises    National Rifle Association   Wash/LA/Albuquerque/Wash                        $88,200.00                 2974      $88,200.00                           NYAG-00116578
                                                                                        Air Transportation -
10/15/2015   10/16/2015      10/18/2015 GS2 Enterprises    National Rifle Association   Wash/Charlston/Wash                             $27,300.00                 2988      $27,300.00                           NYAG-00116579
                                                                                        Air Transportation -
  7/8/2015     7/5/2015        7/6/2015 GS2 Enterprises    National Rifle Association   Wash/Daytona/Wash                               $66,991.79                 2960      $66,991.79                           NYAG-00116581




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                                                                                        Air Transportation -
                                                                                        Los Angeles/Las Vegas/Los
10/20/2016   10/19/2016      10/19/2016 I.I. & I.S. Inc.   NRA - ILA                    Angeles                                         $8,125.00                 3117       $8,125.00                              NYAG-00116582
                                                                                        Air Transportation -
 1/12/2015     1/7/2015       1/10/2015 GS2 Enterprises    National Rifle Association   Wash/Birmingham/Wash                           $39,958.63                 2902      $39,958.63                              NYAG-00116583
                                                                                        Air Transportation -
  1/7/2016    1/22/2016       1/22/2016 I.I. & I.S. Inc.   NRA - ILA                    Las Vegas/Palm Springs                          $6,115.00                 3017       $6,115.00                              NYAG-00116584
                                                                                        Air Transportation -
  4/4/2019    4/14/2019       4/19/2019 GS2 Enterprises    National Rifle Association   Wash/Phoenix/Wash                              $87,200.00                 3365      $87,200.00                              NYAG-00116585
                                                                                        Air Transportation -
10/20/2017   10/24/2017      10/24/2017 I.I. & I.S. Inc.   NRA - ILA                    Wash/Wilmington, NC/Wash                       $16,050.00                 3229      $16,350.00                              NYAG-00116588
                                                                                        Air Transportation -
                                                                                        Changed Itinerary for Inv. 3250 &
  2/7/2018    1/23/2018        2/3/2018 GS2 Enterprises    National Rifle Association   3253 Add. Charges                              $73,406.16                 3259      $73,406.16                              NYAG-00116604
                                                                                        Air Transportation -
                                                                                        DC/Colorado
 12/5/2016   12/23/2016        1/3/2016 GS2 Enterprises    National Rifle Association   Springs/Bahamas/DC                             $89,950.00                 3130      $89,950.00                              NYAG-00116605
                                                                                        Air Transportation -
 9/18/2017    9/28/2017       10/4/2017 GS2 Enterprises    National Rifle Association   Wash/Montana/Utah/LA/Wash                      $89,850.00                 3216      $89,850.00                              NYAG-00116607
                                                                                        Air Transportation -
10/23/2017    11/2/2017       11/7/2017 GS2 Enterprises    National Rifle Association   Wash/Nebraska/Dallas/Wash                      $61,400.00                 3230      $61,400.00                              NYAG-00116609
                                                                                        Air Transportation -
 5/25/2016    5/26/2016       5/27/2016 GS2 Enterprises    National Rifle Association   Wash/Denver/Wash                               $45,760.00                 3060      $45,760.00                              NYAG-00116610
                                                                                        Air Transportation -
 3/31/2016    3/30/2016       3/30/2016 GS2 Enterprises    National Rifle Association   Wash/Columbus/Wash                             $12,995.00                 3041      $12,995.00                              NYAG-00116611
 6/15/2016                              GS2 Enterprises    National Rifle Association   Add. Charges - Louisville                       $2,600.00                 3073      $41,598.40                              NYAG-00116612
                                                                                        Air Transportation -
 6/15/2016    6/10/2016       6/10/2016 GS2 Enterprises    National Rifle Association   Nashville/DC/Nashville                         $24,134.40                 3073      $41,598.40                              NYAG-00116612
                                                                                        Air Transportation -
 6/15/2016     6/9/2016        6/9/2016 GS2 Enterprises    National Rifle Association   Wash/Nashville                                 $14,864.00                 3073      $41,598.40                              NYAG-00116612
                                                                                        Air Transportation -
 8/25/2016    8/29/2016        9/2/2016 GS2 Enterprises    National Rifle Association   Wash/LA/Wash                                   $67,400.00                 3095      $67,400.00                              NYAG-00116613
                                                                                        Air Transportation -
  8/7/2017    8/20/2017       8/21/2017 GS2 Enterprises    National Rifle Association   Wash/Dallas/Wash                               $50,100.00                 3204      $50,100.00                              NYAG-00116614
                                                                                        Air Transportation -
                                                                                        Wash/Baton
                                                                                        Rouge/Dallas/Springfield/Dallas/
 9/14/2017    9/19/2017       9/25/2017 GS2 Enterprises    National Rifle Association   Wash                                           $87,850.00                 3215      $89,679.90                              NYAG-00116615
 9/14/2017    9/19/2017       9/20/2017 GS2 Enterprises    National Rifle Association   Springfield, MO - Lodging                                                 3215      $89,679.90                  $1,829.90   NYAG-00116615
  6/7/2018     7/1/2018        7/8/2018 GS2 Enterprises    National Rifle Association   Air Transportation                             $49,700.00                 3319      $49,700.00                              NYAG-00116616
                                                                                        Air Transportation -
 1/17/2017    1/25/2017       1/30/2017 GS2 Enterprises    National Rifle Association   Wash/Los Angeles/Atlanta/Wash                  $75,340.00                 3140      $75,340.00                              NYAG-00116617
                                                                                        Air Transportation -
 5/26/2015     6/2/2015        6/7/2015 GS2 Enterprises    National Rifle Association   Wash/Victoria/Wash                             $76,675.00                 2948      $76,675.00                              NYAG-00116619
                                                                                        Air Transportation -
                                                                                        Wash/St. Louis/Colorado
 6/11/2015    6/16/2015       6/19/2015 GS2 Enterprises    National Rifle Association   Springs/Wash                                   $75,640.00                 2955      $75,640.00                              NYAG-00116620
                                                                                        Air Transportation -
 1/25/2017    1/31/2017        2/5/2017 GS2 Enterprises    National Rifle Association   Wash/Vegas/LA                                  $70,095.00                 3142      $70,095.00                              NYAG-00116622
                                                                                        Air Transportation -
 9/19/2017    9/29/2017       9/29/2017 GS2 Enterprises    National Rifle Association   Dallas/Provo/Dallas                            $29,725.00                 3217      $29,725.00                              NYAG-00116623
                                                                                        Air Transportation -
  2/8/2018    2/19/2018       2/19/2018 GS2 Enterprises    National Rifle Association   Orlando/Wash                                   $23,950.00                 3261      $34,425.00                              NYAG-00116624
                                                                                        Air Transportation -
  2/8/2018     2/9/2018        2/9/2018 GS2 Enterprises    National Rifle Association   Wash/Harrisburg/Wash                           $10,475.00                 3261      $34,425.00                              NYAG-00116624
                                                                                        Air Transportation -
 5/26/2015    5/26/2015       5/30/2015 GS2 Enterprises    National Rifle Association   Wash/LA/Wash                                   $71,300.00                 2947      $71,300.00                              NYAG-00116625
                                                                                        Air Transportation -
 6/27/2016     7/5/2016        7/7/2016 GS2 Enterprises    National Rifle Association   Wash/Jackson/Wash                              $54,550.00                 3078      $54,550.00                              NYAG-00116627

                                                                                      Air Transportation -
11/21/2016   11/13/2016      11/16/2016 GS2 Enterprises    National Rifle Association Wash/Tulsa/Austin/Orlando/ Wash                  $54,535.02                 3123      $54,535.02                              NYAG-00116628
                                                                                      Air Transportation -
                                                                                      Dallas/Wichita/Kearney/Pierre/
 10/4/2017    10/6/2017       10/9/2017 GS2 Enterprises    National Rifle Association DC                                               $65,600.00                 3223      $65,600.00                              NYAG-00116629
                                                                                                                                                                                       Credit from Inv. 3149 -
                                                                                      Air Transportation -                                                                             Changed Itinerary -
 3/17/2017    3/26/2017       3/31/2017 GS2 Enterprises    National Rifle Association Wash/LA/Wash                                     $69,700.00   -$42,081.00   3155      $27,619.00 Wash/Dallas/Wash             NYAG-00116630
                                                                                      Air Transportation -
10/30/2015    11/5/2015      11/10/2015 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                 $72,385.00                 2997      $72,385.00                              NYAG-00116631




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                                                                                      Air Transportation -
 7/24/2015    7/20/2015       7/22/2015 GS2 Enterprises    National Rifle Association Wash/Aspen/Wash                                  $49,627.94                 2966      $49,627.94                               NYAG-00116632
                                                                                      Air Transportation -
 8/24/2015    8/22/2015       8/22/2015 GS2 Enterprises    National Rifle Association Wash/Bristol/Wash                                $12,695.00                 2970      $12,695.00                               NYAG-00116633
                                                                                      Air Transportation -
 5/10/2017    5/21/2017       5/24/2017 GS2 Enterprises    National Rifle Association DC/Phoenix/Charlotte/DC                          $63,400.00                 3174      $63,400.00                               NYAG-00116634
                                                                                      Air Transportation -                                                                             Credit for Cancelled Trip -
11/29/2017    12/1/2017       12/3/2017 GS2 Enterprises    National Rifle Association Wash/New York/Wash                               $20,750.00   -$61,400.00   3237      $21,499.87 Inv. 3230                     NYAG-00116635
                                                                                      Air Transportation -
11/29/2017   11/11/2017      11/16/2017 GS2 Enterprises    National Rifle Association Wash/Orlando/Austin/Wash                         $61,300.00                 3237      $21,499.87                               NYAG-00116635

                                                                                      Air Transportation -
 4/13/2015    4/14/2015       4/14/2015 GS2 Enterprises    National Rifle Association Wash/Boston/Wash - Late Cancel                    $8,500.00                 2930      $45,250.00                               NYAG-00116643
                                                                                      Air Transportation -
 4/13/2015    4/17/2015       4/17/2015 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                 $42,800.00                 2930      $45,250.00                               NYAG-00116643
                                                                                      Changed Air Transportation - Inv.
                                                                                      2929 Los Angeles/ Nashville/St.
 4/13/2015    4/12/2015       4/12/2015 GS2 Enterprises    National Rifle Association Louis - Credit                                                 -$6,050.00   2930      $45,250.00                               NYAG-00116643
                                                                                      Air Transportation -
                                                                                      Wash/Phoenix/Salt Lake
 2/11/2015    2/17/2015       2/21/2015 GS2 Enterprises    National Rifle Association City/Wash                                        $79,600.00                 2915      $79,600.00                               NYAG-00116644
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
                                                                                      Air Transportation -
 7/15/2019                               GS2 Enterprises   National Rifle Association LAX/Ind/LAX                                       $2,058.60                 3378       $3,690.00                               NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
 7/15/2019                               GS2 Enterprises   National Rifle Association Marriott Hotel                                                              3378       $3,690.00                    $847.25    NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
 7/15/2019                               GS2 Enterprises   National Rifle Association Meals                                                                       3378       $3,690.00                    $429.15    NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
 7/15/2019                               GS2 Enterprises   National Rifle Association Taxis                                                                       3378       $3,690.00                    $150.00    NYAG-00116645
                                                                                      Indianapolis Annual Meeting
                                                                                      Expenses - April 2019
                                                                                      Tips - Baggage, Maid, Taxi
 7/15/2019                               GS2 Enterprises   National Rifle Association Drivers                                                                     3378       $3,690.00                    $205.00    NYAG-00116645
                                                                                      Air Transportation -
 10/2/2018    10/3/2018       10/3/2018 I.I. & I.S. Inc.   NRA - ILA                  Wash/Lexington/Wash                              $13,990.00                 3337      $13,990.00                               NYAG-00116647

                                                                                        Air Transportation -
 3/18/2017    3/22/2017       3/22/2017 I.I. & I.S. Inc.   NRA - ILA                    Wash/Little Rock/Nashville/Wash                $24,600.00                 3156      $24,600.00                               NYAG-00116648
                                                                                        Air Transportation -
  5/6/2019    5/15/2019       5/15/2019 GS2 Enterprises    National Rifle Association   DC/Los Angeles (OJAI)                          $34,050.00                 3370      $73,850.00                               NYAG-00116649
                                                                                        Air Transportation -
  5/6/2019    5/21/2019       5/21/2019 GS2 Enterprises    National Rifle Association   Los Angeles/DC                                 $39,800.00                 3370      $73,850.00                               NYAG-00116649
                                                                                        Air Transportation -
 1/10/2019    1/15/2019       1/26/2019 GS2 Enterprises    National Rifle Association   DC/Dallas/Vegas/LA/DC                         $136,300.00                 3354     $136,300.00                               NYAG-00116650
                                                                                        Air Transportation -
11/29/2017    12/4/2017       12/4/2017 I.I. & I.S. Inc.   NRA - ILA                    Wash/Raleigh, NC/Wash                          $11,980.00                 3236      $12,704.88                               NYAG-00116652
                                                                                        Air Transportation -
 7/13/2019    7/22/2019       7/26/2019 GS2 Enterprises    National Rifle Association   DC/Aspen/Jackson/DC                            $51,900.00                 3377      $36,035.32                               NYAG-00116655
                                                                                        Change to Camarillo - Add.
 7/13/2019    5/15/2019       5/19/2019 GS2 Enterprises    National Rifle Association   Collection                                      $3,100.00                 3377      $36,035.32                               NYAG-00116655
 7/13/2019    4/17/2019       4/19/2019 GS2 Enterprises    National Rifle Association   Schropp - Atlanta/NY                            $1,311.82   -$20,276.50   3377      $36,035.32 Credit from Inv. 3372         NYAG-00116655
                                                                                        Air Transportation -
 3/19/2019    3/21/2019       3/24/2019 GS2 Enterprises    National Rifle Association   DC/Hickory, NC                                 $24,100.00                 3361      $27,695.92                               NYAG-00116657
                                                                                        Air Transportation -
 1/31/2017    1/31/2017       1/31/2017 GS2 Enterprises    National Rifle Association   Las Vegas/Wash/Las Vegas                       $47,850.00                 3145      $50,035.00                               NYAG-00116666
                                                                                        Air Transportation -
 1/31/2017    1/31/2017        2/6/2017 GS2 Enterprises    National Rifle Association   Wash/Vegas/Wash - Change                        $2,185.00                 3145      $50,035.00                               NYAG-00116666
 8/22/2018    8/26/2018       8/30/2018 GS2 Enterprises    National Rifle Association   Air Transportation                             $89,385.00                 3326      $89,385.00                               NYAG-00116667
                                                                                        Inv. 3192 - Air Transportation -
  7/7/2017                               GS2 Enterprises   National Rifle Association   Add. Charge                                    $15,050.00                 3197      $21,579.94                               NYAG-00116668
                                                                                        Air Transportation -
 9/21/2016     9/9/2016       9/10/2016 GS2 Enterprises    National Rifle Association   Dallas/Wash/Dallas                             $34,959.88                 3104      $34,959.88 Re: Dana Loesch               NYAG-00116671
                                                                                        Air Transportation -
 2/13/2018    2/25/2018       2/28/2018 GS2 Enterprises    National Rifle Association   Wash/Palm Beach/Wash                           $46,500.00                 3262      $46,500.00                               NYAG-00116672
                                                                                        Air Transportation -
12/13/2017   12/26/2017      12/26/2017 GS2 Enterprises    National Rifle Association   Colorado/Miami                                 $46,285.00                 3241      $46,285.00                               NYAG-00116673




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                                                                                     Air Transportation -
9/28/2016    10/5/2016       10/9/2016 GS2 Enterprises    National Rifle Association Wash/Dallas/Los Angeles/Wash                     $70,785.00                 3108      $70,785.00                                NYAG-00116674
                                                                                     Air Transportation -
10/6/2016   10/13/2016      10/23/2016 GS2 Enterprises    National Rifle Association Changes and Add. Days                           $102,610.00   -$70,785.00   3114      $46,775.00 Credit from Inv. 3108          NYAG-00116675
                                                                                     Air Transportation -
10/6/2016   10/12/2016      10/12/2016 GS2 Enterprises    National Rifle Association Wash/Lexington/Wash                              $14,950.00                 3114      $46,775.00                                NYAG-00116675
10/3/2018    10/3/2018       10/4/2018 GS2 Enterprises    National Rifle Association Air Transportation                               $18,610.00                 3338      $18,610.00                                NYAG-00116676
 9/6/2018    9/14/2018       9/14/2018 GS2 Enterprises    National Rifle Association Air Transportation                               $21,900.00                 3331      $21,900.00                                NYAG-00116677
                                                                                     Air Transportation -
3/22/2016    3/23/2016       3/23/2016 GS2 Enterprises    National Rifle Association Wash/Lynchburg/Wash                              $16,250.00                 3039      $16,250.00                                NYAG-00116679
                                                                                     Air Transportation -
4/22/2016    4/28/2016       4/28/2016 GS2 Enterprises    National Rifle Association Wash/Minneapolis/Wash                            $28,185.00                 3050      $28,185.00                                NYAG-00116680
                                                                                     Air Transportation -                                                                                                            NYAG-00116681
5/11/2015    5/18/2015       5/20/2015 GS2 Enterprises    National Rifle Association Wash/Dallas/Charlotte/Wash                       $47,250.00                 2944      $50,258.24                                NYAG-00116871
                                                                                     Air Transportation -                                                                                                            NYAG-00116681
5/11/2015    5/11/2015       5/11/2015 GS2 Enterprises    National Rifle Association Wash/Lexington/DC                                $11,925.00                 2944      $50,258.24                                NYAG-00116871
                                                                                     Air Transportation -
                                                                                     Los Angeles Credit for Changed                                                                                                  NYAG-00116681
5/11/2015    4/26/2015       4/28/2015 GS2 Enterprises    National Rifle Association Trip                                                          -$17,740.00   2944      $50,258.24                                NYAG-00116871
                                                                                     Dallas - Add. Transportation                                                                                                    NYAG-00116681
5/11/2015    4/17/2015       4/20/2015 GS2 Enterprises    National Rifle Association Charge                                            $8,723.24                 2944      $50,258.24                                NYAG-00116871
                                                                                     Air Transportation -
4/22/2017     5/9/2017       5/12/2017 GS2 Enterprises    National Rifle Association Wash/Los Angeles/Wash                            $68,900.00                 3169      $68,900.00                                NYAG-00116682
                                                                                     Air Transportation -
 8/7/2017    8/24/2017       8/25/2017 GS2 Enterprises    National Rifle Association Wash/Madison/Wash                                $40,050.00                 3206      $40,050.00                                NYAG-00116683
2/24/2018    2/25/2018       2/25/2018 GS2 Enterprises    National Rifle Association Air Transportation                               $29,715.00                 3269      $52,965.00                                NYAG-00116684
                                                                                     Inv. 3260 - Air Transportation -
2/24/2018                               GS2 Enterprises   National Rifle Association Changed Itinerary                                $17,750.00                 3269      $52,965.00                                NYAG-00116684
                                                                                     Inv. 3264 - Air Transportation -
2/24/2018                               GS2 Enterprises   National Rifle Association Changed Itinerary                                 $5,500.00                 3269      $52,965.00                                NYAG-00116684
                                                                                     Air Transportation -
6/11/2015    6/10/2015       6/14/2015 GS2 Enterprises    National Rifle Association Wash/Nashville/Wash                              $28,359.23                 2954      $28,359.23                                NYAG-00116687
                                                                                     Air Transportation -
 9/8/2016    9/14/2016       9/16/2016 GS2 Enterprises    National Rifle Association Wash/OK. City/ Louisville/Wash                   $38,300.00                 3100      $38,300.00                                NYAG-00116688
                                                                                     Air Transportation -
2/16/2016    2/11/2016       2/11/2016 GS2 Enterprises    National Rifle Association Wash/Harrisburg/Wash                             $12,050.00                 3026      $12,050.00                                NYAG-00116689
                                                                                     Air Transportation -
5/24/2018    5/30/2018       5/30/2018 GS2 Enterprises    National Rifle Association Wash/Los Angeles                                 $47,850.00                 3297      $47,850.00                                NYAG-00116690
                                                                                     Air Transportation -
9/10/2015    9/14/2015       9/14/2015 GS2 Enterprises    National Rifle Association Wash/Charlotte/Wash                              $13,280.00                 2976      $13,280.00                                NYAG-00116691
                                                                                     Air Transportation -
 3/1/2016     3/4/2016       3/14/2016 GS2 Enterprises    National Rifle Association Add. Dallas, Add. Collect                        $12,350.00                 3036      $12,350.00                                NYAG-00116692
 3/3/2015    2/28/2015        3/1/2015 GS2 Enterprises    National Rifle Association Air Transportation                               $19,033.06                 2920      $19,033.06                                NYAG-00116696
                                                                                     Air Transportation -
5/21/2015    5/26/2015       5/30/2015 GS2 Enterprises    National Rifle Association Wash/LA/Wash                                     $72,400.00                 2945      $72,400.00                                NYAG-00116699
                                                                                     Air Transportation -
3/28/2019     4/1/2019        4/1/2019 GS2 Enterprises    National Rifle Association Wash/Houston/Wash                                $37,850.00                 3363      $37,850.00                                NYAG-00116702
                                                                                     Air Transportation -
 9/8/2017    10/5/2017       10/5/2017 I.I. & I.S. Inc.   NRA - ILA                  Minneapolis/Pierre                                $8,085.00                 3213      $14,718.01                                NYAG-00116711
                                                                                     Air Transportation -
4/20/2018    4/26/2018       4/29/2018 GS2 Enterprises    National Rifle Association Wash/California/Wash                             $76,950.00                 3282      $76,950.00                                NYAG-00116728
                                                                                     Air Transportation -
5/10/2017    5/20/2017       5/20/2017 GS2 Enterprises    National Rifle Association DC/Columbia, SC/DC                               $18,075.00                 3173      $21,575.00                                NYAG-00116729
5/10/2017     5/9/2017       5/12/2017 GS2 Enterprises    National Rifle Association Change Itinerary - Add. Collect                   $3,500.00                 3173      $21,575.00                                NYAG-00116729
                                                                                     Air Transportation -
5/30/2017    6/14/2017       6/19/2017 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                 $55,500.00                 3184      $55,500.00                                NYAG-00116730

                                                                                       Air Transportation -                                                                             Credit for Changed
6/15/2018    7/10/2018       7/14/2018 GS2 Enterprises    National Rifle Association   DC/Scottsdale/Col./DC                          $84,325.00   -$10,500.00   3320      $73,825.00   Itinerary Inv. 3317 & 3318   NYAG-00116731
                                                                                       Air Transportation -                                                                             Re: Inv. 3142 & 3143
                                                                                       Changed Itinerary -                                                                              02/06/17 - 02/09/17 --
1/27/2017    1/31/2017        2/3/2017 GS2 Enterprises    National Rifle Association   Wash/Las/Wash                                  $64,135.00                 3144      $64,135.00   Wash/LA/Wash                 NYAG-00116733
                                                                                       Air Transportation -                                                                             Credit for Changed
10/9/2017   10/12/2017      10/15/2017 GS2 Enterprises    National Rifle Association   Wash/Arizona/Wash                              $80,770.00   -$21,150.00   3225      $59,620.00   Itinerary Inv. 3223          NYAG-00116735
                                                                                       Air Transportation -                                                                             Credit for Inv. 3159 -
4/14/2017    4/25/2017        5/1/2017 GS2 Enterprises    National Rifle Association   Wash/Atlanta/Wash                              $32,875.00   -$28,275.00   3163      $40,450.00   Cancelled Trip               NYAG-00116736
                                                                                       Air Transportation -
4/14/2017    4/20/2017       4/23/2017 GS2 Enterprises    National Rifle Association   Wash/John's Island/Bristol/Wash                $35,850.00                 3163      $40,450.00                                NYAG-00116736
                                                                                       Air Transportation -
10/6/2016    10/5/2016       10/9/2016 GS2 Enterprises    National Rifle Association   Changes and Add. Days                         $102,610.00   -$70,785.00   3114      $46,775.00 Credit for Inv. 3108           NYAG-00116737




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                                                                                      Air Transportation -
 10/6/2016   10/12/2016      10/12/2016 GS2 Enterprises    National Rifle Association Wash/Lexington/Wash                          $14,950.00                 3114      $46,775.00                 NYAG-00116737
                                                                                      Air Transportation -
  2/4/2018     2/8/2018        2/8/2018 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                             $38,275.00                 3258      $48,750.00                 NYAG-00116738
                                                                                      Air Transportation -
  2/4/2018     2/6/2018        2/6/2018 GS2 Enterprises    National Rifle Association Wash/Harrisburg/Wash                         $10,475.00                 3258      $48,750.00                 NYAG-00116738
                                                                                      Air Transportation -
 2/19/2018    2/27/2018        3/1/2018 GS2 Enterprises    National Rifle Association Wash & Return                                $51,595.00                 3264      $51,595.00                 NYAG-00116739
                                                                                      Air Transportation -
 8/22/2016    8/20/2016       8/21/2016 GS2 Enterprises    National Rifle Association Wash/Bristol/Wash                            $35,820.00                 3092      $35,820.00                 NYAG-00116740
                                                                                      Air Transportation -
10/16/2015   10/14/2015      10/14/2016 GS2 Enterprises    National Rifle Association Wash/Lexington/Wash                          $12,325.00                 2990      $12,325.00                 NYAG-00116741
                                                                                      Air Transportation -
  7/7/2017     6/7/2017       6/11/2017 GS2 Enterprises    National Rifle Association Wash/Aspen/Wash                              $68,300.00                 3196      $68,300.00                 NYAG-00116743
                                                                                      Air Transportation -
                                                                                      Los Angeles Credit for Changed
 5/12/2015    4/26/2015       4/28/2015 I.I. & I.S. Inc.   National Rifle Association Trip                                                      -$17,740.00   2937      $17,483.24                 NYAG-00116744
                                                                                      Air Transportation -
 5/12/2015     5/7/2015       5/11/2015 I.I. & I.S. Inc.   National Rifle Association Wash/Charleston/Lexington/DC                 $26,400.00                 2937      $17,483.24                 NYAG-00116744
                                                                                      Dallas - Add. Transportation
 5/12/2015    4/17/2015       4/20/2015 I.I. & I.S. Inc.   National Rifle Association Charge                                        $8,723.24                 2937      $17,483.24                 NYAG-00116744
                                                                                      Air Transportation -
                                                                                      Changed Itinerary - Added Days &
 4/17/2018    4/16/2018       4/22/2018 GS2 Enterprises    National Rifle Association Dallas                                       $61,600.00                 3281      $61,600.00                 NYAG-00116745
                                                                                      Air Transportation -
 1/18/2018    1/23/2018       1/23/2018 GS2 Enterprises    National Rifle Association Wash/Vegas/Wash                              $66,750.00                 3250      $66,750.00                 NYAG-00116747

                                                                                      Air Transportation -
 10/7/2015    10/7/2015      10/13/2015 GS2 Enterprises    National Rifle Association Wash/Colorado Spr./Pierre/Wash               $87,535.00                 2987      $87,535.00                 NYAG-00116748
                                                                                      Air Transportation -
 12/7/2015   12/10/2015      12/13/2015 GS2 Enterprises    National Rifle Association Wash/NY/Wash                                 $20,500.00                 3007      $20,500.00                 NYAG-00116749
                                                                                      Air Transportation -
 6/23/2017    6/30/2017        7/4/2017 GS2 Enterprises    National Rifle Association Wash/Orlando/Wash                            $31,800.00                 3191      $31,800.00                 NYAG-00116751
                                                                                      Air Transportation -
                                                                                      Baltimore/Springfield, MO./
 9/14/2017    9/20/2017       9/21/2017 GS2 Enterprises    National Rifle Association Baltimore                                    $24,300.00                 3214      $53,700.00                 NYAG-00116752
                                                                                      Air Transportation -
 9/14/2017    9/15/2017       9/17/2017 GS2 Enterprises    National Rifle Association Wash/Maine/Wash                              $29,400.00                 3214      $53,700.00                 NYAG-00116752
                                                                                      Air Transportation -
 3/13/2018    3/22/2018       3/26/2018 GS2 Enterprises    National Rifle Association Wash/Raleigh/Charleston/Wash                 $47,715.00                 3274      $47,715.00                 NYAG-00116753
                                                                                      Air Transportation -
  1/4/2017   12/23/2016      12/27/2016 GS2 Enterprises    National Rifle Association Add. Charges                                  $5,885.26                 3136      $41,880.26                 NYAG-00116754
                                                                                      Air Transportation -
  1/4/2017     1/4/2017        1/5/2017 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                             $35,995.00                 3136      $41,880.26                 NYAG-00116754
                                                                                      Air Transportation -
                                                                                      Laramie/Colorado Springs/
 10/5/2015    10/9/2015      10/11/2015 GS2 Enterprises    National Rifle Association Jackson Hole                                 $35,840.00                 2985      $35,840.00 Re: VP Cheney   NYAG-00116755
                                                                                      Air Transportation -
 9/10/2015    9/14/2015       9/14/2015 GS2 Enterprises    National Rifle Association Wash/Charlotte/Wash                          $13,280.00                 2970      $13,280.00                 NYAG-00116756
                                                                                      Air Transportation -
 6/29/2016    7/17/2016       7/18/2016 GS2 Enterprises    National Rifle Association Florida/Minneapolis/Wash                     $65,770.00                 3082      $65,770.00                 NYAG-00116757
                                                                                      Air Transportation -
 7/12/2017    7/12/2017       7/16/2017 GS2 Enterprises    National Rifle Association Inv. 3192 Changed Itinerary                  $28,575.00                 3198      $28,575.00                 NYAG-00116758
                                                                                      Air Transportation -
  8/7/2017     9/3/2017        9/4/2017 GS2 Enterprises    National Rifle Association Wash/W. Palm/Wash                            $31,175.00                 3207      $31,175.00                 NYAG-00116759
                                                                                      Air Transportation -
 7/17/2015    7/15/2015       7/16/2015 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                             $44,790.97                 2962      $44,790.97                 NYAG-00116763
                                                                                      Air Transportation -
 7/11/2016    7/22/2016       7/22/2016 I.I. & I.S. Inc.   NRA - ILA                  Cleveland/Wash                                $9,890.00                 3086       $9,890.00                 NYAG-00116765
                                                                                      Air Transportation -
 1/21/2015    1/21/2015       1/21/2015 GS2 Enterprises    National Rifle Association Las/Atlanta/Wash                             $34,868.85                 2905      $34,868.85                 NYAG-00116766
                                                                                      Air Transportation -
 3/20/2019     4/4/2019        4/6/2019 GS2 Enterprises    National Rifle Association DC/Omaha/Tulsa/DC                            $49,535.00                 3362      $49,535.00                 NYAG-00116772
                                                                                      Air Transportation -
 3/23/2017     4/7/2017       4/10/2017 GS2 Enterprises    National Rifle Association DC/Hillsdale/Dallas/DC                       $59,085.00                 3158      $59,085.00                 NYAG-00116788

                                                                                      Air Transportation -
 1/16/2017    1/19/2017       1/19/2017 GS2 Enterprises    National Rifle Association T. Selleck - New York/Las Vegas              $35,995.00                 3138      $35,995.00                 NYAG-00116790
10/19/2018    11/2/2018       11/5/2018 GS2 Enterprises    National Rifle Association Air Transportation                           $59,790.00                 3342      $59,790.00                 NYAG-00116791
                                                                                      Air Transportation -
 3/18/2017    3/22/2017       3/24/2017 GS2 Enterprises    National Rifle Association Wash/OK. City/Wash                           $41,900.00                 3157      $41,900.00                 NYAG-00116793




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                                                                                      Air Transportation -
  9/8/2017    8/20/2017       8/20/2017 GS2 Enterprises    National Rifle Association Add. Collection                                   $800.00                 3212      $51,812.97                          NYAG-00116794
                                                                                      Air Transportation -
  9/8/2017     9/4/2017       9/10/2017 GS2 Enterprises    National Rifle Association Change Itinerary                                 $5,800.00                3212      $51,812.97                          NYAG-00116794
                                                                                      Air Transportation -
  9/8/2017     9/8/2017        9/9/2017 GS2 Enterprises    National Rifle Association Wash/New York/Wash                              $27,550.00                3212      $51,812.97                          NYAG-00116794
                                                                                      Air Transportation -
 6/28/2016    6/23/2016       6/26/2016 GS2 Enterprises    National Rifle Association Add. Charges Alpine, TX                         $10,776.74                3080      $52,626.74                          NYAG-00116796
                                                                                      Air Transportation -
 6/28/2016     7/9/2016        7/9/2016 GS2 Enterprises    National Rifle Association Wash/Milwaukee/Florida                          $41,850.00                3080      $52,626.74                          NYAG-00116796
                                                                                      Air Transportation -
 5/24/2017    5/28/2017       5/28/2017 GS2 Enterprises    National Rifle Association Wash/Concord/Wash                               $18,500.00                3182      $18,500.00                          NYAG-00116798
                                                                                      Air Transportation -
11/28/2016    12/6/2016      12/11/2016 GS2 Enterprises    National Rifle Association DC/Dallas/NY/DC                                 $56,235.00                3126       $6,229.86                          NYAG-00116799
                                                                                      Air Transportation - Late Cancel
11/28/2016   11/30/2016      11/30/2016 GS2 Enterprises    National Rifle Association DC/Nashville/DC                                  $5,994.86                3126      $62,229.86                          NYAG-00116799
                                                                                      Air Transportation -
  2/1/2017    2/15/2017       2/21/2017 GS2 Enterprises    National Rifle Association Wash/Dallas/Orlando/Wash                        $65,185.00                3149      $65,185.00                          NYAG-00116800
                                                                                      Air Transportation -
 1/25/2018    1/30/2018        2/6/2018 GS2 Enterprises    National Rifle Association Wash/Vegas/LA/Wash                              $73,375.00                3253      $73,375.00                          NYAG-00116801
                                                                                      Air Transportation -
 2/19/2018    2/16/2018       2/22/2018 GS2 Enterprises    National Rifle Association Changed Itinerary                               $47,750.00                3263      $47,750.00                          NYAG-00116802
                                                                                      Air Transportation -
  8/1/2018     8/2/2018        8/2/2018 GS2 Enterprises    National Rifle Association Wash/Dallas                                     $37,350.00                3225      $37,350.00                          NYAG-00116805
                                                                                      Air Transportation -
12/13/2017     1/2/2018        1/2/2018 GS2 Enterprises    National Rifle Association Wash/Dallas                                     $55,850.00                3243      $55,850.00                          NYAG-00116807
                                                                                      Air Transportation -
12/17/2015    1/12/2016       1/18/2016 GS2 Enterprises    National Rifle Association Wash/Dallas/Orlando                             $66,150.00                3011      $66,150.00                          NYAG-00116808
                                                                                      Air Transportation -
 2/19/2016    2/18/2016       2/19/2016 GS2 Enterprises    National Rifle Association Wash/Reno/Wash                                  $62,533.38                3028      $62,533.38                          NYAG-00116809
                                                                                      Air Transportation -
  8/7/2017    8/19/2017       8/19/2017 GS2 Enterprises    National Rifle Association Wash/Bristol/Wash                               $20,575.00                3203      $20,575.00                          NYAG-00116812
                                                                                      Air Transportation -
12/13/2017   12/21/2017      12/21/2017 GS2 Enterprises    National Rifle Association Wash/Colorado                                   $42,285.00                3240      $42,285.00                          NYAG-00116813
                                                                                      Air Transportation -
 2/18/2016    2/18/2016       2/18/2016 GS2 Enterprises    National Rifle Association Wash/Reno/Wash                                  $62,850.00                3027      $62,850.00                          NYAG-00116814
                                                                                      Air Transportation -
  4/5/2016     3/4/2016       3/14/2016 GS2 Enterprises    National Rifle Association Wash/Charleston/Bristol/Wash                    $35,135.00                3046      $35,135.00                          NYAG-00116815
                                                                                      Air Transportation -                                                                           Credit for Inv. 3174 -   NYAG-00116816
  6/5/2017     6/7/2017       6/12/2017 GS2 Enterprises    National Rifle Association Changed Nashville Itinerary                     $19,130.00   -$2,000.00   3182      $23,984.55 Changed Itinerary        NYAG-00116817
                                                                                      Air Transportation -
                                                                                      Wash/Dallas/Phoenix/Denver/
 9/21/2016    9/19/2016       9/28/2016 GS2 Enterprises    National Rifle Association Dallas/New York/Wash                           $105,810.00                3105     $105,810.00                          NYAG-00116818
                                                                                      Add. Coll. For Change to Inv.
 9/26/2017                               GS2 Enterprises   National Rifle Association 3217                                             $1,650.00                3218      $19,531.20                          NYAG-00116819
                                                                                      Air Transportation -
 9/26/2017   10/11/2017      10/11/2017 GS2 Enterprises    National Rifle Association Wash/Lexington/Wash                             $15,865.00                3218      $19,531.20                          NYAG-00116819
                                                                                      Air Transportation -
 9/26/2017    8/20/2017       8/21/2017 GS2 Enterprises    National Rifle Association Wash/New York/Wash                                $955.74                 3218      $19,531.20                          NYAG-00116819
                                                                                      Air Transportation -
 9/26/2017    8/21/2017       8/21/2017 GS2 Enterprises    National Rifle Association Wash/New York/Wash                               $1,060.46                3218      $19,531.20                          NYAG-00116819
                                                                                      Air Transportation -
  3/3/2015    2/28/2015        3/1/2015 GS2 Enterprises    National Rifle Association Wash/Nashville/Wash                             $19,033.06                2920      $19,033.06                          NYAG-00116820
                                                                                      Air Transportation -
  4/4/2019    4/23/2019       4/30/2019 GS2 Enterprises    National Rifle Association Wash/Ind/Wash                                   $37,150.00                3366      $37,150.00                          NYAG-00116825
                                                                                      Air Transportation -
 6/21/2016    6/10/2016       6/10/2016 I.I. & I.S. Inc.   NRA - ILA                  DC/Hartford/DC                                  $13,379.28                3076      $13,379.28                          NYAG-00116826
  2/8/2019     3/2/2019       3/11/2019 GS2 Enterprises    National Rifle Association Air Transportation                              $78,900.00                3358      $81,600.00                          NYAG-00116827
  2/8/2019    1/15/2019       1/19/2019 GS2 Enterprises    National Rifle Association LaPierre - Dallas - Add. Land                    $1,500.00                3358      $81,600.00                          NYAG-00116827

  2/8/2019    1/21/2019       1/24/2019 GS2 Enterprises    National Rifle Association LaPierre - Las Vegas - Add. Land                 $1,200.00                3358      $81,600.00                          NYAG-00116827
                                                                                      Air Transportation -
 7/15/2016    7/22/2016       7/22/2016 I.I. & I.S. Inc.   NRA - ILA                  Cleveland/Wash                                   $9,998.00                3087       $9,998.00                          NYAG-00116828
                                                                                      Air Transportation -
 3/28/2018     4/6/2018       4/11/2018 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                $68,875.00                3275      $68,875.00                          NYAG-00116852
                                                                                      Air Transportation -
 2/26/2016    2/23/2016       2/24/2016 GS2 Enterprises    National Rifle Association Wash/Midland/Houston/Wash                       $44,255.66                3032      $44,255.66                          NYAG-00116854
                                                                                      Inv. 3192 - Air Transportation -
  7/7/2017                               GS2 Enterprises   National Rifle Association Add. Charge                                     $15,050.00                3197      $38,446.14                          NYAG-00116855
                                                                                      Air Transportation -
  8/7/2017     9/4/2017       9/10/2017 GS2 Enterprises    National Rifle Association Wash/Dallas/Springfield/Wash                    $56,985.00                3205      $56,985.00                          NYAG-00116856




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                                                                                             Air Transportation -
 7/22/2017        7/20/2017          7/20/2017 GS2 Enterprises    National Rifle Association Wash/Inverness/Wash                             $26,550.00                3199      $29,619.49                             NYAG-00116857
                                                                                             Air Transportation -
 4/27/2016        5/10/2016          5/15/2016 GS2 Enterprises    National Rifle Association DC/Sea Island/Se Isl./DC                        $50,460.00                3052      $50,460.00                             NYAG-00116859
                                                                                             Air Transportation -
 6/28/2016        6/23/2016          6/26/2016 GS2 Enterprises    National Rifle Association Add. Charges Alpine, TX                         $10,776.74                3080      $52,626.74                             NYAG-00116860
                                                                                             Air Transportation -
 6/28/2016         7/9/2016           7/9/2016 GS2 Enterprises    National Rifle Association Wash/Milwaukee/Nassau                           $41,850.00                3080      $52,626.74                             NYAG-00116860
                                                                                             Air Transportation -
  2/4/2018         2/6/2018           2/6/2018 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                $10,475.00                3258      $48,750.00                             NYAG-00116861
                                                                                             Air Transportation -
  2/4/2018         2/8/2018           2/8/2018 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                $38,275.00                3258      $48,750.00                             NYAG-00116861
                                                                                             Air Transportation -
 6/29/2017        7/12/2017          7/16/2017 GS2 Enterprises    National Rifle Association Wash/Seattle/Wash                               $67,950.00                3192      $67,950.00                             NYAG-00116862
                                                                                             Air Transportation -
 2/25/2016         3/8/2016          3/12/2016 GS2 Enterprises    National Rifle Association LA/Phoenix/Wash                                 $56,200.00                3031      $56,200.00                             NYAG-00116863
                                                                                             Air Transportation -
 5/23/2018        5/23/2018          5/23/2018 GS2 Enterprises    National Rifle Association Wash/Charlotte/Wash                             $21,850.00                3296      $26,263.31                             NYAG-00116864
 5/23/2018 May                May              GS2 Enterprises    National Rifle Association Milan Group Trans. (Shikar)                      $3,713.31                3296      $26,263.31                             NYAG-00116864
                                                                                             Air Transportation -
 3/24/2017        4/11/2017          4/11/2017 GS2 Enterprises    National Rifle Association Wash/Naples/Wash                                $28,275.00                3159      $28,275.00                             NYAG-00116866
                                                                                             Air Transportation -
 9/30/2015        9/29/2015          9/29/2015 GS2 Enterprises    National Rifle Association Portsmouth/Wash                                 $20,875.00                2979      $20,875.00                             NYAG-00116867
                                                                                             Air Transportation -
 5/24/2016        5/17/2016          5/23/2016 GS2 Enterprises    National Rifle Association Wash/Louisville/Wash                            $36,810.96                3058      $36,810.96                             NYAG-00116872
                                                                                             Air Transportation -
                                                                                             Wash/New Orleans/San                                                                           Credit from Inv. 2989
10/27/2015       10/27/2015         10/30/2015 GS2 Enterprises    National Rifle Association Antonio/Midland/Wash                            $66,667.20   -$5,000.00   2993      $61,667.20 (Cancel Memphis)            NYAG-00116874
                                                                                             Air Transportation -
 12/1/2015        12/4/2015         12/13/2015 GS2 Enterprises    National Rifle Association Wash/Wichita/LA/NY/Wash                        $113,220.00                3005     $117,056.68                             NYAG-00116876
                                                                                             Inv. 2999 - Add. Collect to Add
 12/1/2015       11/17/2015         11/20/2015 GS2 Enterprises    National Rifle Association OK. City                                         $3,836.68                3005     $117,056.68                             NYAG-00116876
  1/4/2017         1/4/2017           1/5/2017 GS2 Enterprises    National Rifle Association Air Transportation                              $35,995.00                3136      $41,880.26                             NYAG-00116878
                                                                                             Air Transportation -
  1/4/2017       12/23/2016         12/27/2016 GS2 Enterprises    National Rifle Association Add. Charges                                     $5,885.26                3136      $41,880.26                             NYAG-00116878
                                                                                             Air Transportation -
                                                                                             Wash/Springfield/Nashville/
10/15/2015       10/19/2015         10/22/2015 GS2 Enterprises    National Rifle Association Memphis/Nashville/Wash                          $73,800.00                2989      $73,800.00                             NYAG-00116879
                                                                                             Air Transportation -
 4/14/2017        4/27/2017          4/28/2017 GS2 Enterprises    National Rifle Association LA/Atlanta/LA (For Selleck)                     $53,400.00                3164      $53,400.00                             NYAG-00116880
                                                                                             Air Transportation -
 4/20/2015        4/26/2015           5/3/2015 GS2 Enterprises    National Rifle Association Wash/LA/Colorado Sp/Wash                        $89,990.00                2931      $89,990.00                             NYAG-00116883
  2/1/2019       12/21/2018         12/27/2018 GS2 Enterprises    National Rifle Association Air Transportation Change                                                 3353      $34,785.01                 $3,610.00   NYAG-00116890
  2/1/2019                                     GS2 Enterprises    National Rifle Association Travel Agency Fees 2018                                                   3353      $34,785.01                 $1,075.00   NYAG-00116890
                                                                                             Air Transportation -
 3/23/2017         4/7/2017          4/10/2017 GS2 Enterprises    National Rifle Association DC/Hillsdale/Dallas/DC                          $70,465.00                3158      $70,465.00                             NYAG-00116916
                                                                                             Air Transportation -
 4/26/2018         5/1/2018           5/7/2018 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                $63,600.00                3283      $63,600.00                             NYAG-00116918
                                                                                             Air Transportation -
 5/24/2018         6/6/2018           6/6/2018 GS2 Enterprises    National Rifle Association Dallas/DC                                       $39,900.00                3299      $39,900.00                             NYAG-00116920
                                                                                             Air Transportation -
 1/17/2017        1/23/2017          1/24/2017 GS2 Enterprises    National Rifle Association Wash/New York/Wash                              $25,975.00                3139      $25,975.00                             NYAG-00116921
                                                                                             Air Transportation -
 4/10/2018        4/11/2018          4/11/2018 GS2 Enterprises    National Rifle Association Change Itinerary                                $40,195.00                3278      $40,195.00                             NYAG-00116922
                                                                                             Air Transportation -
 5/24/2016        5/25/2016          5/25/2016 GS2 Enterprises    National Rifle Association Wash/Charlotte/Wash                             $17,775.00                3059      $17,775.00                             NYAG-00116924
                                                                                             Air Transportation -
11/11/2015       11/14/2015         11/14/2015 GS2 Enterprises    National Rifle Association Wash/Mississippi/Wash                           $29,705.00                2998      $29,705.00                             NYAG-00116927
                                                                                             Air Transportation -
  2/1/2017        2/15/2017          2/21/2017 GS2 Enterprises    National Rifle Association Wash/Dallas/Orlando/Wash                        $80,985.00                3149      $80,985.00                             NYAG-00116929
 10/1/2018        9/26/2018          10/2/2018 GS2 Enterprises    National Rifle Association Air Transportation                              $96,200.00                3336      $96,200.00                             NYAG-00116930
11/30/2018       12/21/2018         12/27/2018 GS2 Enterprises    National Rifle Association Air Transportation                              $62,310.00                3347      $62,310.00                             NYAG-00116931
                                                                                             Air Transportation -
 1/28/2015        1/29/2015           2/3/2015 I.I. & I.S. Inc.   National Rifle Association DC/Dallas/Las Vegas                             $71,850.00                2907     $121,750.00                             NYAG-00116933
                                                                                             Air Transportation -
 1/28/2015         2/8/2015           2/8/2015 I.I. & I.S. Inc.   National Rifle Association Las Vegas/DC                                    $49,900.00                2907     $121,750.00                             NYAG-00116933
                                                                                             Air Transportation -
 4/20/2016        4/23/2016          4/24/2016 GS2 Enterprises    National Rifle Association Wash/Dallas/Wash                                $36,565.00                3049      $49,445.00                             NYAG-00116934
                                                                                             Air Transportation -
 4/20/2016        4/21/2016          4/21/2016 GS2 Enterprises    National Rifle Association Wash/Pittsburgh/Wash                            $12,880.00                3049      $49,445.00                             NYAG-00116934




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                                                                                        Air Transportation -
                                                                                        DC/Charleston/San Antonio/
  2/8/2018    2/14/2018       2/16/2018 GS2 Enterprises    National Rifle Association   Orlando                                          $52,650.00                   3260      $52,650.00                              NYAG-00116936
                                                                                        Air Transportation -
 9/25/2016    9/30/2016       9/30/2016 GS2 Enterprises    National Rifle Association   Wash/Jacksonville/Wash                           $19,150.00                   3107      $19,150.00                              NYAG-00116937
                                                                                        Air Transportation -
 4/12/2018    4/16/2018       4/19/2018 GS2 Enterprises    National Rifle Association   Changed Itinerary                                $12,000.00                   3279      $12,000.00                              NYAG-00116938
                                                                                        Air Transportation -
 1/11/2018   11/11/2017      11/15/2017 GS2 Enterprises    National Rifle Association   Add. Charges - Inv. 3237                            $735.65                   3249      $37,390.43                              NYAG-00116939
                                                                                        Air Transportation -
 1/11/2018     1/4/2018        1/4/2018 GS2 Enterprises    National Rifle Association   Dallas/OKC/Dallas                                $14,800.00                   3249      $37,390.43                              NYAG-00116939
                                                                                        Air Transportation -
 4/27/2016    4/23/2016       4/24/2016 GS2 Enterprises    National Rifle Association   Wash/Dallas/Wash                                 $36,813.61                   3051      $36,813.61                              NYAG-00116942
                                                                                        Air Transportation -
 8/24/2019    9/11/2019       9/14/2019 GS2 Enterprises    National Rifle Association   Wash/Anchorage/Wash                              $77,915.00                   3382      $77,915.00                              NYAG-00116951
                                                                                        Air Transportation -
  4/4/2019    4/14/2019       4/19/2019 GS2 Enterprises    National Rifle Association   Wash/Phoenix/Wash                                $71,725.00                   3365      $71,725.00                              NYAG-00116953
                                                                                        Air Transportation -
 12/9/2015   12/11/2015      12/11/2015 I.I. & I.S. Inc.   NRA - ILA                    DC/Statesville, NC/DC                            $12,375.00                   3008      $12,375.00                              NYAG-00116954
                                                                                        Air Transportation -
12/15/2015   12/30/2015      12/30/2015 I.I. & I.S. Inc.   NRA - ILA                    Nashville/Baton Rouge/DC                         $23,185.00                   3010      $23,185.00                              NYAG-00116956
                                                                                        Dean Cain - Air Transportation -
 4/26/2019    4/28/2019       4/29/2019 GS2 Enterprises    National Rifle Association   Los Angeles/Ind/Los Angeles                      $42,200.00                   3368      $42,200.00                              NYAG-00116961
                                                                                        Dean Cain - Air Transportation -
  4/4/2019    4/25/2019       4/26/2019 GS2 Enterprises    National Rifle Association   Los Angeles/Ind/Los Angeles                      $43,265.00                   3367      $43,265.00                              NYAG-00116963
                                                                                        Air Transportation -                                                                               Invoice from Frosch         NYAG-00116975 to
 4/11/2019    4/24/2019       4/27/2019 GS2 Enterprises                                 Wash/New York/Wash                                 $2,058.60                             $2,058.60 Classic Cruise and Travel    NYAG-00116978
                                                                                        Air Transportation -
 3/24/2016     4/1/2016        4/5/2016 GS2 Enterprises    National Rifle Association   Wash/Reno/Wash                                   $83,550.00                   3040      $83,550.00                               NYAG-0116686

                                                                                                                  Total               $11,080,575.46   -$504,802.50
                                                                                                     Total Minus Credits              $10,575,772.96




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                                                                                                                                                                  Air Transportation
Invoice Date      Start Date       End Date               Vendor                Billed To              Manifest                          Passengers                                     Credits         Invoice Number    Total Invoice Cost            Other           Bates Number
                                                                                                                                                                         Cost

                                                 Corporate America                          Air Transportation -
      10/3/2015      10/11/2015       10/11/2015 Aviation, Inc.        I.I. & I.S. Travel   Colorado Springs/Jackson Hole     (7) D. Cheney and guests                     $18,800.00                        101115ROA             $18,800.00                           NYAG-00116172
                                                 Corporate America                          Air Transportation -              (3) Wayne & Susan LaPierre,
      1/27/2017         2/3/2017        2/3/2017 Aviation, Inc.        I.I. & I.S. Travel   Las Vegas/Washington              Tyler Schropp, Nader Tavangar                $34,900.00                        020317ROA             $34,900.00                           NYAG-00116173
                                                 Corporate America                          Air Transportation -
    12/13/2017          1/2/2018        1/2/2018 Aviation, Inc.        I.I. & I.S. Travel   North Platte/Dallas               (2) Colleen & Sienna Sterner                 $13,100.00                      010218-a-ROA            $13,100.00                           NYAG-00116174
                                                 Corporate America                          Air Transportation -
      12/6/2017         1/2/2018        1/2/2018 Aviation, Inc.        I.I. & I.S. Travel   Nassau, Bahamas/Dallas            (2) W & S LaPierre                           $37,750.00                        010218ROA             $37,750.00                           NYAG-00116175
                                                                                            Air Transportation -
                                                 Corporate America                          Nassau, Bahamas/Dallas/North
      12/6/2017         1/2/2018        1/2/2018 Aviation, Inc.        I.I. & I.S. Travel   Platte                            (5) W & S LaPierre and guests                $46,025.00                        010218ROA             $46,025.00                           NYAG-00116176
                                                 Corporate America                          Air Transportation -
      12/5/2016         1/3/2017        1/3/2017 Aviation, Inc.        I.I. & I.S. Travel   Nassau, Bahamas/Washington        (2) Wayne & Susan LaPierre                   $21,850.00                        010317ROA             $21,850.00                           NYAG-00116177
                                                                                            Air Transportation -
                                                   Corporate America                        Governors Harbour, Bahamas/
    12/15/2015          1/4/2016        1/5/2016   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                 (2) W & S LaPierre                           $39,990.00                        010416ROA             $39,990.00                           NYAG-00116178
                                                   Corporate America                        Air Transportation -              (2) Wayne LaPierre, Anthony
      12/5/2016         1/4/2017        1/5/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Washington      Makris                                       $31,995.00                        010417ROA             $31,995.00                           NYAG-00116179
                                                   Corporate America                        Air Transportation -
    12/15/2017          1/4/2018        1/4/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Oklahoma City/Dallas       (2) W. LaPierre, T. Schropp                  $13,300.00                        010418ROA             $13,300.00                           NYAG-00116180
                                                   Corporate America                        Air Transportation -
      12/6/2017         1/7/2018        1/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                 (2) W & S LaPierre                           $32,145.00                        010718ROA             $32,145.00                           NYAG-00116181
                                                   Corporate America                        Air Transportation -
      12/6/2017         1/7/2018        1/7/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                 (2) W & S LaPierre                           $30,895.00                        010718ROA             $30,895.00                           NYAG-00116182
                                                   Corporate America                        Air Transportation -
    12/13/2017          1/8/2018        1/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/N. Platte/Washington       (6) W & S LaPierre and guests                $39,000.00                        010818ROA             $39,000.00                           NYAG-00116183
                                                                                            Air Transportation -
                                                   Corporate America                        Washington/Dallas/N. Platte/Las   (3, then 2) W&S LaPierre.
      1/10/2019        1/15/2019       1/26/2019   Aviation, Inc.      I.I. & I.S. Travel   Vegas/Van Nuys/Washington         Tyler Schropp off @ Dallas                  $121,300.00                             11019           $121,300.00                           NYAG-00116184
                                                   Corporate America                        Air Transportation -
    12/29/2016         1/14/2017       1/15/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Houston/Las Vegas      (2) Wayne LaPierre and guests                $40,875.00                        011417ROA             $40,875.00                           NYAG-00116185
                                                   Corporate America                        Air Transportation -
      1/16/2017        1/19/2017       1/19/2017   Aviation, Inc.      I.I. & I.S. Travel   Teterboro/Las Vegas               (2) T. Selleck, D. Muntz                     $32,715.00                        011917ROA             $32,715.00                           NYAG-00116186
                                                   Corporate America                        Air Transportation -              (2) Christopher Cox, David
    12/23/2015         1/22/2016       1/22/2016   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Palm Springs            Lehman                                        $5,515.00                        012216ROA              $5,515.00                           NYAG-00116187
                                                                                            Air Transportation -
                                                 Corporate America                          Washington/Teterboro/
      1/17/2017        1/23/2017       1/24/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W&S LaPierre                             $23,275.00                        012317ROA             $23,275.00                           NYAG-00116188

                                                 Corporate America                          Air Transportation -
       2/5/2018        1/23/2018       1/23/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Las Vegas/Scottsdale   (2) W. LaPierre; A. Makris                   $38,664.55                         012318-CR            $38,664.55                           NYAG-00116189
                                                                                            Air Transportation -
                                                 Corporate America                          Washington/Las Vegas/N. Platte/   (1, then 3) W. LaPierre; C & S
      1/18/2018        1/23/2018       1/26/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                        Sterner                                      $59,950.00                        012318ROA             $59,950.00                           NYAG-00116190
                                                                                            Air Transportation -
                                                                                            Washington/Las Vegas/
                                                 Corporate America                          Scottsdale/Grand Island/          (1/2/1/3) W. LaPierre; A. Makris,
      1/25/2018        1/23/2018       1/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                        C & S Sterner                                $67,250.00                        012318ROA             $67,250.00                           NYAG-00116191
                                                                                            Air Transportation -
                                                 Corporate America                          Washington/Van Nuys/Atlanta/
      1/17/2017        1/25/2017       1/30/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W&S LaPierre                             $68,040.00                        012517ROA             $68,040.00                           NYAG-00116192
                                                 Corporate America                          Air Transportation -                                                                                                                                                        NYAG-00116193
       2/4/2018        1/27/2018       1/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Burbank                (1) Anthony Makris                            $4,459.50                         012618-CR             $4,459.50 "Cancellation" Invoice    NYAG-00116196
                                                 Corporate America                          Air Transportation -
      1/25/2018        1/26/2018       1/26/2018 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Burbank                (1) Anthony Makris                            $9,700.00                        012618ROA              $9,700.00                           NYAG-00116194
                                                                                            Air Transportation -
                                                 Corporate America                          Scottsdale/Grand Island/          (3) W. LaPierre; Colleen &
       2/5/2018        1/27/2018       1/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                        Sienna Sterner                               $12,668.04     -$28,585.45        012718-CXL            $12,668.04 Credit from Inv. 012318   NYAG-00116195

                                                 Corporate America                          Air Transportation -              (2) Wayne LaPierre, Nader
      1/31/2017        1/31/2017        2/1/2017 Aviation, Inc.        I.I. & I.S. Travel   Las Vegas/Washington/Las Vegas    Tavangar                                     $43,100.00                       013117aROA             $43,100.00                           NYAG-00116197
                                                                                            Air Transportation -
                                                   Corporate America                        Washington/North Platte/Las
      1/25/2017        1/31/2017       1/31/2017   Aviation, Inc.      I.I. & I.S. Travel   Vegas                             (5) W & S LaPierre and guests                $37,800.00                        013117ROA             $37,800.00                           NYAG-00116198
                                                   Corporate America                        Air Transportation -              (4) W. LaPierre, A. Makris, C&S
      1/29/2018        1/31/2018       1/31/2018   Aviation, Inc.      I.I. & I.S. Travel   Van Nuys/Scottsdale/Las Vegas     Sterner                                      $19,650.00                        013118ROA             $19,650.00                           NYAG-00116199
                                                   Corporate America                        Air Transportation -
       2/2/2018         2/8/2018        2/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Washington      (2) W. LaPierre, T. Schropp                  $34,275.00                       020818-aROA            $34,275.00                           NYAG-00116200
                                                   Corporate America                        Air Transportation -
      1/25/2017         2/2/2017        2/2/2017   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/North Platte            (1) Terry Sterner                            $15,495.00                        020217ROA             $15,495.00                           NYAG-00116201
                                                   Corporate America                        Air Transportation -
      1/30/2018         2/3/2018        2/3/2018   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Washington              (1) Wayne LaPierre                           $27,725.00                        020318ROA             $27,725.00                           NYAG-00116202
                                                   Corporate America                        Air Transportation -              (3) Terry, Colleen & Sienna                                                                                                               NYAG-00116203
      1/29/2018         2/4/2018        2/4/2018   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Grand Island            Sterner                                      $16,500.00                        020418ROA             $16,500.00                           NYAG-00116204




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                                    Corporate America                          Air Transportation -
 1/25/2017    2/5/2017     2/5/2017 Aviation, Inc.        I.I. & I.S. Travel   Las Vegas/Van Nuys               (5) W & S LaPierre and guests      $9,800.00        020517ROA     $9,800.00                          NYAG-00116205
                                                                               Air Transportation -
                                    Corporate America                          Washington/Van Nuys/             (3) Wayne LaPierre, Tyler
 1/27/2017    2/6/2017     2/9/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                       Schropp, Nader Tavangart          $69,885.00        020617ROA    $69,885.00                          NYAG-00116206
                                                                               Air Transportation -
                                    Corporate America                          Washington/Dallas/Harrisburg/
  2/4/2018    2/6/2018     2/6/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                       (2) W. LaPierre, A. Fischer        $9,475.00        020618ROA     $9,475.00                          NYAG-00116207
                                                                               Air Transportation -
                                    Corporate America                          Washington/Van Nuys/             (3) Wayne LaPierre, Tyler
 1/31/2017    2/6/2017    2/10/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                       Schropp, Nader Tavangart          $71,110.00        0206a17ROA   $71,110.00                          NYAG-00116208
                                                                               Air Transportation -
                                    Corporate America                          Washington/Dallas/Harrisburg/    (2, then 2) W. LaPierre, T.                                                 Note: Replaces Invoice
12/27/2017    2/8/2018     2/9/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                       Schropp, C. Kinney                $38,100.00        020818ROA    $38,100.00 #020918ROA               NYAG-00116209
                                    Corporate America                          Air Transportation -
 1/25/2017    2/9/2017     2/9/2017 Aviation, Inc.        I.I. & I.S. Travel   Van Nuys/Washington              (5) W & S LaPierre and guests     $36,700.00        020917ROA    $36,700.00                          NYAG-00116210
                                                                               Air Transportation -
                                    Corporate America                          Washington/Dallas/Harrisburg/    (2, then 3) W. LaPierre, A.
  2/4/2018    2/9/2018     2/9/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                       Fischer, C. Kinney                 $9,475.00        020918ROA     $9,475.00                          NYAG-00116211
                                                                               Air Transportation -
                                    Corporate America                          Washington/Harrisburg/           (1, then 2) W. LaPierre, C.
12/27/2017    2/9/2018     2/9/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                       Kinney                             $9,475.00        020918ROA     $9,475.00                          NYAG-00116212
                                                                               Air Transportation -
                                    Corporate America                          Washington/Harrisburg/
  2/8/2017   2/11/2017    2/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                       (3) W. LaPierre and guests         $9,300.00        021117ROA     $9,300.00                          NYAG-00116213
                                                                               Air Transportation -
                                    Corporate America                          Washington/Charleston/San
  2/8/2018   2/14/2018    2/16/2018 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Orlando                  (2) W & S LaPierre                $47,650.00    021418-a-ROA     $47,650.00                          NYAG-00116214
                                                                               Air Transportation -
                                    Corporate America                          Washington/Charleston/San                                                                                    Note: Replaces Invoice
 2/12/2018   2/14/2018    2/16/2018 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Tallahassee/Orlando      (2) W & S LaPierre; A. Makris     $50,685.00    021418-b-ROA     $50,685.00 #021418-a-ROA            NYAG-00116215

                                    Corporate America                          Air Transportation -
  2/6/2018   2/14/2018    2/15/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/San Antonio/Orlando   (2) W & S LaPierre                $42,450.00        021418ROA    $42,450.00                          NYAG-00116216
                                                                               Air Transportation -
                                      Corporate America                        Washington/Dallas/Kearney/
  2/1/2017   2/15/2017    2/21/2017   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Atlanta/Washington       (4) W. LaPierre and guests        $58,085.00        021517ROA    $58,085.00                          NYAG-00116217
                                      Corporate America                        Air Transportation -
 2/15/2018   2/15/2018    2/15/2018   Aviation, Inc.      I.I. & I.S. Travel   Tampa/Charleston                 (1) Christopher Kinney            $11,350.00        021518ROA    $11,350.00                          NYAG-00116218
                                      Corporate America                        Air Transportation -             (4) W & S LaPierre; Christopher
 2/16/2018   2/18/2018    2/21/2018   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Dallas/Washington        Kinney, Anthony Makris            $46,000.00        021818ROA    $46,000.00                          NYAG-00116219
                                      Corporate America                        Air Transportation -
  2/6/2018   2/19/2018    2/19/2018   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Washington               (2) W & S LaPierre                $21,750.00        021918ROA    $21,750.00                          NYAG-00116220
                                      Corporate America                        Air Transportation -
 1/28/2017   2/21/2017    2/21/2017   Aviation, Inc.      I.I. & I.S. Travel   Atlanta/Kearney                  (2) Colleen & Sienna Sterner      $14,800.00        022117ROA    $14,800.00                          NYAG-00116221
                                                                               Air Transportation -
                                    Corporate America                          Dallas/Fort Lauderdale/
 2/21/2018   2/21/2018    2/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Dallas                (3) D&C Loesch, Henry Martin      $66,775.00        022118ROA    $66,775.00                          NYAG-00116222
                                    Corporate America                          Air Transportation -             (4) W & S LaPierre; Christopher
 2/18/2018   2/22/2018    2/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Brunswick             Kinney, Anthony Makris            $18,300.00        022218ROA    $18,300.00                          NYAG-00116223
                                                                               Air Transportation -
                                    Corporate America                          Washington/West Palm Beach/
 2/13/2018   2/25/2018    2/28/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                       (2) W & S LaPierre                $41,400.00        022518ROA    $41,400.00                          NYAG-00116224
                                                                               Air Transportation -
                                    Corporate America                          Brunswick/Washington/            (3) W. LaPierre, A. Makris, C.
 2/24/2018   2/25/2018    2/25/2018 Aviation, Inc.        I.I. & I.S. Travel   Brunswick                        Kinney                            $26,715.00        022518ROA    $26,715.00                          NYAG-00116225
                                    Corporate America                          Air Transportation -
  2/1/2017   2/26/2017    2/26/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Daytona/Washington    (4) W. LaPierre and guests        $21,400.00        022617ROA    $21,400.00                          NYAG-00116226
                                                                               Air Transportation -             02/26-27: (2) S. LaPierre, C.
                                                                               Brunswick/West Palm Beach/       Sterner
                                    Corporate America                          Brunswick/West Palm Beach/       03/01: (4) W & S LaPierre; C.                                               Note: Replaces Invoice
 2/21/2018   2/26/2018     3/1/2018 Aviation, Inc.        I.I. & I.S. Travel   Brunswick/Washington             Kinney, A. Makris                 $47,545.00        022618ROA    $47,545.00 #022718ROA               NYAG-00116227
                                                                               Air Transportation -             02/27-28: (2) S. LaPierre, C.
                                                                               Brunswick/West Palm Beach/       Sterner
                                    Corporate America                          Brunswick/West Palm Beach/       03/01: (4) W & S LaPierre; C.                                               Note: Replaces Invoice
 2/19/2018   2/27/2018     3/1/2018 Aviation, Inc.        I.I. & I.S. Travel   Brunswick/Washington             Kinney, A. Makris                 $46,295.00        022718ROA    $46,295.00 #022518ROA               NYAG-00116228
                                    Corporate America                          Air Transportation -             (4) LaPierre, Kinney, Powell,
  3/2/2018    3/7/2018     3/7/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Islip/Washington      Hallow                            $19,250.00        030718ROA    $19,250.00                          NYAG-00116229
                                                                               Air Transportation -
                                    Corporate America                          Washington/Atlanta/Washington/
 3/12/2018   3/15/2018    3/18/2018 Aviation, Inc.        I.I. & I.S. Travel   Greensboro/Washington            (3) W&S LaPierre; C. Kinney       $39,995.00        031518ROA    $39,995.00                          NYAG-00116230
                                                                               Air Transportation -
                                    Corporate America                          Washington/Little Rock/
 3/17/2017   3/22/2017    3/22/2017 Aviation, Inc.        I.I. & I.S. Travel   Nashville/Washington             (5) Christopher Cox and guests    $21,800.00        032217ROA    $21,800.00                          NYAG-00116231
                                                                               Air Transportation -
                                    Corporate America                          Washington/Charleston/Raleigh/
 3/13/2018   3/22/2018    3/26/2018 Aviation, Inc.        I.I. & I.S. Travel   Charleston/Washington            (3) W&S LaPierre; C. Kinney       $42,915.00        032218ROA    $42,915.00                          NYAG-00116232




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                                                                              Air Transportation -
                                   Corporate America                          Washington/Oklahoma City/
3/17/2017   3/22/2017    3/24/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (2) W. LaPierre, N. Tavangar      $37,900.00       03222417ROA     $37,900.00                          NYAG-00116233
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Van
3/16/2017   3/26/2017    3/31/2017 Aviation, Inc.        I.I. & I.S. Travel   Nuys/North Platte/Washington       (4) W. LaPierre and guests        $62,700.00         032617ROA     $62,700.00                          NYAG-00116234
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Van
 3/9/2017   3/26/2017    3/31/2017 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Washington                    (4) W. LaPierre and guests        $62,000.00         032617ROA     $62,000.00                          NYAG-00116235
                                   Corporate America                          Air Transportation -
 4/3/2019   4/19/2019    4/19/2019 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Washington              (2) W&S LaPierre                  $37,950.00              41919    $37,950.00                          NYAG-00116236
                                                                              Air Transportation -
                                   Corporate America                          Washington/Omaha/North Platte/
3/19/2019    4/4/2019     4/6/2019 Aviation, Inc.        I.I. & I.S. Travel   Tulsa/Washington                   (2) W&S LaPierre                  $44,535.00           0404-0619   $44,535.00                          NYAG-00116237
                                                                              Air Transportation -
                                   Corporate America                          Washington/Dallas/North Platte/    (4) W & S LaPierre; C & S
3/28/2018    4/6/2018    4/11/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                         Sterner                           $62,375.00         040618ROA     $62,375.00                          NYAG-00116238
                                                                              Air Transportation -
                                   Corporate America                          Washington/Hillsdale/Dallas/
3/22/2017    4/7/2017    4/10/2017 Aviation, Inc.        I.I. & I.S. Travel   North Platte/Washington            (6) W. LaPierre and guests        $63,465.00         040717ROA     $63,465.00                          NYAG-00116239
                                                                              Air Transportation -
                                   Corporate America                          Washington/Hillsdale/Dallas/
3/22/2017    4/7/2017    4/10/2017 Aviation, Inc.        I.I. & I.S. Travel   Grand Island/Washington            (6) W. LaPierre and guests        $52,085.00         040717ROA     $52,085.00                          NYAG-00116240
                                                                              Air Transportation -
                                   Corporate America                          Washington/Hillsdale/North
3/14/2017    4/7/2017    4/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Platte/Dallas/Washington           (6) W. LaPierre and guests        $63,465.00         040717ROA     $63,465.00                          NYAG-00116241
                                   Corporate America                          Air Transportation -               (2) Anthony Makris, William
 4/2/2018   4/10/2018    4/10/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington                  Powell                            $17,200.00         041018ROA     $17,200.00                          NYAG-00116242
                                   Corporate America                          Air Transportation -               (3) W. LaPierre, T. Schropp, N.
3/23/2017   4/11/2017    4/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Naples/Washington       Tavangar                          $25,275.00         041117ROA     $25,275.00                          NYAG-00116243
                                                                              Air Transportation -
                                   Corporate America                          Washington/Scottsdale/                                                                                           Note: Replaces Invoice
4/10/2019   4/14/2019    4/18/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                  $63,925.00           0414-1819   $63,925.00 #041419 & 041919         NYAG-00116244
                                                                              Air Transportation -
                                   Corporate America                          Washington/Scottsdale/                                                                                           Note: Replaces Invoice
 4/4/2019   4/14/2019    4/19/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                  $64,625.00           0414-1919   $64,625.00 #041419 & 041919         NYAG-00116245
                                   Corporate America                          Air Transportation -
 4/3/2019   4/14/2019    4/14/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington/Scottsdale              (2) W&S LaPierre                  $41,250.00              41419    $41,250.00                          NYAG-00116246
                                                                              Air Transportation -
                                   Corporate America                          Washington/Scottsdale/             (3) W&S LaPierre; Anthony
4/12/2018   4/16/2018    4/19/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Savannah                Makris                            $79,000.00       041618-A-ROA    $79,000.00                          NYAG-00116247
                                                                              Air Transportation -
                                   Corporate America                          Washington/Scottsdale/             (3) W&S LaPierre; Anthony
4/11/2018   4/16/2018    4/19/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                         Makris                            $68,800.00         041618ROA     $68,800.00                          NYAG-00116248
                                   Corporate America                          Air Transportation -                                                                                             Note: Replaces Invoice
4/14/2018   4/16/2018    4/16/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Scottsdale              (2) W&S LaPierre                  $34,000.00   Revised 041618ROA   $34,000.00 #041618-A-ROA            NYAG-00116249
                                   Corporate America                          Air Transportation -
4/13/2018   4/19/2018    4/19/2018 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Dallas                  (2) W&S LaPierre                  $27,000.00       041918-A-ROA    $27,000.00                          NYAG-00116250
                                   Corporate America                          Air Transportation -
4/13/2018   4/19/2018    4/19/2018 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Savannah                (2) Makris/Loughlin               $35,800.00       041918-B-ROA    $35,800.00                          NYAG-00116251
                                   Corporate America                          Air Transportation -
 4/1/2017   4/20/2017    4/20/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Johns Island            (3) W&S LaPierre; T. Schropp      $12,815.00         042017ROA     $12,815.00                          NYAG-00116252
                                   Corporate America                          Air Transportation -
4/17/2018   4/21/2018    4/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Hot Springs/Washington      (2) W&S LaPierre                  $33,600.00         042118ROA     $33,600.00                          NYAG-00116253
                                   Corporate America                          Air Transportation -
4/14/2018   4/22/2018    4/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington                  (2) W&S LaPierre                  $30,085.00         042218ROA     $30,085.00                          NYAG-00116254
                                                                              Air Transportation -
                                     Corporate America                        Washington/Indianapolis/           (3) W. LaPierre, T. Schropp, N.
3/27/2019   4/23/2019    4/30/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington                         Tavangar                          $33,150.00           0423-2019   $33,150.00                          NYAG-00116255
                                     Corporate America                        Air Transportation -
 4/1/2017   4/23/2017    4/23/2017   Aviation, Inc.      I.I. & I.S. Travel   Johns Island/Washington            (3) W & S LaPierre                $15,800.00        042317aROA     $15,800.00                          NYAG-00116256
                                     Corporate America                        Air Transportation -
 4/1/2017   4/23/2017    4/23/2017   Aviation, Inc.      I.I. & I.S. Travel   Johns Island/Bristol/Washington    (3) W & S LaPierre; T. Schropp    $19,185.00         042317ROA     $19,185.00                          NYAG-00116257
                                     Corporate America                        Air Transportation -
4/12/2017   4/25/2017     5/1/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Atlanta/Washington      (3) W & S LaPierre; T. Schropp    $29,400.00         0425-17ROA    $29,400.00                          NYAG-00116258
                                     Corporate America                        Air Transportation -
 4/4/2019   4/25/2019    4/26/2019   Aviation, Inc.      I.I. & I.S. Travel   Camarillo/Indianapolis/Camarillo   (1) DG Cain                       $39,165.00              42519    $39,165.00                          NYAG-00116259
                                                                              Air Transportation -
                                   Corporate America                          Washington/Palm Springs/
4/20/2018   4/26/2018    4/29/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                  $69,950.00         042618ROA     $69,950.00                          NYAG-00116260
                                   Corporate America                          Air Transportation -
4/14/2017   4/27/2017    4/28/2017 Aviation, Inc.        I.I. & I.S. Travel   Camarillo/Atlanta/Camarillo        (1) T.D. Selleck                  $47,900.00         042717ROA     $47,900.00                          NYAG-00116261
                                   Corporate America                          Air Transportation -
4/23/2018    5/1/2018     5/1/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Arlington               (5) W. LaPierre and guests        $28,800.00         050118ROA     $28,800.00                          NYAG-00116262
                                                                              Air Transportation -
                                   Corporate America                          Washington/San Antonio/
4/13/2017    5/4/2017     5/7/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                  $43,150.00         050417ROA     $43,150.00                          NYAG-00116263




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                                   Corporate America                          Air Transportation -
4/26/2018    5/7/2018     5/7/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington                  (5) W. LaPierre and guests        $28,800.00        050718ROA    $28,800.00                          NYAG-00116264
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Van        (4) W & S LaPierre; C & S
 5/6/2017    5/9/2017    5/12/2017 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Washington                    Sterner                           $64,900.00        050917aROA   $64,900.00                          NYAG-00116265
                                                                              Air Transportation -
                                     Corporate America                        Washington/Van Nuys/
4/13/2017    5/9/2017    5/12/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                  $62,200.00        050917ROA    $62,200.00                          NYAG-00116266
                                     Corporate America                        Air Transportation -
2/22/2019   5/14/2019    5/14/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys                (2) W&S LaPierre                  $34,050.00             51419   $34,050.00                          NYAG-00116267
                                     Corporate America                        Air Transportation -                                                                                           Note: Replaces Invoice
 5/6/2019   5/15/2019    5/15/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys                (2) W&S LaPierre                  $34,050.00             51519   $34,050.00 #051419                  NYAG-00116268
                                     Corporate America                        Air Transportation -
2/22/2019   5/19/2019    5/19/2019   Aviation, Inc.      I.I. & I.S. Travel   Van Nuys/Scottsdale                (2) W&S LaPierre                  $12,750.00             51919   $12,750.00                          NYAG-00116269
                                                                              Air Transportation -
                                   Corporate America                          Washington/Columbia/               (2) W. LaPierre, A. Fischer, N.
5/10/2017   5/20/2017    5/20/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                         Tavangar                          $16,075.00        052017ROA    $16,075.00                          NYAG-00116270
                                                                              Air Transportation -
                                   Corporate America                          Washington/Scottsdale/Charlotte/   (2) W. LaPierre, A. Makris, T.
5/10/2017   5/21/2017    5/24/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                         Schropp                           $57,300.00        052117ROA    $57,300.00                          NYAG-00116271
                                   Corporate America                          Air Transportation -                                                                                           Note: Replaces Invoice
 4/5/2019   5/21/2019    5/21/2019 Aviation, Inc.        I.I. & I.S. Travel   Van Nuys/Washington                (2) W&S LaPierre                  $39,800.00             52119   $39,800.00 #052219                  NYAG-00116272
                                   Corporate America                          Air Transportation -
2/22/2019   5/22/2019    5/22/2019 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Washington              (2) W&S LaPierre                  $35,750.00             52219   $35,750.00                          NYAG-00116273
                                                                              Air Transportation -
                                   Corporate America                          Washington/Charlotte/Washingto
5/14/2018   5/23/2018    5/23/2018 Aviation, Inc.        I.I. & I.S. Travel   n                                  (3) W. LaPierre and guests        $19,150.00             52318   $19,150.00                          NYAG-00116274

                                   Corporate America                          Air Transportation -
5/24/2017   5/28/2017    5/28/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Concord/Washington      (3) W. LaPierre and guests        $16,650.00        052817ROA    $16,650.00                          NYAG-00116275
                                                                              Air Transportation -
                                   Corporate America                          Washington/Atlanta & Atlanta/
 5/2/2018   5/29/2018    6/10/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (4) W. LaPierre and guests        $35,900.00        052918ROA    $35,900.00                          NYAG-00116276
                                   Corporate America                          Air Transportation -               (4, then 2) W&S LaPierre; C&S
5/29/2018    6/4/2018     6/4/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/North Platte/Washington     Sterner                           $37,700.00           060618a   $37,700.00                          NYAG-00116277
                                                                              Air Transportation -
                                   Corporate America                          Washington/Nashville/Savannah/     (3) W & S LaPierre; Anthony
5/26/2017    6/7/2017    6/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Nashville/Washington               Makris                            $39,245.00        060717aROA   $39,245.00                          NYAG-00116278
                                                                              Air Transportation -
                                   Corporate America                          Washington/Nashville/Nashville/    (3) W & S LaPierre; Nader
 6/5/2017    6/7/2017    6/12/2017 Aviation, Inc.        I.I. & I.S. Travel   Nassau, Bahama/Washington          Tavangar                          $54,375.00        060717bROA   $54,375.00                          NYAG-00116279
                                                                              Air Transportation -
                                   Corporate America                          Washington/Nashville/
5/18/2017    6/7/2017    6/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                  $33,400.00        060717ROA    $33,400.00                          NYAG-00116280
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Dallas/    (4) W & S LaPierre; C & S
5/30/2017   6/14/2017    6/19/2017 Aviation, Inc.        I.I. & I.S. Travel   North Platte/Washington            Sterner                           $50,400.00        061417ROA    $50,400.00                          NYAG-00116281
                                                                              Air Transportation -
                                   Corporate America                          Washington/Teterboro/
 6/8/2017   6/20/2017    6/22/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                  $19,600.00        062017ROA    $19,600.00                          NYAG-00116282
                                                                              Air Transportation -
                                                                              Washington/Van
                                   Corporate America                          Nuys/Dallas/North Platte/
 6/6/2018   6/25/2018    6/29/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                         (5) W. LaPierre and guests        $86,730.00        062518ROA    $86,730.00                          NYAG-00116283
                                                                              Air Transportation -
                                   Corporate America                          Washington/Dallas/Van Nuys/                                                                                    Note: Replaces Invoice
6/14/2018   6/25/2018    6/27/2018 Aviation, Inc.        I.I. & I.S. Travel   North Platte/Washington            (3) W. LaPierre and guests        $69,475.00          062518-B   $69,475.00 #082518ROA               NYAG-00116284
                                                                              Air Transportation -                                                                                           Note: Replaces Invoice
                                   Corporate America                          Washington/Van Nuys/North                                                                                      #062518ROA and
6/16/2018   6/25/2018    6/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Platte/Washington                  (3) W. LaPierre and guests        $65,775.00          062518-B   $65,775.00 #062518-A                NYAG-00116285
                                                                              Air Transportation -
                                   Corporate America                          Washington/Van Nuys/
 6/6/2018   6/25/2018    6/29/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/North Platte/ Washington    (5) W. LaPierre and guests        $86,730.00        062518ROA    $86,730.00                          NYAG-00116286
                                                                              Air Transportation -
                                     Corporate America                        Washington/Dallas/North Platte/
5/30/2018   6/29/2018    6/30/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington                         (3) Wayne LaPierre, C&S Sterner   $40,980.00             62918   $40,980.00                          NYAG-00116287
                                     Corporate America                        Air Transportation -
 6/7/2017   6/30/2017     7/4/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Orlando/Washington      (6) W & S LaPierre and guests     $28,800.00        063017ROA    $28,800.00                          NYAG-00116288
                                     Corporate America                        Air Transportation -
6/28/2016    7/1/2016     7/1/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Atlanta/Orlando         (2) W. LaPierre and guests        $17,180.00        070116ROA    $17,180.00                          NYAG-00116289
                                     Corporate America                        Air Transportation -
 6/5/2018    7/1/2018     7/1/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Nassau, Bahamas         (5) W. LaPierre and guests        $22,350.00        070118ROA    $22,350.00                          NYAG-00116290
                                     Corporate America                        Air Transportation -
6/28/2016    7/4/2016     7/4/2016   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Washington                 (2) W&S LaPierre                  $19,300.00        070416ROA    $19,300.00                          NYAG-00116291
                                     Corporate America                        Air Transportation -
 6/5/2018    7/8/2018     7/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Nassau, Bahamas/Washington         (5) W. LaPierre and guests        $22,350.00        070818ROA    $22,350.00                          NYAG-00116292




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                                                                              Air Transportation -
                                   Corporate America                          Washington/Milwaukee/Kearney/
6/28/2016    7/9/2016    7/10/2016 Aviation, Inc.        I.I. & I.S. Travel   Nassau, Bahamas                 (5) W. LaPierre and guests            $37,850.00                070916ROA    $37,850.00                         NYAG-00116293
                                                                              Air Transportation -
                                   Corporate America                          Washington/Scottsdale/Fort
 6/8/2018   7/10/2018    7/14/2018 Aviation, Inc.        I.I. & I.S. Travel   Collins/North Platte/Washington (6) W. LaPierre and guests            $74,125.00                071018ROA    $74,125.00                         NYAG-00116294
                                   Corporate America                          Air Transportation -
5/16/2017   7/12/2017    7/16/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Seattle/Washington (2) W&S LaPierre                        $61,450.00                071217ROA    $61,450.00                         NYAG-00116295

                                                                              Air Transportation -
                                   Corporate America                          Nassau, Bahamas/Minneapolis/
6/28/2016   7/17/2016    7/18/2016 Aviation, Inc.        I.I. & I.S. Travel   Kearney/Minneapolis/Washington    (5) W. LaPierre and guests          $59,770.00                071716ROA    $59,770.00                         NYAG-00116296
                                                                              Air Transportation -
                                   Corporate America                          Washington/Aspen/Jackson/
 6/8/2019   7/21/2019    7/28/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W&S LaPierre                    $65,900.00                     72119   $65,900.00                         NYAG-00116297
                                   Corporate America                          Air Transportation -
7/11/2016   7/22/2016    7/22/2016 Aviation, Inc.        I.I. & I.S. Travel   Cleveland/Washington              (2) C & C Cox                        $8,990.00                072216ROA     $8,990.00                         NYAG-00116298
                                   Corporate America                          Air Transportation -
 7/6/2017   7/23/2017    7/25/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Aspen/Washington       (2) W&S LaPierre                    $48,300.00                072317ROA    $48,300.00                         NYAG-00116299
                                                                              Air Transportation -
                                                                              Washington/Springfield/
                                   Corporate America                          Oklahoma City/Kearney/
7/14/2016   8/11/2016    8/12/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (4) W. LaPierre and guests          $35,985.00                081116ROA    $35,985.00                         NYAG-00116300
                                   Corporate America                          Air Transportation -
 8/4/2017   8/19/2017    8/19/2017 Aviation, Inc.        I.I. & I.S. Travel   Currituck/Bristol/Washington      (2) W&S LaPierre                    $18,475.00                081917ROA    $18,475.00                         NYAG-00116301
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Dallas/
7/30/2017   8/20/2017    8/21/2017 Aviation, Inc.        I.I. & I.S. Travel   Charleston/Washington             (4) W. LaPierre and guests          $46,100.00   -$650.00    082017aROA    $45,450.00 Credit from Inv. 5452   NYAG-00116302
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Dallas/
8/15/2017   8/20/2017    8/21/2017 Aviation, Inc.        I.I. & I.S. Travel   Columbia/Washington               (4) W. LaPierre and guests          $46,100.00   -$650.00    082017bROA    $45,450.00 Credit from Inv. 5452   NYAG-00116303
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Dallas/
7/26/2017   8/20/2017    8/21/2017 Aviation, Inc.        I.I. & I.S. Travel   Nashville/Washington              (4) W. LaPierre and guests          $43,115.00   -$650.00     082017ROA    $42,465.00 Credit from Inv. 5452   NYAG-00116304
                                                                              Air Transportation -
                                   Corporate America                          Washington/Madison/Grand
7/27/2017   8/24/2017    8/25/2017 Aviation, Inc.        I.I. & I.S. Travel   Island                            (4) W. LaPierre and guests          $22,200.00                082417ROA    $22,200.00                         NYAG-00116305
                                   Corporate America                          Air Transportation -
7/27/2017   8/25/2017    8/25/2017 Aviation, Inc.        I.I. & I.S. Travel   Grand Island/Nassau, Bahamas      (4) W. LaPierre and guests          $20,500.00                082517ROA    $20,500.00                         NYAG-00116306
                                                                              Air Transportation -
                                   Corporate America                          Washington/Van Nuys/Kearney/
8/16/2016   8/29/2016     9/2/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (4) W. LaPierre and guests          $61,100.00                082916ROA    $61,100.00                         NYAG-00116307
                                   Corporate America                          Air Transportation -
 8/2/2017    9/4/2017     9/4/2017 Aviation, Inc.        I.I. & I.S. Travel   Nassau, Bahamas/Washington        (5) W. LaPierre and guests          $22,350.00               090417aROA    $22,350.00                         NYAG-00116308
                                                                              Air Transportation -
                                     Corporate America                        Washington/Grand Island/Dallas/
 8/2/2017    9/4/2017     9/6/2017   Aviation, Inc.      I.I. & I.S. Travel   Springfield                       (5) W. LaPierre and guests          $35,085.00               090417bROA    $35,085.00                         NYAG-00116309
                                     Corporate America                        Air Transportation -
 9/8/2016    9/9/2016    9/10/2016   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington/Dallas          (4) Christopher Loesch and guests   $28,100.00                090916ROA    $28,100.00                         NYAG-00116310
                                     Corporate America                        Air Transportation -              (3) W. LaPierre, T. Schropp, N.
8/15/2017    9/9/2017     9/9/2017   Aviation, Inc.      I.I. & I.S. Travel   Springfield/Washington            Tavangar                            $20,800.00                090917ROA    $20,800.00                         NYAG-00116311
                                     Corporate America                        Air Transportation -              (4) W. LaPierre, T. Schropp, C.
8/31/2016   9/10/2016    9/10/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Bristol/Washington     Kinney, W.B. Smith                  $14,580.00                091016ROA    $14,580.00                         NYAG-00116312
                                     Corporate America                        Air Transportation -              (3) W. LaPierre, T. Schropp, N.
 8/2/2017   9/10/2017    9/10/2017   Aviation, Inc.      I.I. & I.S. Travel   Springfield/Washington            Tavangar                            $16,200.00                091017ROA    $16,200.00                         NYAG-00116313
                                                                              Air Transportation -
                                   Corporate America                          Washington/Oklahoma City/
 9/7/2016   9/14/2016    9/17/2016 Aviation, Inc.        I.I. & I.S. Travel   Louisville/Washington             (2) W. LaPierre, T. Schropp         $35,550.00                091416ROA    $35,550.00                         NYAG-00116314
                                                                              Air Transportation -
                                   Corporate America                          Washington/Oklahoma City/
 9/8/2016   9/14/2016    9/16/2016 Aviation, Inc.        I.I. & I.S. Travel   Louisville/Washington             (2) W. LaPierre, T. Schropp         $34,300.00               091416bROA    $34,300.00                         NYAG-00116315
                                                                              Air Transportation -
                                   Corporate America                          Washington/Oklahoma City/
8/31/2016   9/14/2016    9/16/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W. LaPierre, T. Schropp         $31,750.00                091416ROA    $31,750.00                         NYAG-00116316
                                   Corporate America                          Air Transportation -
 9/5/2018   9/14/2018    9/14/2018 Aviation, Inc.        I.I. & I.S. Travel   Hot Springs/Houston               (2) Dean G. Cain                    $19,900.00                091418ROA    $19,900.00                         NYAG-00116317
                                                                              Air Transportation -
                                   Corporate America                          Washington/Portsmouth/
 8/9/2017   9/15/2017    9/17/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W&S LaPierre                    $25,700.00              091517-a-ROA   $25,700.00                         NYAG-00116318
                                   Corporate America                          Air Transportation -
8/16/2017   9/15/2017    9/17/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Sanford/Washington     (2) W&S LaPierre                    $26,400.00              091517-b-ROA   $26,400.00                         NYAG-00116319
                                                                              Air Transportation -
                                   Corporate America                          Washington/Portsmouth/
 8/8/2017   9/15/2017    9/17/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W&S LaPierre                    $26,920.00                091517ROA    $26,920.00                         NYAG-00116320
                                                                              Air Transportation -
                                   Corporate America                          Washington/Van Nuys/Santa Fe/
9/10/2015   9/17/2015    9/24/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W. LaPierre and guests          $79,500.00                091715ROA    $79,500.00                         NYAG-00116321




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                                                                             Air Transportation -
                                                                             Washington/Dallas/Kearney/
                                    Corporate America                        Dallas/Scottsdale/Denver/Dallas/   (4) W & S LaPierre, N. Tavangar,
9/14/2016   9/19/2016     9/26/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                         A. Makris                           $81,885.00                   091916ROA    $81,885.00                     NYAG-00116322
                                                                             Air Transportation -
                                    Corporate America                        Washington/Kearney/Dallas/         (4) W & S LaPierre, N. Tavangar,
 9/7/2016   9/19/2016     9/25/2016 Aviation, Inc.      I.I. & I.S. Travel   Scottsdale/Denver/Washington       A. Makris                           $69,900.00                   091916ROA    $69,900.00                     NYAG-00116323
                                    Corporate America                        Air Transportation -               (3) W. LaPierre, N. Tavangar, A.
8/31/2016   9/19/2016     9/21/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Washington       Makris                              $32,235.00                   091916ROA    $32,235.00                     NYAG-00116324
                                                                             Air Transportation -
                                                                             Washington/Baton Rouge/Dallas/
                                    Corporate America                        Springfield/Dallas/Kearney/
 9/7/2017   9/19/2017     9/24/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (6) W. LaPierre and guests          $56,525.00                 091917-aROA    $56,525.00                     NYAG-00116325
                                    Corporate America                        Air Transportation -
8/18/2017   9/19/2017     9/19/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/New Orleans/Dallas      (3) W&S LaPierre; T. Schropp        $30,300.00                   091917ROA    $30,300.00                     NYAG-00116326
                                    Corporate America                        Air Transportation -               (2) Colleen Warwick-Sterner,
9/14/2017   9/19/2017     9/19/2017 Aviation, Inc.      I.I. & I.S. Travel   North Platte/Dallas                Sienna Sterner                      $13,825.00                   091917ROA    $13,825.00                     NYAG-00116327
                                    Corporate America                        Air Transportation -
9/13/2017   9/20/2017     9/20/2017 Aviation, Inc.      I.I. & I.S. Travel   Springfield/Dallas                 (4) W. LaPierre and guests           $9,500.00                 092017-c-ROA    $9,500.00                     NYAG-00116328
                                    Corporate America                        Air Transportation -
9/12/2017   9/20/2017     9/21/2017 Aviation, Inc.      I.I. & I.S. Travel   Baltimore/Springfield/Baltimore    (2) Kreh, Azato                     $21,300.00                   092017ROA    $21,300.00                     NYAG-00116329
                                                                             Air Transportation -
                                    Corporate America                        Washington/Jackson/San             (4) W & S LaPierre, C. Kinney, T.
8/24/2019   9/24/2019     9/29/2019 Aviation, Inc.      I.I. & I.S. Travel   Antonio/Washington                 Schropp                             $48,400.00                        92419   $48,400.00                     NYAG-00116330
                                                                             Air Transportation -
                                    Corporate America                        Washington/Sanford/Albany/
9/10/2015   9/25/2015     9/30/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                    $18,835.00                   092515ROA    $18,835.00                     NYAG-00116331
                                    Corporate America                        Air Transportation -
8/18/2017   9/25/2017     9/25/2017 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                  (3) W & S LaPierre; T. Schropp      $27,000.00                   092517ROA    $27,000.00                     NYAG-00116332
                                                                             Air Transportation -
                                    Corporate America                        Washington/Jackson/Washington/
9/19/2019   9/25/2019     9/29/2019 Aviation, Inc.      I.I. & I.S. Travel   San Antonio/Washington             (3) W & S LaPierre; C. Kinney       $58,800.00   -$48,400.00          92519   $10,400.00 Credit on Account   NYAG-00116333
                                                                             Air Transportation -
                                    Corporate America                        Washington/Van Nuys/Pierre/                                                                                                                     NYAG-00116334
9/21/2018   9/26/2018     10/2/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                    $86,220.00                        92618   $86,220.00                     NYAG-00116335
                                                                             Air Transportation -
                                                                             Washington/Williston/Salt Lake
                                    Corporate America                        City/Lewistown/Van Nuys/
9/15/2017   9/28/2017     10/4/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (4) W & S LaPierre and guests       $80,850.00                   092817ROA    $80,850.00                     NYAG-00116336

                                                                             Air Transportation -
                                    Corporate America                        Washington/Williston/Provo/
8/23/2017   9/28/2017     10/3/2017 Aviation, Inc.      I.I. & I.S. Travel   Lewistown/Van Nuys/Washington      (4) W & S LaPierre and guests       $80,050.00                   092817ROA    $80,050.00                     NYAG-00116337
                                    Corporate America                        Air Transportation -               (3) Dana Loesch, Christopher
9/26/2017   9/29/2017     9/29/2017 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Provo/Dallas                Loesch, Lacey Duffy                 $28,075.00                 092917-a-ROA   $28,075.00                     NYAG-00116338
                                    Corporate America                        Air Transportation -               (2) Dana Loesch, Lacey Duffy
9/19/2017   9/29/2017     9/29/2017 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Provo/Dallas                Sterner                             $26,725.00                   092917ROA    $26,725.00                     NYAG-00116339
                                                                             Air Transportation -
                                    Corporate America                        Washington/Jacksonville/           (2) Susan LaPierre, Nader
9/21/2016   9/30/2016     9/30/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                         Tavangar                            $17,150.00                   093016ROA    $17,150.00                     NYAG-00116340
                                                                             Air Transportation -
                                                                             Washington/Jacksonville/West
                                    Corporate America                        Palm Beach/Jacksonville/
9/16/2016   9/30/2016     9/30/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                    $24,125.00                   093016ROA    $24,125.00                     NYAG-00116341
                                                                             Air Transportation -
                                    Corporate America                        Washington/Charlotte/              (2) Wayne LaPierre, Joshua
9/21/2018   10/3/2018     10/4/2018 Aviation, Inc.      I.I. & I.S. Travel   Martinsburg                        Powell                              $18,610.00                      1003-18   $18,610.00                     NYAG-00116342
                                                                             Air Transportation -
                                    Corporate America                        Washington/Charlotte/Washingto     (2) Wayne LaPierre, Joshua
9/21/2018   10/3/2018     10/4/2018 Aviation, Inc.      I.I. & I.S. Travel   n                                  Powell                              $16,100.00                       100318   $16,100.00                     NYAG-00116343
                                                                             Air Transportation -
                                    Corporate America                        Washington/Charlotte/              (2) Wayne LaPierre, Joshua
9/21/2018   10/3/2018     10/4/2018 Aviation, Inc.      I.I. & I.S. Travel   Martinsburg                        Powell                              $16,100.00                       100318   $16,100.00                     NYAG-00116344
                                                                             Air Transportation -
                                    Corporate America                        Washington/Lincoln/Pueblo/
9/25/2019   10/3/2019     10/6/2019 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (3) W & S LaPierre; C. Kinney       $48,050.00                       100319   $48,050.00                     NYAG-00116345
                                    Corporate America                        Air Transportation -
7/31/2017   10/5/2017     10/5/2017 Aviation, Inc.      I.I. & I.S. Travel   Minneapolis/Pierre                 (2) C. Cox, D. Lehman                $7,085.00                   100517ROA     $7,085.00                     NYAG-00116346
                                                                             Air Transportation -
                                    Corporate America                        Dallas/Wichita/Kearney/Madison
10/4/2017   10/6/2017     10/9/2017 Aviation, Inc.      I.I. & I.S. Travel   /Pierre/Washington                 (4) W. LaPierre and guests          $59,600.00                   100617ROA    $59,600.00                     NYAG-00116347
                                                                             Air Transportation -
                                                                             Washington/Kearney/Colorado
                                                                             Springs/Omaha/Colorado
                                    Corporate America                        Springs/Kearney/Pierre/
10/7/2015   10/7/2015    10/13/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (4) W. LaPierre and guests          $79,135.00                   100715ROA    $79,135.00                     NYAG-00116348




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                                                                               Air Transportation -
                                      Corporate America                        Washington/Madison/Pierre/           (3) W & S LaPierre; Christopher
 9/25/2017    10/8/2017     10/9/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                           Cox                                $36,185.00       100817ROA    $36,185.00                          NYAG-00116349
                                      Corporate America                        Air Transportation -
 10/3/2015    10/9/2015     10/9/2015 Aviation, Inc.      I.I. & I.S. Travel   Laramie/Colorado Springs             (4) D. Cheney and guests           $13,440.00       100915ROA    $13,440.00                          NYAG-00116350
                                                                               Air Transportation -
                                      Corporate America                        Washington/Lexington/                (4) W. LaPierre, C. Cox, D.
 9/25/2017   10/11/2017    10/11/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                           Lehman, T. Schropp                 $13,865.00       101117ROA    $13,865.00                          NYAG-00116351
                                                                               Air Transportation -
                                      Corporate America                        Washington/Lexington/
 9/26/2016   10/12/2016    10/12/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (tba) W. LaPierre and guests       $10,595.00       101216ROA    $10,595.00                          NYAG-00116352
                                                                               Air Transportation -
                                      Corporate America                        Washington/Lexington/
 10/4/2016   10/12/2016    10/12/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (4) W. LaPierre and guests         $13,350.00       101216ROA    $13,350.00                          NYAG-00116353
                                                                               Air Transportation -
                                                                               Washington/North Platte/
                                                                               Flagstaff/Scottsdale/Burbank/
                                      Corporate America                        Scottsdale/North Platte/
 10/9/2017   10/12/2017    10/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (6) W. LaPierre and guests         $73,270.00   101217-a-ROA     $73,270.00                          NYAG-00116354
                                                                               Air Transportation -
                                                                               Washington/North Platte/
                                      Corporate America                        Flagstaff/Scottsdale/North Platte/
 9/26/2017   10/12/2017    10/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (5) W. LaPierre and guests         $62,550.00       101217ROA    $62,550.00                          NYAG-00116355
                                                                               Air Transportation -
                                      Corporate America                        Washington/Thermal/Kearney/
 10/6/2016   10/13/2016    10/21/2016 Aviation, Inc.      I.I. & I.S. Travel   Madison/Washington                   (2) W&S LaPierre                   $83,785.00       101316ROA    $83,785.00                          NYAG-00116356
                                                                               Air Transportation -
                                      Corporate America                        Washington/Thermal/Kearney/
 9/27/2016   10/13/2016    10/19/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (2) W&S LaPierre                   $69,250.00       101316ROA    $69,250.00                          NYAG-00116357
                                                                               Air Transportation -
                                      Corporate America                        Washington/Charleston/Manassas
10/15/2015   10/16/2015    10/17/2015 Aviation, Inc.      I.I. & I.S. Travel   /Charleston                          (2) W&S LaPierre                   $24,300.00       101615ROA    $24,300.00                          NYAG-00116358
                                                                               Air Transportation -
                                      Corporate America                        Washington/Chicago/Nashville/
10/11/2017   10/17/2017    10/19/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (4) W. LaPierre and guests         $31,400.00       101717ROA    $31,400.00                          NYAG-00116359
                                                                               Air Transportation -
                                                                               Washington/Charleston/
                                                                               Springfield/Kearney/Springfield/
                                      Corporate America                        Nashville/Memphis/Nashville/
10/15/2015   10/19/2015    10/22/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (6) W. LaPierre and guests         $66,800.00       101915ROA    $66,800.00                          NYAG-00116360
                                      Corporate America                        Air Transportation -
 9/26/2018   10/19/2018    10/21/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Merced/Washington         (2) W&S LaPierre                   $68,715.00          101918    $68,715.00                          NYAG-00116361
                                                                               Air Transportation -
                                      Corporate America                        Washington/Wilmington/
10/20/2017   10/24/2017    10/24/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (2) C. Cox, D. Lehman              $14,500.00       102417ROA    $14,500.00                          NYAG-00116362
                                                                               Air Transportation -
                                      Corporate America                        Washington/New Orleans/San
10/27/2015   10/27/2015    10/30/2015 Aviation, Inc.      I.I. & I.S. Travel   Antonio/Midland/Washington           (4-5) W. LaPierre and guests       $56,100.00       102715ROA    $56,100.00                          NYAG-00116363
                                                                               Air Transportation -
                                      Corporate America                        Washington/New Orleans/
10/15/2015   10/27/2015    10/30/2015 Aviation, Inc.      I.I. & I.S. Travel   Midland/Washington                   (6) W. LaPierre and guests         $52,700.00       102715ROA    $52,700.00                          NYAG-00116364
                                                                               Air Transportation -
                                      Corporate America                        Washington/North Platte/Dallas/      (5) W&S LaPierre, Tyler Schropp;
10/12/2018    11/1/2018     11/5/2018 Aviation, Inc.      I.I. & I.S. Travel   North Platte/Washington              Colleen & Sienna Sterner           $54,290.00          110118    $54,290.00                          NYAG-00116365
                                                                               Air Transportation -
                                      Corporate America                        Washington/North Platte/Dallas/      (5) W&S LaPierre, Tyler Schropp;
10/23/2018    11/2/2018     11/5/2018 Aviation, Inc.      I.I. & I.S. Travel   North Platte/Washington              Colleen & Sienna Sterner           $59,790.00          1102-18   $59,790.00                          NYAG-00116366
                                                                               Air Transportation -
                                                                               Washington/Dallas/Kearney/
                                      Corporate America                        Dallas/Kearney/Dallas/
10/25/2016    11/2/2016     11/7/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (4) W. LaPierre and guests         $62,580.00       110216ROA    $62,580.00                          NYAG-00116367
                                                                               Air Transportation -
                                                                               Washington/Dallas/San Antonio/
                                      Corporate America                        Dallas/Kearney/Dallas/Kearney/
 10/7/2016    11/2/2016     11/7/2016 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                    (5) W. LaPierre and guests         $74,250.00       110216ROA    $74,250.00                          NYAG-00116368
                                                                               Air Transportation -
                                      Corporate America                        Washington/North Platte/Dallas/
10/22/2017    11/2/2017     11/7/2017 Aviation, Inc.      I.I. & I.S. Travel   North Platte/Washington              (2-6) W. LaPierre and guests       $55,400.00       110217ROA    $55,400.00                          NYAG-00116369
                                                                               Air Transportation -
                                      Corporate America                        Washington/North Platte/Dallas/      (5) W&S LaPierre, Tyler Schropp;                                            Note: Replaces Invoice
10/23/2018    11/2/2018     11/5/2018 Aviation, Inc.      I.I. & I.S. Travel   North Platte/Washington              Colleen & Sienna Sterner           $53,160.00          110218    $53,160.00 #110118                  NYAG-00116370
                                                                               Air Transportation -
                                      Corporate America                        Washington/North Platte/Dallas/
10/29/2017    11/4/2017     11/7/2017 Aviation, Inc.      I.I. & I.S. Travel   North Platte/Washington              (2-6) W. LaPierre and guests       $52,300.00       110417ROA    $52,300.00                          NYAG-00116371
                                                                               Air Transportation -
                                      Corporate America                        Washington/Orlando/Austin/
10/29/2017   11/11/2017    11/16/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                           (3) W & S LaPierre; T. Schropp     $55,300.00   111117-a-ROA     $55,300.00                          NYAG-00116372




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                                                                               Air Transportation -
                                      Corporate America                        Washington/Orlando/Austin/
10/27/2017   11/11/2017    11/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (3) W & S LaPierre; T. Schropp   $49,175.00         111117ROA    $49,175.00   NYAG-00116373
                                                                               Air Transportation -
                                      Corporate America                        Washington/Tulsa/Austin/           (2) Wayne LaPierre, Anthony
 11/2/2016   11/12/2016    11/15/2016 Aviation, Inc.      I.I. & I.S. Travel   Orlando/Savannah/Washington        Makris                           $49,500.00         111216ROA    $49,500.00   NYAG-00116374
                                                                               Air Transportation -
                                      Corporate America                        Washington/Las Vegas/Van
11/11/2015   11/17/2015    11/20/2015 Aviation, Inc.      I.I. & I.S. Travel   Nuys/Washington                    (1) W. LaPierre                  $70,450.00     11172015ROA      $70,450.00   NYAG-00116375
                                                                               Air Transportation -
                                      Corporate America                        Washington/Las Vegas/Van
11/11/2015   11/17/2015    11/20/2015 Aviation, Inc.      I.I. & I.S. Travel   Nuys/Washington                    (1) W. LaPierre                  $72,500.00     11172015ROA      $72,500.00   NYAG-00116376
                                                                               Air Transportation -
                                      Corporate America                        Washington/Nashville/              (3) Wayne LaPierre, Anthony
11/23/2016   11/30/2016    11/30/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                         Makris, Vanessa Shahidi          $21,715.00         113016ROA    $21,715.00   NYAG-00116377
                                                                               Air Transportation -
                                      Corporate America                        Washington/Teterboro/
11/17/2017    12/1/2017     12/3/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                 $18,650.00         120117aROA   $18,650.00   NYAG-00116378
                                                                               Air Transportation -
                                      Corporate America                        Washington/Teterboro/Colorado
10/31/2017    12/1/2017     12/5/2017 Aviation, Inc.      I.I. & I.S. Travel   Springs/Washington                 (2) W&S LaPierre                 $53,850.00         120117ROA    $53,850.00   NYAG-00116379
                                      Corporate America                        Air Transportation -
11/28/2017    12/4/2017     12/4/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/Raleigh/Washington      (2) C. Cox, D. Lehman            $10,800.00         120417ROA    $10,800.00   NYAG-00116380
                                                                               Air Transportation -
                                      Corporate America                        Washington/Dallas/Washington/      (3) Wayne LaPierre, Anthony
11/28/2016    12/6/2016     12/8/2016 Aviation, Inc.      I.I. & I.S. Travel   Teterboro                          Makris; Susan LaPierre           $37,700.00         120616ROA    $37,700.00   NYAG-00116381
                                      Corporate America                        Air Transportation -
11/28/2016   12/11/2016    12/11/2016 Aviation, Inc.      I.I. & I.S. Travel   Teterboro/Washington               (2) Wayne & Susan LaPierre       $12,535.00         121116ROA    $12,535.00   NYAG-00116382
                                                                               Air Transportation -
                                      Corporate America                        Washington/Scottsdale/
11/29/2017   12/14/2017    12/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (2) W. LaPierre, T. Schropp      $50,400.00         121417ROA    $50,400.00   NYAG-00116383
                                                                               Air Transportation -
                                      Corporate America                        Washington/North                   (4) W & S LaPierre, C & S
 12/6/2017   12/21/2017    12/21/2017 Aviation, Inc.      I.I. & I.S. Travel   Platte/Colorado Springs            Sterner                          $38,285.00         122117ROA    $38,285.00   NYAG-00116384
                                                                               Air Transportation -
                                      Corporate America                        Washington/Colorado Springs/
11/26/2018   12/21/2018    12/27/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (2) W&S LaPierre                 $56,310.00             122118   $56,310.00   NYAG-00116385
                                      Corporate America                        Air Transportation -
 12/6/2017   12/22/2017    12/22/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/Colorado Springs        (2) W&S LaPierre                 $36,875.00         122217ROA    $36,875.00   NYAG-00116386
                                                                               Air Transportation -
                                      Corporate America                        Washington/North                   (4) Wayne & Susan LaPierre;
12/19/2016   12/23/2016    12/23/2016 Aviation, Inc.      I.I. & I.S. Travel   Platte/Colorado Springs            Colleen & Sienna Sterner         $31,000.00         122316ROA    $31,000.00   NYAG-00116387
                                                                               Air Transportation -
                                      Corporate America                        Washington/Kearney/Colorado        (4) Wayne & Susan LaPierre;
 12/5/2016   12/23/2016    12/23/2016 Aviation, Inc.      I.I. & I.S. Travel   Springs                            Colleen & Sienna Sterner         $30,750.00         122316ROA    $30,750.00   NYAG-00116388
                                                                               Air Transportation -
                                      Corporate America                        Colorado Springs/North Platte/N.   (4) W & S LaPierre, C & S
 12/8/2017   12/26/2017    12/26/2017 Aviation, Inc.      I.I. & I.S. Travel   Eleuthera, Bahamas                 Sterner                          $41,685.00     122617-a-ROA     $41,685.00   NYAG-00116389
                                                                               Air Transportation -
                                      Corporate America                        Colorado Springs/N. Eleuthera,
12/14/2017   12/26/2017    12/26/2017 Aviation, Inc.      I.I. & I.S. Travel   Bahamas                            (2) W&S LaPierre                 $35,400.00     122617-b-ROA     $35,400.00   NYAG-00116390
                                                                               Air Transportation -
                                      Corporate America                        Colorado Springs/North Platte/     (4) W & S LaPierre, C & S
 12/6/2017   12/26/2017    12/26/2017 Aviation, Inc.      I.I. & I.S. Travel   Nassau, Bahamas                    Sterner                          $41,185.00         122617ROA    $41,185.00   NYAG-00116391
                                                                               Air Transportation -
                                      Corporate America                        Colorado Springs/N. Eleuthera,
 12/5/2016   12/27/2016    12/27/2016 Aviation, Inc.      I.I. & I.S. Travel   Bahamas                            (2) Wayne & Susan LaPierre       $28,650.00         122716ROA    $28,650.00   NYAG-00116392
                                                                               Air Transportation -
                                      Corporate America                        Colorado Springs/Nassau,
 12/6/2017   12/27/2017    12/27/2017 Aviation, Inc.      I.I. & I.S. Travel   Bahamas                            (5) W & S LaPierre and guests    $46,615.00         122717ROA    $46,615.00   NYAG-00116393
                                                                               Air Transportation -
                                      Corporate America                        Washington/N. Eleuthera,
12/15/2015   12/29/2015    12/29/2015 Aviation, Inc.      I.I. & I.S. Travel   Bahamas                            (2) W&S LaPierre                 $18,900.00         122915ROA    $18,900.00   NYAG-00116394
                                                                               Air Transportation -
                                      Corporate America                        Nashville/Baton Rouge/
12/15/2015   12/30/2015    12/30/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (1) Christopher Cox              $20,985.00         123015ROA    $20,985.00   NYAG-00116395
                                                                               Air Transportation -
                                      Corporate America                        Washington/Dallas/Charlotte/
 5/29/2015    5/18/2015     5/20/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington                         (4) W. LaPierre and guests       $41,819.10               5233   $41,819.10   NYAG-00116396

                                      Corporate America                        Air Transportation -
 5/28/2015    5/24/2015     5/24/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington/Concord/Washington (3) W. LaPierre and guests            $10,866.00               5235   $10,866.00   NYAG-00116397
                                                                               Air Transportation -
                                      Corporate America                        Washington/Van Nuys/
  6/1/2015    5/26/2015     5/30/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington                    (2) W. LaPierre and guests            $65,468.88               5236   $65,468.88   NYAG-00116398
                                      Corporate America                        Air Transportation -
 5/27/2015    5/31/2015     5/31/2015 Aviation, Inc.      I.I. & I.S. Travel   Halifax/Teterboro             (2) T. Selleck, D. Muntz              $15,095.00               5237   $15,095.00   NYAG-00116399




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                                      Corporate America                          Air Transportation -
 6/11/2015     6/2/2015      6/7/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Victoria, BC           (2) W&S LaPierre                 $68,040.84             5238   $68,040.84                            NYAG-00116400
                                      Corporate America                          Air Transportation -
 6/11/2015    6/10/2015     6/10/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Nashville              (2) W&S LaPierre                 $12,282.77             5240   $12,282.77                            NYAG-00116401
                                      Corporate America                          Air Transportation -
 6/15/2015    6/14/2015     6/14/2015 Aviation, Inc.        I.I. & I.S. Travel   Nashville/Washington              (2) W&S LaPierre                 $12,476.46             5241   $12,476.46                            NYAG-00116402
                                                                                 Air Transportation -
                                      Corporate America                          Washington/St. Louis/Colorado
 6/18/2015    6/16/2015     6/17/2015 Aviation, Inc.        I.I. & I.S. Travel   Springs                           (1) S. LaPierre                  $24,620.00             5243   $24,620.00                            NYAG-00116403
                                                                                 Air Transportation -
                                      Corporate America                          Washington/St. Louis/Colorado
 6/18/2015    6/16/2015     6/17/2015 Aviation, Inc.        I.I. & I.S. Travel   Springs                           (1) S. LaPierre                  $24,624.75             5243   $24,624.75 "Original" Invoice         NYAG-00116404
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Colorado Springs/
 6/18/2015    6/17/2015     6/19/2015 Aviation, Inc.        I.I. & I.S. Travel   Grand Island/Washington           (5) W. LaPierre and guests       $43,650.73             5244   $43,650.73                            NYAG-00116405
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Nassau, Bahamas/       (5 out/4 back) W. LaPierre and
 6/29/2015    6/20/2015     6/27/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington                        guests                           $34,786.18             5245   $34,786.18                            NYAG-00116406
                                      Corporate America                          Air Transportation -
 8/24/2015    8/22/2015     8/22/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Bristol/Washington     (2) W. LaPierre, N. Tavangar     $11,295.00             5260   $11,295.00                            NYAG-00116407
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Charlotte/Washingto
 9/15/2015    9/14/2015     9/14/2015 Aviation, Inc.        I.I. & I.S. Travel   n                                 (3) W. LaPierre and guests       $11,800.00             5262   $11,800.00                            NYAG-00116408
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Van Nuys/Santa Fe/
 9/29/2015    9/17/2015     9/25/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Sanford                (2) W. LaPierre and guests       $82,366.13             5263   $82,366.13                            NYAG-00116409
                                      Corporate America                          Air Transportation -              (3) C. Cox, D. Lehman, R.
 9/24/2015    9/23/2015     9/23/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Reading/Washington     Weaver                            $5,218.00             5264    $5,218.00                            NYAG-00116410
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Sanford/Albany/
 9/30/2015    9/25/2015     9/29/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W&S LaPierre                 $18,835.00             5265   $18,835.00                            NYAG-00116411
                                      Corporate America                          Air Transportation -
 9/30/2015    9/29/2015     9/29/2015 Aviation, Inc.        I.I. & I.S. Travel   Albany/Washington                 (2) W&S LaPierre                  $9,300.00             5265    $9,300.00                            NYAG-00116412

                                                                                 Air Transportation -
                                                                                 Washington/Kearney/Colorado
                                      Corporate America                          Springs/Omaha/Colorado Springs/
10/15/2015    10/7/2015    10/13/2015 Aviation, Inc.        I.I. & I.S. Travel   Kearney/Pierre/Washington         (4) W. LaPierre and guests       $78,523.10             5267   $78,523.10                            NYAG-00116413
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Lexington/Washingto
10/16/2015   10/14/2015    10/14/2015 Aviation, Inc.        I.I. & I.S. Travel   n                                 (3) LaPierre, Lehman, Weaver     $10,725.00             5270   $10,725.00                            NYAG-00116414
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Charleston/Manassas
10/20/2015   10/16/2015    10/17/2015 Aviation, Inc.        I.I. & I.S. Travel   / Charleston                      (2) W&S LaPierre                 $24,236.45             5271   $24,236.45                            NYAG-00116415
                                                                                 Air Transportation -
                                      Corporate America                          Washington/New Orleans/San
 11/3/2015   10/27/2015    10/29/2015 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Midland/Washington        (5) W. LaPierre and guests       $54,624.92             5274   $54,624.92                            NYAG-00116417
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Dallas/Grand Island/
11/12/2015    11/5/2015    11/10/2015 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington                 (5) W. LaPierre and guests       $65,380.17             5275   $65,380.17                            NYAG-00116418
                                                                                 Air Transportation -                                                                                        Credit for Inv. 5275 -
                                      Corporate America                          Washington/Starkville/Washingto                                                                             Overpayment Received on
11/16/2015   11/14/2015    11/14/2015 Aviation, Inc.        I.I. & I.S. Travel   n                                 (3) W. LaPierre and guests       $26,813.74   -$4.83    5278   $26,808.91 11/04/15                   NYAG-00116419
                                                                                 Air Transportation -                                                                                        Note: Oklahoma City was
                                      Corporate America                          Washington/Las Vegas/Van                                                                                    not part of the original
11/24/2015   11/17/2015    11/20/2015 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Oklahoma City/Washington     (1) W. LaPierre                  $73,686.68             5280   $73,686.68 itinerary                  NYAG-00116420
                                                                                 Air Transportation -
                                      Corporate America                          Washington/New York/
12/15/2015   12/10/2015    12/13/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W&S LaPierre                 $18,500.00             5289   $18,500.00                            NYAG-00116421
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Statesville/
12/15/2015   12/11/2015    12/11/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) C. Cox, R. Weaver            $11,409.38             5290   $11,409.38                            NYAG-00116422
                                                                                 Air Transportation -
                                        Corporate America                        Washington/Denver/Grand Island/
  6/1/2016    5/26/2016     5/27/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington                        (5) W. LaPierre and guests       $41,184.92             5332   $41,184.92                            NYAG-00116423
                                        Corporate America                        Air Transportation -
 6/10/2016     6/9/2016      6/9/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Nashville              (1) S. LaPierre                  $13,064.00             5335   $13,064.00                            NYAG-00116424
                                        Corporate America                        Air Transportation -                                                                                                                   NYAG-00116425
 6/15/2016    6/10/2016     6/10/2016   Aviation, Inc.      I.I. & I.S. Travel   Nashville/Washington/Nashville    (2) W. LaPierre and guests       $21,334.40             5336   $21,334.40                            NYAG-00116426
                                        Corporate America                        Air Transportation -
 6/21/2016    6/13/2016     6/17/2016   Aviation, Inc.      I.I. & I.S. Travel   Nashville/Dallas/Washington       (4) W. LaPierre and guests       $47,704.26             5338   $47,704.26                            NYAG-00116427
                                        Corporate America                        Air Transportation -
 6/21/2016    6/20/2016     6/20/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Hartford/Washington    (3) C. Cox and guests            $11,879.28             5339   $11,879.28                            NYAG-00116428
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Kearney/Alpine/
 6/28/2016    6/24/2016     6/26/2016 Aviation, Inc.        I.I. & I.S. Travel   Kearney/Washington/Savannah       (3) W. LaPierre and guests       $60,576.74             5340   $60,576.74                            NYAG-00116429
                                      Corporate America                          Air Transportation -
  7/6/2016     7/1/2016      7/1/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Atlanta/Orlando        (2) W. LaPierre and guest        $16,930.00             5341   $16,930.00                            NYAG-00116430




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                                      Corporate America                          Air Transportation -
  7/6/2016     7/4/2016      7/4/2016 Aviation, Inc.        I.I. & I.S. Travel   Orlando/Washington                (2) W&S LaPierre                   $19,264.03               5342   $19,264.03                                NYAG-00116431
                                                                                 Air Transportation -                                                                                            Credit from Inv. 5342:
                                      Corporate America                          Washington/Jackson Hole/                                                                                        $35.97 and Credit from
  7/7/2016     7/5/2016      7/6/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) W. LaPierre and guest          $49,449.03    -$84.24    5343   $49,364.79 Inv. 5322: $48.27              NYAG-00116432
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Milwaukee/Kearney/
 7/14/2016     7/9/2016     7/10/2016 Aviation, Inc.        I.I. & I.S. Travel   Nassau                            (5) W. LaPierre and guests         $37,613.49               5344   $37,613.49                                NYAG-00116433
                                                                                 Air Transportation -
                                      Corporate America                          Nassau/Minneapolis/Kearney/
 7/22/2016    7/17/2016     7/18/2016 Aviation, Inc.        I.I. & I.S. Travel   Minneapolis/Washington            (5) W. LaPierre and guests         $60,330.01   -$236.51    5345   $60,093.50 Credit from Inv. 5344          NYAG-00116434
                                      Corporate America                          Air Transportation -
 7/22/2016    7/21/2016     7/21/2016 Aviation, Inc.        I.I. & I.S. Travel   Cleveland/Washington              (4) C. Cox and guests               $8,898.00               5346    $8,898.00                                NYAG-00116435
                                                                                 Air Transportation -
                                        Corporate America                        Washington/Springfield/Oklahom
 8/15/2016    8/11/2016     8/12/2016   Aviation, Inc.      I.I. & I.S. Travel   a City/Kearney/Washington         (3) W. LaPierre and guests         $36,194.91               5352   $36,194.91                                NYAG-00116436
                                        Corporate America                        Air Transportation -
 8/15/2016    8/11/2016     8/11/2016   Aviation, Inc.      I.I. & I.S. Travel   Cape Girardeau/Washington         (2) C. Cox, D. Lehman              $14,200.93               5353   $14,200.93                                NYAG-00116437
                                        Corporate America                        Air Transportation -
 8/15/2016    8/11/2016     8/11/2016   Aviation, Inc.      I.I. & I.S. Travel   Cape Girardeau/Oklahoma City      (1) W. LaPierre                    $13,812.97               5354   $13,812.97                                NYAG-00116438
                                        Corporate America                        Air Transportation -
 8/22/2016    8/20/2016     8/20/2016   Aviation, Inc.      I.I. & I.S. Travel   Currituck/Bristol                 (3) W. LaPierre and guests          $7,945.00               5357    $7,945.00                                NYAG-00116439
                                        Corporate America                        Air Transportation -
 8/22/2016    8/20/2016     8/20/2016   Aviation, Inc.      I.I. & I.S. Travel   Bristol/Washington                (3) W. LaPierre and guests         $12,750.00               5358   $12,750.00                                NYAG-00116440
                                        Corporate America                        Air Transportation -
 8/22/2016    8/21/2016     8/21/2016   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Kearney                    (2) C & S Sterner                  $11,435.00               5359   $11,435.00                                NYAG-00116441

                                                                                 Air Transportation -
                                      Corporate America                          Washington/Van Nuys/Scottsdale/                                                                                 Note: Scottsdale not part of
  9/6/2016    8/29/2016      9/2/2016 Aviation, Inc.        I.I. & I.S. Travel   Van Nuys/Kearney/Washington       (3) W. LaPierre and guests         $72,148.00               5360   $72,148.00 original quoted itinerary.     NYAG-00116442
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Oklahoma City/
  9/8/2016    9/14/2016     9/16/2016 Aviation, Inc.        I.I. & I.S. Travel   Louisville/Washington             (2) W. LaPierre, T. Schropp        $34,564.57               5363   $34,564.57                                NYAG-00116443
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Brunswick/
 9/20/2016    9/16/2016     9/18/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                        (2) Wayne & Susan LaPierre         $26,450.00               5364   $26,450.00                                NYAG-00116444
                                                                                 Air Transportation -
                                                                                 Washington/Dallas/Kearney/
                                      Corporate America                          Dallas/Scottsdale/North           (4) W & S LaPierre, N. Tavangar,
 9/20/2016    9/19/2016     9/26/2016 Aviation, Inc.        I.I. & I.S. Travel   Platte/Denver/Dallas/New York     A. Makris                          $85,860.00               5366   $85,860.00                                NYAG-00116445
                                                                                 Air Transportation -
                                                                                 Washington/Dallas/Kearney/
                                      Corporate America                          Dallas/Scottsdale/North           (4) W & S LaPierre, N. Tavangar,                                              Credit from Inv. 5371
 10/7/2016    9/19/2016     9/26/2016 Aviation, Inc.        I.I. & I.S. Travel   Platte/Denver/Dallas/New York     A. Makris                          $86,380.99    -$67.81    5366   $86,313.18 "Original" Invoice             NYAG-00116446
                                      Corporate America                          Air Transportation -
 9/27/2016    9/28/2016     9/28/2016 Aviation, Inc.        I.I. & I.S. Travel   Teteboro/Washington               (2) Wayne & Susan LaPierre          $8,050.00               5369    $8,050.00                                NYAG-00116447
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Jacksonville/          (2) Susan LaPierre, Nader
 10/5/2016    9/30/2016     9/30/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                        Tavangar                           $17,082.19               5371   $17,082.19                                NYAG-00116448
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Dallas/Van Nuys/       (2) Wayne LaPierre, Nader
10/14/2016    10/5/2016     10/9/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                        Tavangar                           $64,070.26               5372   $64,070.26                                NYAG-00116449
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Lexington/Washingto
10/14/2016   10/12/2016    10/12/2016 Aviation, Inc.        I.I. & I.S. Travel   n                                 (4) W. LaPierre and guests         $13,350.00               5374   $13,350.00                                NYAG-00116450
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Thermal/Kearney/
10/26/2016   10/13/2016    10/21/2016 Aviation, Inc.        I.I. & I.S. Travel   Madison/Washington                (2) Wayne & Susan LaPierre         $83,709.24               5375   $83,709.24                                NYAG-00116451
                                      Corporate America                          Air Transportation -              (2) Christopher Cox, David
10/20/2016   10/19/2016    10/19/2016 Aviation, Inc.        I.I. & I.S. Travel   Van Nuys/Las Vegas/Van Nuys       Lehman                              $7,225.00               5376    $7,225.00                                NYAG-00116452
                                      Corporate America                          Air Transportation -
10/25/2016   10/23/2016    10/23/2016 Aviation, Inc.        I.I. & I.S. Travel   Madiso/Kearney                    (1) Susan LaPierre                  $8,825.00               5377    $8,825.00                                NYAG-00116453
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Tulsa/Austin/Orlando   (3) Wayne LaPierre, Anthony
11/21/2016   11/13/2016    11/16/2016 Aviation, Inc.        I.I. & I.S. Travel   / Savannah/Washington             Makris, Wilson Phillips            $49,235.02               5380   $49,235.02                                NYAG-00116454
                                                                                 Air Transportation -
                                      Corporate America                          Washington/Nashville/Washingto    (3) Wayne LaPierre, Anthony
11/28/2016   11/30/2016    11/30/2016 Aviation, Inc.        I.I. & I.S. Travel   n                                 Makris, Vanessa Shahidi             $4,994.86               5389    $4,994.86                                NYAG-00116455
                                                                                 Air Transportation -
                                        Corporate America                        Washington/North Platte/          (5) Wayne & Susan LaPierre;                                                   Note: Remaining leg to
12/31/2016   12/23/2016    12/27/2016   Aviation, Inc.      I.I. & I.S. Travel   Colorado Springs/North Platte     Terry, Colleen & Sienna Sterner    $35,685.26               5396   $35,685.26 Bahamas billed separately.     NYAG-00116456
                                        Corporate America                        Air Transportation -
 1/19/2017    1/14/2017     1/15/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Houston/Las Vegas      (2) Wayne LaPierre and guests      $40,850.75               5404   $40,850.75                                NYAG-00116457
                                        Corporate America                        Air Transportation -
 2/22/2017    2/15/2017     2/16/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Washington      (2) W. LaPierre, N. Tavangar       $30,004.00               5419   $30,004.00                                NYAG-00116458
                                        Corporate America                        Air Transportation -
 4/27/2017    4/26/2017     4/26/2017   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Atlanta                    (5) Dana Loesch and guests         $25,300.00               5436   $25,300.00                                NYAG-00116459




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                                                                               Air Transportation -
                                      Corporate America                        Washington/San Antonio/             (3) W & S LaPierre; Christopher
 5/16/2017     5/4/2017      5/7/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                          Cox                                    $43,390.36                          5440    $43,390.36                            NYAG-00116460
                                                                               Air Transportation -
                                      Corporate America                        Washington/San Antonio/             (3) W & S LaPierre; Christopher
 5/16/2017     5/4/2017      5/7/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                          Cox                                    $43,150.00                          5440    $43,150.00 "Original" Invoice         NYAG-00116461
                                                                               Air Transportation -
                                      Corporate America                        Washington/North Platte/Van         (5) W & S LaPierre; C & S
 5/17/2017     5/9/2017     5/12/2017 Aviation, Inc.      I.I. & I.S. Travel   Nuys/Washington                     Sterner; Mildred Hallow                $64,900.00                          5442    $64,900.00                            NYAG-00116462
                                                                               Air Transportation -
                                      Corporate America                        Washington/Scottsdale/
 5/31/2017    5/21/2017     5/24/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                          (1) W. LaPierre                        $54,351.52                          5447    $54,351.52                            NYAG-00116463
                                      Corporate America                        Air Transportation -
  7/5/2017     7/1/2017      7/1/2017 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Orlando                      (2) C & S Sterner                      $26,995.00                          5458    $26,995.00                            NYAG-00116464
                                                                               Air Transportation -
                                      Corporate America                        Washington/Seattle/Fairbanks/
 7/26/2017    7/12/2017     7/16/2017 Aviation, Inc.      I.I. & I.S. Travel   International Falls/Washington      (2) W&S LaPierre                       $25,911.54                          5461    $25,991.54                            NYAG-00116465
                                                                               Air Transportation -
                                      Corporate America                        Washington/Lakeland/Washingto
 7/19/2017    7/20/2017     7/20/2017 Aviation, Inc.      I.I. & I.S. Travel   n                                   (2) W. LaPierre, N. Tavangar           $23,650.00                          5462    $23,650.00                            NYAG-00116466
                                      Corporate America                        Air Transportation -
 10/4/2017    10/5/2017     10/5/2017 Aviation, Inc.      I.I. & I.S. Travel   Minneapolis/Pierre                  (2) C. Cox, D. Lehman                    $3,295.35                         5488     $3,295.35                            NYAG-00116467
                                                                               Air Transportation -
                                      Corporate America                        Washington/Orlando/Austin/                                                                                                        Credit from Inv.
12/18/2017   11/11/2017    11/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                          (3) W & S LaPierre; T. Schropp         $52,935.65     -$52,300.00          5500       $635.65 110417ROA                  NYAG-00116468
                                                                                                                                                                                                                 Credit from Inv. 012718-
                                                                                                                                                                                                                 CXL: $15,917.41, Credit
                                      Corporate America                        Air Transportation -                                                                                                              from Inv. 012618-CR:
  2/6/2018    1/27/2018     1/27/2018 Aviation, Inc.      I.I. & I.S. Travel   Grand Island/Van Nuys               (2) Colleen & Sienna Sterner           $25,625.00     -$21,157.91         5518-a    $4,467.09 $5,240.50                  NYAG-00116469
                                      Corporate America                        Air Transportation -
  2/5/2018    1/27/2018     1/27/2018 Aviation, Inc.      I.I. & I.S. Travel   Grand Island/Van Nuys               (2) Colleen & Sienna Sterner           $25,625.00                          5518    $25,625.00                            NYAG-00116470
                                                                               Air Transportation -
                                      Corporate America                        Dallas/Fort Lauderdale/                                                                                                           Note: Original Invoice
  3/6/2018    2/21/2018     2/22/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas (leg cancelled)   (3) D&C Loesch, Henry Martin           $65,340.54                          5529    $65,340.54 dated February 21, 2018    NYAG-00116471
                                      Corporate America                        Air Transportation -
 2/22/2018    2/22/2018     2/22/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas                   (3) D. Loesch and guests               $33,100.00                          5531    $33,100.00                            NYAG-00116472
                                                                               Air Transportation -                02/26-27 morn: (1) C. Sterner
                                                                               Brunswick/West Palm Beach/          daily
                                      Corporate America                        Brunswick/West Palm Beach/          02/27 aft: (5) W & S LaPierre; C.                                                             Note: Replaces Invoice
 2/21/2018    2/26/2018     2/27/2018 Aviation, Inc.      I.I. & I.S. Travel   Brunswick/Washington                Kinney, A. Makris, C. Sterner          $45,105.59       -$120.01           5533    $44,985.58 #022618ROA                 NYAG-00116473
                                      Corporate America                        Air Transportation -                (4) W & S LaPierre, C & S
 4/12/2018    4/11/2018     4/11/2018 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Grand Island/Washington      Sterner                                $37,195.00                        5540-A    $37,195.00                            NYAG-00116474
                                                                               Air Transportation -
                                      Corporate America                        Washington/Indianapolis/            (4) W & S LaPierre, Andra                                                                     Note: Formerly Invoice
  5/7/2019    4/23/2019     4/30/2019 Aviation, Inc.      I.I. & I.S. Travel   Washington                          Fischer, Tyler Schropp                 $34,233.40                          5628    $34,233.40 #0423-3019                 NYAG-00116475
                                                                               Air Transportation -
                                      Corporate America                        Washington/Van Nuys/Pierre/
 9/21/2018    9/26/2018     10/2/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington                          (2) W&S LaPierre                       $96,200.00                       0926-18    $96,200.00                            NYAG-00116476
                                                                               Air Transportation -
                                      Corporate America                        Washington/Lexington/               (2) David Lehman, Christopher
 9/26/2018    10/3/2018     10/3/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington                          Cox                                    $13,990.00                      1003-18a    $13,990.00                            NYAG-00116477
                                                                               Air Transportation -
                                      Corporate America                        Washington/Charlotte/               (2) Wayne LaPierre, Joshua
 9/21/2018    10/3/2018     10/4/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington                          Powell                                 $18,610.00                       1003-18    $18,610.00                            NYAG-00116478
                                      Corporate America                        Air Transportation -
 9/26/2018   10/19/2018    10/21/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Merced/Washington        (2) W&S LaPierre                       $75,715.00                       1019-18    $75,715.00                            NYAG-00116479
                                                                               Air Transportation -
                                      Corporate America                        Washington/Orlando/North Platte/    (2/4/2) W&S LaPierre, C&S
  2/7/2019     3/2/2019     3/11/2019 Aviation, Inc.      I.I. & I.S. Travel   Washington                          Sterner, W&S LaPierre                  $71,400.00                   02-030911-19   $71,400.00                            NYAG-00116480

                                                                                                                                             Total     $11,556,082.43   -$152,906.76
                                                                                                                                Total Minus Credits    $11,403,175.67




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Invoice Date      Start Date       End Date               Vendor                Billed To                  Manifest                              Passengers              Air Transportation Cost     Credits         Invoice Number     Total Invoice Cost            Other           Bates Number

                                                   Corporate America                        Air Transportation -
      10/3/2015       10/11/2015      10/11/2015   Aviation, Inc.      I.I. & I.S. Travel   Colorado Springs/Jackson Hole            (7) D. Cheney and guests                           $18,800.00                        101115ROA              $18,800.00                           NYAG-00116172
                                                   Corporate America                        Air Transportation -                     (3) Wayne & Susan LaPierre, Tyler
      1/27/2017         2/3/2017        2/3/2017   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Washington                     Schropp, Nader Tavangar                            $34,900.00                        020317ROA              $34,900.00                           NYAG-00116173
                                                   Corporate America                        Air Transportation -
     12/13/2017         1/2/2018        1/2/2018   Aviation, Inc.      I.I. & I.S. Travel   North Platte/Dallas                      (2) Colleen & Sienna Sterner                       $13,100.00                      010218-a-ROA             $13,100.00                           NYAG-00116174
                                                   Corporate America                        Air Transportation -
      12/6/2017         1/2/2018        1/2/2018   Aviation, Inc.      I.I. & I.S. Travel   Nassau, Bahamas/Dallas                   (2) W & S LaPierre                                 $37,750.00                        010218ROA              $37,750.00                           NYAG-00116175
                                                   Corporate America                        Air Transportation -
      12/6/2017         1/2/2018        1/2/2018   Aviation, Inc.      I.I. & I.S. Travel   Nassau, Bahamas/Dallas/North Platte      (5) W & S LaPierre and guests                      $46,025.00                        010218ROA              $46,025.00                           NYAG-00116176
                                                   Corporate America                        Air Transportation -
      12/5/2016         1/3/2017        1/3/2017   Aviation, Inc.      I.I. & I.S. Travel   Nassau, Bahamas/Washington               (2) Wayne & Susan LaPierre                         $21,850.00                        010317ROA              $21,850.00                           NYAG-00116177
                                                                                            Air Transportation -
                                                   Corporate America                        Governors Harbour, Bahamas/
     12/15/2015         1/4/2016        1/5/2016   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                        (2) W & S LaPierre                                 $39,990.00                        010416ROA              $39,990.00                           NYAG-00116178
                                                   Corporate America                        Air Transportation -                     (2) Wayne LaPierre, Anthony
      12/5/2016         1/4/2017        1/5/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Washington             Makris                                             $31,995.00                        010417ROA              $31,995.00                           NYAG-00116179
                                                   Corporate America                        Air Transportation -
     12/15/2017         1/4/2018        1/4/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Oklahoma City/Dallas              (2) W. LaPierre, T. Schropp                        $13,300.00                        010418ROA              $13,300.00                           NYAG-00116180
                                                   Corporate America                        Air Transportation -
      12/6/2017         1/7/2018        1/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                        (2) W & S LaPierre                                 $32,145.00                        010718ROA              $32,145.00                           NYAG-00116181
                                                   Corporate America                        Air Transportation -
      12/6/2017         1/7/2018        1/7/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                        (2) W & S LaPierre                                 $30,895.00                        010718ROA              $30,895.00                           NYAG-00116182
                                                   Corporate America                        Air Transportation -
     12/13/2017         1/8/2018        1/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/N. Platte/Washington              (6) W & S LaPierre and guests                      $39,000.00                        010818ROA              $39,000.00                           NYAG-00116183
                                                                                            Air Transportation -
                                                   Corporate America                        Washington/Dallas/N. Platte/Las          (3, then 2) W&S LaPierre.
      1/10/2019        1/15/2019       1/26/2019   Aviation, Inc.      I.I. & I.S. Travel   Vegas/Van Nuys/Washington                Tyler Schropp off @ Dallas                        $121,300.00                              11019           $121,300.00                           NYAG-00116184
                                                   Corporate America                        Air Transportation -
     12/29/2016        1/14/2017       1/15/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Houston/Las Vegas             (2) Wayne LaPierre and guests                      $40,875.00                        011417ROA              $40,875.00                           NYAG-00116185
                                                   Corporate America                        Air Transportation -
      1/16/2017        1/19/2017       1/19/2017   Aviation, Inc.      I.I. & I.S. Travel   Teterboro/Las Vegas                      (2) T. Selleck, D. Muntz                           $32,715.00                        011917ROA              $32,715.00                           NYAG-00116186
                                                   Corporate America                        Air Transportation -                     (2) Christopher Cox, David
     12/23/2015        1/22/2016       1/22/2016   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Palm Springs                   Lehman                                              $5,515.00                        012216ROA               $5,515.00                           NYAG-00116187
                                                   Corporate America                        Air Transportation -
      1/17/2017        1/23/2017       1/24/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Teterboro/ Washington         (2) W&S LaPierre                                   $23,275.00                        012317ROA              $23,275.00                           NYAG-00116188
                                                   Corporate America                        Air Transportation -
       2/5/2018        1/23/2018       1/23/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Las Vegas/Scottsdale          (2) W. LaPierre; A. Makris                         $38,664.55                         012318-CR             $38,664.55                           NYAG-00116189
                                                                                            Air Transportation -
                                                 Corporate America                          Washington/Las Vegas/N. Platte/          (1, then 3) W. LaPierre; C & S
      1/18/2018        1/23/2018       1/26/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                               Sterner                                            $59,950.00                        012318ROA              $59,950.00                           NYAG-00116190
                                                                                            Air Transportation -
                                                 Corporate America                          Washington/Las Vegas/ Scottsdale/Grand   (1/2/1/3) W. LaPierre; A. Makris,
      1/25/2018        1/23/2018       1/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Island/ Washington                       C & S Sterner                                      $67,250.00                        012318ROA              $67,250.00                           NYAG-00116191
                                                                                            Air Transportation -
                                                   Corporate America                        Washington/Van Nuys/Atlanta/
      1/17/2017        1/25/2017       1/30/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington                               (2) W&S LaPierre                                   $68,040.00                        012517ROA              $68,040.00                           NYAG-00116192
                                                   Corporate America                        Air Transportation -                                                                                                                                                                      NYAG-00116193
       2/4/2018        1/27/2018       1/27/2018   Aviation, Inc.      I.I. & I.S. Travel   Scottsdale/Burbank                       (1) Anthony Makris                                  $4,459.50                         012618-CR              $4,459.50 "Cancellation" Invoice    NYAG-00116196
                                                   Corporate America                        Air Transportation -
      1/25/2018        1/26/2018       1/26/2018   Aviation, Inc.      I.I. & I.S. Travel   Scottsdale/Burbank                       (1) Anthony Makris                                  $9,700.00                        012618ROA               $9,700.00                           NYAG-00116194
                                                   Corporate America                        Air Transportation -                     (3) W. LaPierre; Colleen & Sienna
       2/5/2018        1/27/2018       1/27/2018   Aviation, Inc.      I.I. & I.S. Travel   Scottsdale/Grand Island/ Washington      Sterner                                            $12,668.04     -$28,585.45        012718-CXL             $12,668.04 Credit from Inv. 012318   NYAG-00116195
                                                   Corporate America                        Air Transportation -                     (2) Wayne LaPierre, Nader
      1/31/2017        1/31/2017        2/1/2017   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Washington/Las Vegas           Tavangar                                           $43,100.00                       013117aROA              $43,100.00                           NYAG-00116197
                                                   Corporate America                        Air Transportation -
      1/25/2017        1/31/2017       1/31/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/North Platte/Las Vegas        (5) W & S LaPierre and guests                      $37,800.00                        013117ROA              $37,800.00                           NYAG-00116198
                                                   Corporate America                        Air Transportation -                     (4) W. LaPierre, A. Makris, C&S
      1/29/2018        1/31/2018       1/31/2018   Aviation, Inc.      I.I. & I.S. Travel   Van Nuys/Scottsdale/Las Vegas            Sterner                                            $19,650.00                        013118ROA              $19,650.00                           NYAG-00116199
                                                   Corporate America                        Air Transportation -
       2/2/2018         2/8/2018        2/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Washington             (2) W. LaPierre, T. Schropp                        $34,275.00                       020818-aROA             $34,275.00                           NYAG-00116200
                                                   Corporate America                        Air Transportation -
      1/25/2017         2/2/2017        2/2/2017   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/North Platte                   (1) Terry Sterner                                  $15,495.00                        020217ROA              $15,495.00                           NYAG-00116201
                                                   Corporate America                        Air Transportation -
      1/30/2018         2/3/2018        2/3/2018   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Washington                     (1) Wayne LaPierre                                 $27,725.00                        020318ROA              $27,725.00                           NYAG-00116202
                                                   Corporate America                        Air Transportation -                     (3) Terry, Colleen & Sienna                                                                                                                      NYAG-00116203
      1/29/2018         2/4/2018        2/4/2018   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Grand Island                   Sterner                                            $16,500.00                        020418ROA              $16,500.00                           NYAG-00116204
                                                   Corporate America                        Air Transportation -
      1/25/2017         2/5/2017        2/5/2017   Aviation, Inc.      I.I. & I.S. Travel   Las Vegas/Van Nuys                       (5) W & S LaPierre and guests                       $9,800.00                        020517ROA               $9,800.00                           NYAG-00116205
                                                   Corporate America                        Air Transportation -                     (3) Wayne LaPierre, Tyler
      1/27/2017         2/6/2017        2/9/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys/ Washington          Schropp, Nader Tavangart                           $69,885.00                        020617ROA              $69,885.00                           NYAG-00116206
                                                                                            Air Transportation -
                                                 Corporate America                          Washington/Dallas/Harrisburg/
       2/4/2018         2/6/2018        2/6/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                               (2) W. LaPierre, A. Fischer                         $9,475.00                        020618ROA               $9,475.00                           NYAG-00116207
                                                 Corporate America                          Air Transportation -                     (3) Wayne LaPierre, Tyler
      1/31/2017         2/6/2017       2/10/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Van Nuys/ Washington          Schropp, Nader Tavangart                           $71,110.00                       0206a17ROA              $71,110.00                           NYAG-00116208
                                                                                            Air Transportation -
                                                 Corporate America                          Washington/Dallas/Harrisburg/            (2, then 2) W. LaPierre, T.                                                                                            Note: Replaces Invoice
     12/27/2017         2/8/2018        2/9/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                               Schropp, C. Kinney                                 $38,100.00                        020818ROA              $38,100.00 #020918ROA                NYAG-00116209




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                                   Corporate America                          Air Transportation -
 1/25/2017    2/9/2017    2/9/2017 Aviation, Inc.        I.I. & I.S. Travel   Van Nuys/Washington                      (5) W & S LaPierre and guests          $36,700.00       020917ROA    $36,700.00                          NYAG-00116210
                                                                              Air Transportation -
                                   Corporate America                          Washington/Dallas/Harrisburg/            (2, then 3) W. LaPierre, A. Fischer,
  2/4/2018    2/9/2018    2/9/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                               C. Kinney                               $9,475.00       020918ROA     $9,475.00                          NYAG-00116211
                                   Corporate America                          Air Transportation -
12/27/2017    2/9/2018    2/9/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Harrisburg/ Washington        (1, then 2) W. LaPierre, C. Kinney      $9,475.00       020918ROA     $9,475.00                          NYAG-00116212
                                   Corporate America                          Air Transportation -
  2/8/2017   2/11/2017   2/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Harrisburg/ Washington        (3) W. LaPierre and guests              $9,300.00       021117ROA     $9,300.00                          NYAG-00116213
                                                                              Air Transportation -
                                   Corporate America                          Washington/Charleston/San
  2/8/2018   2/14/2018   2/16/2018 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Orlando                          (2) W & S LaPierre                     $47,650.00     021418-a-ROA   $47,650.00                          NYAG-00116214
                                                                              Air Transportation -
                                   Corporate America                          Washington/Charleston/San                                                                                                Note: Replaces Invoice
 2/12/2018   2/14/2018   2/16/2018 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Tallahassee/Orlando              (2) W & S LaPierre; A. Makris          $50,685.00     021418-b-ROA   $50,685.00 #021418-a-ROA            NYAG-00116215
                                   Corporate America                          Air Transportation -
  2/6/2018   2/14/2018   2/15/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/San Antonio/Orlando           (2) W & S LaPierre                     $42,450.00       021418ROA    $42,450.00                          NYAG-00116216
                                                                              Air Transportation -
                                     Corporate America                        Washington/Dallas/Kearney/
  2/1/2017   2/15/2017   2/21/2017   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Atlanta/Washington               (4) W. LaPierre and guests             $58,085.00       021517ROA    $58,085.00                          NYAG-00116217
                                     Corporate America                        Air Transportation -
 2/15/2018   2/15/2018   2/15/2018   Aviation, Inc.      I.I. & I.S. Travel   Tampa/Charleston                         (1) Christopher Kinney                 $11,350.00       021518ROA    $11,350.00                          NYAG-00116218
                                     Corporate America                        Air Transportation -                     (4) W & S LaPierre; Christopher
 2/16/2018   2/18/2018   2/21/2018   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Dallas/Washington                Kinney, Anthony Makris                 $46,000.00       021818ROA    $46,000.00                          NYAG-00116219
                                     Corporate America                        Air Transportation -
  2/6/2018   2/19/2018   2/19/2018   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Washington                       (2) W & S LaPierre                     $21,750.00       021918ROA    $21,750.00                          NYAG-00116220
                                     Corporate America                        Air Transportation -
 1/28/2017   2/21/2017   2/21/2017   Aviation, Inc.      I.I. & I.S. Travel   Atlanta/Kearney                          (2) Colleen & Sienna Sterner           $14,800.00       022117ROA    $14,800.00                          NYAG-00116221
                                                                              Air Transportation -
                                   Corporate America                          Dallas/Fort Lauderdale/
 2/21/2018   2/21/2018   2/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Dallas                        (3) D&C Loesch, Henry Martin           $66,775.00       022118ROA    $66,775.00                          NYAG-00116222
                                   Corporate America                          Air Transportation -                     (4) W & S LaPierre; Christopher
 2/18/2018   2/22/2018   2/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Brunswick                     Kinney, Anthony Makris                 $18,300.00       022218ROA    $18,300.00                          NYAG-00116223
                                                                              Air Transportation -
                                   Corporate America                          Washington/West Palm Beach/
 2/13/2018   2/25/2018   2/28/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                               (2) W & S LaPierre                     $41,400.00       022518ROA    $41,400.00                          NYAG-00116224
                                   Corporate America                          Air Transportation -                     (3) W. LaPierre, A. Makris, C.
 2/24/2018   2/25/2018   2/25/2018 Aviation, Inc.        I.I. & I.S. Travel   Brunswick/Washington/ Brunswick          Kinney                                 $26,715.00       022518ROA    $26,715.00                          NYAG-00116225
                                   Corporate America                          Air Transportation -
  2/1/2017   2/26/2017   2/26/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Daytona/Washington            (4) W. LaPierre and guests             $21,400.00       022617ROA    $21,400.00                          NYAG-00116226
                                                                              Air Transportation -                     02/26-27: (2) S. LaPierre, C.
                                                                              Brunswick/West Palm Beach/               Sterner
                                   Corporate America                          Brunswick/West Palm Beach/               03/01: (4) W & S LaPierre; C.                                                   Note: Replaces Invoice
 2/21/2018   2/26/2018    3/1/2018 Aviation, Inc.        I.I. & I.S. Travel   Brunswick/Washington                     Kinney, A. Makris                      $47,545.00       022618ROA    $47,545.00 #022718ROA               NYAG-00116227
                                                                              Air Transportation -                     02/27-28: (2) S. LaPierre, C.
                                                                              Brunswick/West Palm Beach/               Sterner
                                   Corporate America                          Brunswick/West Palm Beach/               03/01: (4) W & S LaPierre; C.                                                   Note: Replaces Invoice
 2/19/2018   2/27/2018    3/1/2018 Aviation, Inc.        I.I. & I.S. Travel   Brunswick/Washington                     Kinney, A. Makris                      $46,295.00       022718ROA    $46,295.00 #022518ROA               NYAG-00116228
                                   Corporate America                          Air Transportation -                     (4) LaPierre, Kinney, Powell,
  3/2/2018    3/7/2018    3/7/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Islip/Washington              Hallow                                 $19,250.00       030718ROA    $19,250.00                          NYAG-00116229
                                                                              Air Transportation -
                                   Corporate America                          Washington/Atlanta/Washington/
 3/12/2018   3/15/2018   3/18/2018 Aviation, Inc.        I.I. & I.S. Travel   Greensboro/Washington                    (3) W&S LaPierre; C. Kinney            $39,995.00       031518ROA    $39,995.00                          NYAG-00116230
                                                                              Air Transportation -
                                   Corporate America                          Washington/Little Rock/
 3/17/2017   3/22/2017   3/22/2017 Aviation, Inc.        I.I. & I.S. Travel   Nashville/Washington                     (5) Christopher Cox and guests         $21,800.00       032217ROA    $21,800.00                          NYAG-00116231
                                                                              Air Transportation -
                                   Corporate America                          Washington/Charleston/Raleigh/
 3/13/2018   3/22/2018   3/26/2018 Aviation, Inc.        I.I. & I.S. Travel   Charleston/Washington                    (3) W&S LaPierre; C. Kinney            $42,915.00       032218ROA    $42,915.00                          NYAG-00116232
                                   Corporate America                          Air Transportation -
 3/17/2017   3/22/2017   3/24/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Oklahoma City/ Washington     (2) W. LaPierre, N. Tavangar           $37,900.00     03222417ROA    $37,900.00                          NYAG-00116233
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Van Nuys/North
 3/16/2017   3/26/2017   3/31/2017 Aviation, Inc.        I.I. & I.S. Travel   Platte/Washington                        (4) W. LaPierre and guests             $62,700.00       032617ROA    $62,700.00                          NYAG-00116234
                                                                              Air Transportation -
                                   Corporate America                          Washington/North Platte/Van
  3/9/2017   3/26/2017   3/31/2017 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Washington                          (4) W. LaPierre and guests             $62,000.00       032617ROA    $62,000.00                          NYAG-00116235
                                   Corporate America                          Air Transportation -
  4/3/2019   4/19/2019   4/19/2019 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Washington                    (2) W&S LaPierre                       $37,950.00            41919   $37,950.00                          NYAG-00116236
                                                                              Air Transportation -
                                   Corporate America                          Washington/Omaha/North Platte/
 3/19/2019    4/4/2019    4/6/2019 Aviation, Inc.        I.I. & I.S. Travel   Tulsa/Washington                         (2) W&S LaPierre                       $44,535.00        0404-0619   $44,535.00                          NYAG-00116237
                                                                              Air Transportation -
                                   Corporate America                          Washington/Dallas/North Platte/
 3/28/2018    4/6/2018   4/11/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                               (4) W & S LaPierre; C & S Sterner      $62,375.00       040618ROA    $62,375.00                          NYAG-00116238
                                                                              Air Transportation -
                                   Corporate America                          Washington/Hillsdale/Dallas/ North
 3/22/2017    4/7/2017   4/10/2017 Aviation, Inc.        I.I. & I.S. Travel   Platte/Washington                        (6) W. LaPierre and guests             $63,465.00       040717ROA    $63,465.00                          NYAG-00116239
                                                                              Air Transportation -
                                   Corporate America                          Washington/Hillsdale/Dallas/ Grand
 3/22/2017    4/7/2017   4/10/2017 Aviation, Inc.        I.I. & I.S. Travel   Island/Washington                        (6) W. LaPierre and guests             $52,085.00       040717ROA    $52,085.00                          NYAG-00116240




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                                                                             Air Transportation -
                                  Corporate America                          Washington/Hillsdale/North
3/14/2017    4/7/2017   4/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Platte/Dallas/Washington                  (6) W. LaPierre and guests          $63,465.00         040717ROA     $63,465.00                          NYAG-00116241
                                  Corporate America                          Air Transportation -                      (2) Anthony Makris, William
 4/2/2018   4/10/2018   4/10/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington                         Powell                              $17,200.00         041018ROA     $17,200.00                          NYAG-00116242
                                  Corporate America                          Air Transportation -                      (3) W. LaPierre, T. Schropp, N.
3/23/2017   4/11/2017   4/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Naples/Washington              Tavangar                            $25,275.00         041117ROA     $25,275.00                          NYAG-00116243
                                  Corporate America                          Air Transportation -                                                                                                      Note: Replaces Invoice
4/10/2019   4/14/2019   4/18/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington/Scottsdale/ Washington         (2) W&S LaPierre                    $63,925.00           0414-1819   $63,925.00 #041419 & 041919         NYAG-00116244
                                  Corporate America                          Air Transportation -                                                                                                      Note: Replaces Invoice
 4/4/2019   4/14/2019   4/19/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington/Scottsdale/ Washington         (2) W&S LaPierre                    $64,625.00           0414-1919   $64,625.00 #041419 & 041919         NYAG-00116245
                                  Corporate America                          Air Transportation -
 4/3/2019   4/14/2019   4/14/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington/Scottsdale                     (2) W&S LaPierre                    $41,250.00              41419    $41,250.00                          NYAG-00116246
                                                                             Air Transportation -
                                    Corporate America                        Washington/Scottsdale/                    (3) W&S LaPierre; Anthony
4/12/2018   4/16/2018   4/19/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Savannah                       Makris                              $79,000.00      041618-A-ROA     $79,000.00                          NYAG-00116247
                                    Corporate America                        Air Transportation -                      (3) W&S LaPierre; Anthony
4/11/2018   4/16/2018   4/19/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Scottsdale/ Washington         Makris                              $68,800.00         041618ROA     $68,800.00                          NYAG-00116248
                                    Corporate America                        Air Transportation -                                                                                                      Note: Replaces Invoice
4/14/2018   4/16/2018   4/16/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Scottsdale                     (2) W&S LaPierre                    $34,000.00   Revised 041618ROA   $34,000.00 #041618-A-ROA            NYAG-00116249
                                    Corporate America                        Air Transportation -
4/13/2018   4/19/2018   4/19/2018   Aviation, Inc.      I.I. & I.S. Travel   Scottsdale/Dallas                         (2) W&S LaPierre                    $27,000.00      041918-A-ROA     $27,000.00                          NYAG-00116250
                                    Corporate America                        Air Transportation -
4/13/2018   4/19/2018   4/19/2018   Aviation, Inc.      I.I. & I.S. Travel   Scottsdale/Savannah                       (2) Makris/Loughlin                 $35,800.00       041918-B-ROA    $35,800.00                          NYAG-00116251
                                    Corporate America                        Air Transportation -
 4/1/2017   4/20/2017   4/20/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Johns Island                   (3) W&S LaPierre; T. Schropp        $12,815.00         042017ROA     $12,815.00                          NYAG-00116252
                                    Corporate America                        Air Transportation -
4/17/2018   4/21/2018   4/22/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Hot Springs/Washington             (2) W&S LaPierre                    $33,600.00         042118ROA     $33,600.00                          NYAG-00116253
                                    Corporate America                        Air Transportation -
4/14/2018   4/22/2018   4/22/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                         (2) W&S LaPierre                    $30,085.00         042218ROA     $30,085.00                          NYAG-00116254
                                    Corporate America                        Air Transportation -                      (3) W. LaPierre, T. Schropp, N.
3/27/2019   4/23/2019   4/30/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington/Indianapolis/ Washington       Tavangar                            $33,150.00           0423-2019   $33,150.00                          NYAG-00116255
                                    Corporate America                        Air Transportation -
 4/1/2017   4/23/2017   4/23/2017   Aviation, Inc.      I.I. & I.S. Travel   Johns Island/Washington                   (3) W & S LaPierre                  $15,800.00        042317aROA     $15,800.00                          NYAG-00116256
                                    Corporate America                        Air Transportation -
 4/1/2017   4/23/2017   4/23/2017   Aviation, Inc.      I.I. & I.S. Travel   Johns Island/Bristol/Washington           (3) W & S LaPierre; T. Schropp      $19,185.00         042317ROA     $19,185.00                          NYAG-00116257
                                    Corporate America                        Air Transportation -
4/12/2017   4/25/2017    5/1/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Atlanta/Washington             (3) W & S LaPierre; T. Schropp      $29,400.00         0425-17ROA    $29,400.00                          NYAG-00116258
                                    Corporate America                        Air Transportation -
 4/4/2019   4/25/2019   4/26/2019   Aviation, Inc.      I.I. & I.S. Travel   Camarillo/Indianapolis/Camarillo          (1) DG Cain                         $39,165.00              42519    $39,165.00                          NYAG-00116259
                                    Corporate America                        Air Transportation -
4/20/2018   4/26/2018   4/29/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Palm Springs/ Washington       (2) W&S LaPierre                    $69,950.00         042618ROA     $69,950.00                          NYAG-00116260
                                    Corporate America                        Air Transportation -
4/14/2017   4/27/2017   4/28/2017   Aviation, Inc.      I.I. & I.S. Travel   Camarillo/Atlanta/Camarillo               (1) T.D. Selleck                    $47,900.00         042717ROA     $47,900.00                          NYAG-00116261
                                    Corporate America                        Air Transportation -
4/23/2018    5/1/2018    5/1/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Arlington                      (5) W. LaPierre and guests          $28,800.00         050118ROA     $28,800.00                          NYAG-00116262
                                    Corporate America                        Air Transportation -
4/13/2017    5/4/2017    5/7/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/San Antonio/ Washington        (2) W&S LaPierre                    $43,150.00         050417ROA     $43,150.00                          NYAG-00116263
                                    Corporate America                        Air Transportation -
4/26/2018    5/7/2018    5/7/2018   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                         (5) W. LaPierre and guests          $28,800.00         050718ROA     $28,800.00                          NYAG-00116264
                                                                             Air Transportation -
                                    Corporate America                        Washington/North Platte/Van
 5/6/2017    5/9/2017   5/12/2017   Aviation, Inc.      I.I. & I.S. Travel   Nuys/Washington                           (4) W & S LaPierre; C & S Sterner   $64,900.00        050917aROA     $64,900.00                          NYAG-00116265
                                    Corporate America                        Air Transportation -
4/13/2017    5/9/2017   5/12/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys/ Washington           (2) W&S LaPierre                    $62,200.00         050917ROA     $62,200.00                          NYAG-00116266
                                    Corporate America                        Air Transportation -
2/22/2019   5/14/2019   5/14/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys                       (2) W&S LaPierre                    $34,050.00              51419    $34,050.00                          NYAG-00116267
                                    Corporate America                        Air Transportation -                                                                                                      Note: Replaces Invoice
 5/6/2019   5/15/2019   5/15/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys                       (2) W&S LaPierre                    $34,050.00              51519    $34,050.00 #051419                  NYAG-00116268
                                    Corporate America                        Air Transportation -
2/22/2019   5/19/2019   5/19/2019   Aviation, Inc.      I.I. & I.S. Travel   Van Nuys/Scottsdale                       (2) W&S LaPierre                    $12,750.00              51919    $12,750.00                          NYAG-00116269
                                    Corporate America                        Air Transportation -                      (2) W. LaPierre, A. Fischer, N.
5/10/2017   5/20/2017   5/20/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Columbia/ Washington           Tavangar                            $16,075.00         052017ROA     $16,075.00                          NYAG-00116270
                                                                             Air Transportation -
                                  Corporate America                          Washington/Scottsdale/Charlotte/Washing   (2) W. LaPierre, A. Makris, T.
5/10/2017   5/21/2017   5/24/2017 Aviation, Inc.        I.I. & I.S. Travel   ton                                       Schropp                             $57,300.00         052117ROA     $57,300.00                          NYAG-00116271
                                  Corporate America                          Air Transportation -                                                                                                      Note: Replaces Invoice
 4/5/2019   5/21/2019   5/21/2019 Aviation, Inc.        I.I. & I.S. Travel   Van Nuys/Washington                       (2) W&S LaPierre                    $39,800.00              52119    $39,800.00 #052219                  NYAG-00116272
                                  Corporate America                          Air Transportation -
2/22/2019   5/22/2019   5/22/2019 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Washington                     (2) W&S LaPierre                    $35,750.00              52219    $35,750.00                          NYAG-00116273
                                  Corporate America                          Air Transportation -
5/14/2018   5/23/2018   5/23/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Charlotte/Washington           (3) W. LaPierre and guests          $19,150.00              52318    $19,150.00                          NYAG-00116274
                                  Corporate America                          Air Transportation -
5/24/2017   5/28/2017   5/28/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Concord/Washington             (3) W. LaPierre and guests          $16,650.00         052817ROA     $16,650.00                          NYAG-00116275
                                                                             Air Transportation -
                                  Corporate America                          Washington/Atlanta & Atlanta/
 5/2/2018   5/29/2018   6/10/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                                (4) W. LaPierre and guests          $35,900.00         052918ROA     $35,900.00                          NYAG-00116276
                                  Corporate America                          Air Transportation -                      (4, then 2) W&S LaPierre; C&S
5/29/2018    6/4/2018    6/4/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/North Platte/Washington            Sterner                             $37,700.00             060618a   $37,700.00                          NYAG-00116277
                                                                             Air Transportation -
                                  Corporate America                          Washington/Nashville/Savannah/Nashvill    (3) W & S LaPierre; Anthony
5/26/2017    6/7/2017   6/11/2017 Aviation, Inc.        I.I. & I.S. Travel   e/Washington                              Makris                              $39,245.00        060717aROA     $39,245.00                          NYAG-00116278




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                                                                             Air Transportation -
                                  Corporate America                          Washington/Nashville/Nashville/Nassau,     (3) W & S LaPierre; Nader
 6/5/2017    6/7/2017   6/12/2017 Aviation, Inc.        I.I. & I.S. Travel   Bahama/Washington                          Tavangar                            $54,375.00              060717bROA    $54,375.00                          NYAG-00116279
                                  Corporate America                          Air Transportation -
5/18/2017    6/7/2017   6/11/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Nashville/ Washington           (2) W&S LaPierre                    $33,400.00              060717ROA     $33,400.00                          NYAG-00116280
                                                                             Air Transportation -
                                  Corporate America                          Washington/North Platte/Dallas/ North
5/30/2017   6/14/2017   6/19/2017 Aviation, Inc.        I.I. & I.S. Travel   Platte/Washington                          (4) W & S LaPierre; C & S Sterner   $50,400.00              061417ROA     $50,400.00                          NYAG-00116281
                                  Corporate America                          Air Transportation -
 6/8/2017   6/20/2017   6/22/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Teterboro/ Washington           (2) W&S LaPierre                    $19,600.00              062017ROA     $19,600.00                          NYAG-00116282
                                                                             Air Transportation -
                                  Corporate America                          Washington/Van Nuys/Dallas/North
 6/6/2018   6/25/2018   6/29/2018 Aviation, Inc.        I.I. & I.S. Travel   Platte/ Washington                         (5) W. LaPierre and guests          $86,730.00              062518ROA     $86,730.00                          NYAG-00116283
                                                                             Air Transportation -
                                  Corporate America                          Washington/Dallas/Van Nuys/ North                                                                                               Note: Replaces Invoice
6/14/2018   6/25/2018   6/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Platte/Washington                          (3) W. LaPierre and guests          $69,475.00                 062518-B   $69,475.00 #082518ROA               NYAG-00116284
                                                                             Air Transportation -                                                                                                            Note: Replaces Invoice
                                  Corporate America                          Washington/Van Nuys/North                                                                                                       #062518ROA and
6/16/2018   6/25/2018   6/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Platte/Washington                          (3) W. LaPierre and guests          $65,775.00                 062518-B   $65,775.00 #062518-A                NYAG-00116285
                                                                             Air Transportation -
                                  Corporate America                          Washington/Van Nuys/ Dallas/North
 6/6/2018   6/25/2018   6/29/2018 Aviation, Inc.        I.I. & I.S. Travel   Platte/ Washington                         (5) W. LaPierre and guests          $86,730.00              062518ROA     $86,730.00                          NYAG-00116286
                                                                             Air Transportation -
                                    Corporate America                        Washington/Dallas/North Platte/
5/30/2018   6/29/2018   6/30/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington                                 (3) Wayne LaPierre, C&S Sterner     $40,980.00                   62918    $40,980.00                          NYAG-00116287
                                    Corporate America                        Air Transportation -
 6/7/2017   6/30/2017    7/4/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Orlando/Washington              (6) W & S LaPierre and guests       $28,800.00              063017ROA     $28,800.00                          NYAG-00116288
                                    Corporate America                        Air Transportation -
6/28/2016    7/1/2016    7/1/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Atlanta/Orlando                 (2) W. LaPierre and guests          $17,180.00              070116ROA     $17,180.00                          NYAG-00116289
                                    Corporate America                        Air Transportation -
 6/5/2018    7/1/2018    7/1/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Nassau, Bahamas                 (5) W. LaPierre and guests          $22,350.00              070118ROA     $22,350.00                          NYAG-00116290
                                    Corporate America                        Air Transportation -
6/28/2016    7/4/2016    7/4/2016   Aviation, Inc.      I.I. & I.S. Travel   Orlando/Washington                         (2) W&S LaPierre                    $19,300.00              070416ROA     $19,300.00                          NYAG-00116291
                                    Corporate America                        Air Transportation -
 6/5/2018    7/8/2018    7/8/2018   Aviation, Inc.      I.I. & I.S. Travel   Nassau, Bahamas/Washington                 (5) W. LaPierre and guests          $22,350.00              070818ROA     $22,350.00                          NYAG-00116292
                                                                             Air Transportation -
                                  Corporate America                          Washington/Milwaukee/Kearney/ Nassau,
6/28/2016    7/9/2016   7/10/2016 Aviation, Inc.        I.I. & I.S. Travel   Bahamas                                    (5) W. LaPierre and guests          $37,850.00              070916ROA     $37,850.00                          NYAG-00116293
                                                                             Air Transportation -
                                  Corporate America                          Washington/Scottsdale/Fort Collins/North
 6/8/2018   7/10/2018   7/14/2018 Aviation, Inc.        I.I. & I.S. Travel   Platte/Washington                          (6) W. LaPierre and guests          $74,125.00              071018ROA     $74,125.00                          NYAG-00116294
                                  Corporate America                          Air Transportation -
5/16/2017   7/12/2017   7/16/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Seattle/Washington              (2) W&S LaPierre                    $61,450.00              071217ROA     $61,450.00                          NYAG-00116295
                                                                             Air Transportation -
                                    Corporate America                        Nassau, Bahamas/Minneapolis/
6/28/2016   7/17/2016   7/18/2016   Aviation, Inc.      I.I. & I.S. Travel   Kearney/Minneapolis/Washington             (5) W. LaPierre and guests          $59,770.00              071716ROA     $59,770.00                          NYAG-00116296
                                    Corporate America                        Air Transportation -
 6/8/2019   7/21/2019   7/28/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington/Aspen/Jackson/ Washington       (2) W&S LaPierre                    $65,900.00                   72119    $65,900.00                          NYAG-00116297
                                    Corporate America                        Air Transportation -
7/11/2016   7/22/2016   7/22/2016   Aviation, Inc.      I.I. & I.S. Travel   Cleveland/Washington                       (2) C & C Cox                        $8,990.00              072216ROA      $8,990.00                          NYAG-00116298
                                    Corporate America                        Air Transportation -
 7/6/2017   7/23/2017   7/25/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Aspen/Washington                (2) W&S LaPierre                    $48,300.00              072317ROA     $48,300.00                          NYAG-00116299
                                                                             Air Transportation -
                                  Corporate America                          Washington/Springfield/ Oklahoma
7/14/2016   8/11/2016   8/12/2016 Aviation, Inc.        I.I. & I.S. Travel   City/Kearney/ Washington                   (4) W. LaPierre and guests          $35,985.00              081116ROA     $35,985.00                          NYAG-00116300
                                  Corporate America                          Air Transportation -
 8/4/2017   8/19/2017   8/19/2017 Aviation, Inc.        I.I. & I.S. Travel   Currituck/Bristol/Washington               (2) W&S LaPierre                    $18,475.00              081917ROA     $18,475.00                          NYAG-00116301
                                                                             Air Transportation -
                                  Corporate America                          Washington/North Platte/Dallas/
7/30/2017   8/20/2017   8/21/2017 Aviation, Inc.        I.I. & I.S. Travel   Charleston/Washington                      (4) W. LaPierre and guests          $46,100.00   -$650.00   082017aROA    $45,450.00 Credit from Inv. 5452    NYAG-00116302
                                                                             Air Transportation -
                                  Corporate America                          Washington/North Platte/Dallas/
8/15/2017   8/20/2017   8/21/2017 Aviation, Inc.        I.I. & I.S. Travel   Columbia/Washington                        (4) W. LaPierre and guests          $46,100.00   -$650.00   082017bROA    $45,450.00 Credit from Inv. 5452    NYAG-00116303
                                                                             Air Transportation -
                                  Corporate America                          Washington/North Platte/Dallas/
7/26/2017   8/20/2017   8/21/2017 Aviation, Inc.        I.I. & I.S. Travel   Nashville/Washington                       (4) W. LaPierre and guests          $43,115.00   -$650.00   082017ROA     $42,465.00 Credit from Inv. 5452    NYAG-00116304
                                  Corporate America                          Air Transportation -
7/27/2017   8/24/2017   8/25/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Madison/Grand Island            (4) W. LaPierre and guests          $22,200.00              082417ROA     $22,200.00                          NYAG-00116305
                                  Corporate America                          Air Transportation -
7/27/2017   8/25/2017   8/25/2017 Aviation, Inc.        I.I. & I.S. Travel   Grand Island/Nassau, Bahamas               (4) W. LaPierre and guests          $20,500.00              082517ROA     $20,500.00                          NYAG-00116306
                                                                             Air Transportation -
                                  Corporate America                          Washington/Van Nuys/Kearney/
8/16/2016   8/29/2016    9/2/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                                 (4) W. LaPierre and guests          $61,100.00              082916ROA     $61,100.00                          NYAG-00116307
                                  Corporate America                          Air Transportation -
 8/2/2017    9/4/2017    9/4/2017 Aviation, Inc.        I.I. & I.S. Travel   Nassau, Bahamas/Washington                 (5) W. LaPierre and guests          $22,350.00              090417aROA    $22,350.00                          NYAG-00116308
                                                                             Air Transportation -
                                  Corporate America                          Washington/Grand Island/Dallas/
 8/2/2017    9/4/2017    9/6/2017 Aviation, Inc.        I.I. & I.S. Travel   Springfield                                (5) W. LaPierre and guests          $35,085.00              090417bROA    $35,085.00                          NYAG-00116309
                                  Corporate America                          Air Transportation -
 9/8/2016    9/9/2016   9/10/2016 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington/Dallas                   (4) Christopher Loesch and guests   $28,100.00              090916ROA     $28,100.00                          NYAG-00116310
                                  Corporate America                          Air Transportation -                       (3) W. LaPierre, T. Schropp, N.
8/15/2017    9/9/2017    9/9/2017 Aviation, Inc.        I.I. & I.S. Travel   Springfield/Washington                     Tavangar                            $20,800.00              090917ROA     $20,800.00                          NYAG-00116311




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                                  Corporate America                          Air Transportation -                       (4) W. LaPierre, T. Schropp, C.
8/31/2016   9/10/2016   9/10/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Bristol/Washington              Kinney, W.B. Smith                  $14,580.00                   091016ROA    $14,580.00                     NYAG-00116312
                                  Corporate America                          Air Transportation -                       (3) W. LaPierre, T. Schropp, N.
 8/2/2017   9/10/2017   9/10/2017 Aviation, Inc.        I.I. & I.S. Travel   Springfield/Washington                     Tavangar                            $16,200.00                   091017ROA    $16,200.00                     NYAG-00116313
                                                                             Air Transportation -
                                  Corporate America                          Washington/Oklahoma City/
 9/7/2016   9/14/2016   9/17/2016 Aviation, Inc.        I.I. & I.S. Travel   Louisville/Washington                      (2) W. LaPierre, T. Schropp         $35,550.00                   091416ROA    $35,550.00                     NYAG-00116314
                                                                             Air Transportation -
                                  Corporate America                          Washington/Oklahoma City/
 9/8/2016   9/14/2016   9/16/2016 Aviation, Inc.        I.I. & I.S. Travel   Louisville/Washington                      (2) W. LaPierre, T. Schropp         $34,300.00                  091416bROA    $34,300.00                     NYAG-00116315
                                  Corporate America                          Air Transportation -
8/31/2016   9/14/2016   9/16/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Oklahoma City/ Washington       (2) W. LaPierre, T. Schropp         $31,750.00                   091416ROA    $31,750.00                     NYAG-00116316
                                  Corporate America                          Air Transportation -
 9/5/2018   9/14/2018   9/14/2018 Aviation, Inc.        I.I. & I.S. Travel   Hot Springs/Houston                        (2) Dean G. Cain                    $19,900.00                   091418ROA    $19,900.00                     NYAG-00116317
                                  Corporate America                          Air Transportation -
 8/9/2017   9/15/2017   9/17/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Portsmouth/ Washington          (2) W&S LaPierre                    $25,700.00                 091517-a-ROA   $25,700.00                     NYAG-00116318
                                  Corporate America                          Air Transportation -
8/16/2017   9/15/2017   9/17/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Sanford/Washington              (2) W&S LaPierre                    $26,400.00                 091517-b-ROA   $26,400.00                     NYAG-00116319
                                  Corporate America                          Air Transportation -
 8/8/2017   9/15/2017   9/17/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Portsmouth/ Washington          (2) W&S LaPierre                    $26,920.00                   091517ROA    $26,920.00                     NYAG-00116320
                                                                             Air Transportation -
                                  Corporate America                          Washington/Van Nuys/Santa Fe/
9/10/2015   9/17/2015   9/24/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington                                 (2) W. LaPierre and guests          $79,500.00                   091715ROA    $79,500.00                     NYAG-00116321
                                                                             Air Transportation -
                                                                             Washington/Dallas/Kearney/
                                  Corporate America                          Dallas/Scottsdale/Denver/Dallas/Washingt   (4) W & S LaPierre, N. Tavangar,
9/14/2016   9/19/2016   9/26/2016 Aviation, Inc.        I.I. & I.S. Travel   on                                         A. Makris                           $81,885.00                   091916ROA    $81,885.00                     NYAG-00116322
                                                                             Air Transportation -
                                  Corporate America                          Washington/Kearney/Dallas/                 (4) W & S LaPierre, N. Tavangar,
 9/7/2016   9/19/2016   9/25/2016 Aviation, Inc.        I.I. & I.S. Travel   Scottsdale/Denver/Washington               A. Makris                           $69,900.00                   091916ROA    $69,900.00                     NYAG-00116323
                                  Corporate America                          Air Transportation -                       (3) W. LaPierre, N. Tavangar, A.
8/31/2016   9/19/2016   9/21/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Dallas/Washington               Makris                              $32,235.00                   091916ROA    $32,235.00                     NYAG-00116324
                                                                             Air Transportation -
                                    Corporate America                        Washington/Baton Rouge/Dallas/
 9/7/2017   9/19/2017   9/24/2017   Aviation, Inc.      I.I. & I.S. Travel   Springfield/Dallas/Kearney/ Washington     (6) W. LaPierre and guests          $56,525.00                 091917-aROA    $56,525.00                     NYAG-00116325
                                    Corporate America                        Air Transportation -
8/18/2017   9/19/2017   9/19/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/New Orleans/Dallas              (3) W&S LaPierre; T. Schropp        $30,300.00                   091917ROA    $30,300.00                     NYAG-00116326
                                    Corporate America                        Air Transportation -                       (2) Colleen Warwick-Sterner,
9/14/2017   9/19/2017   9/19/2017   Aviation, Inc.      I.I. & I.S. Travel   North Platte/Dallas                        Sienna Sterner                      $13,825.00                   091917ROA    $13,825.00                     NYAG-00116327
                                    Corporate America                        Air Transportation -
9/13/2017   9/20/2017   9/20/2017   Aviation, Inc.      I.I. & I.S. Travel   Springfield/Dallas                         (4) W. LaPierre and guests           $9,500.00                 092017-c-ROA    $9,500.00                     NYAG-00116328
                                    Corporate America                        Air Transportation -
9/12/2017   9/20/2017   9/21/2017   Aviation, Inc.      I.I. & I.S. Travel   Baltimore/Springfield/Baltimore            (2) Kreh, Azato                     $21,300.00                   092017ROA    $21,300.00                     NYAG-00116329
                                                                             Air Transportation -
                                  Corporate America                          Washington/Jackson/San                     (4) W & S LaPierre, C. Kinney, T.
8/24/2019   9/24/2019   9/29/2019 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Washington                         Schropp                             $48,400.00                        92419   $48,400.00                     NYAG-00116330

                                  Corporate America                          Air Transportation -
9/10/2015   9/25/2015   9/30/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Sanford/Albany/ Washington (2) W&S LaPierre                         $18,835.00                   092515ROA    $18,835.00                     NYAG-00116331
                                  Corporate America                          Air Transportation -
8/18/2017   9/25/2017   9/25/2017 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington                     (3) W & S LaPierre; T. Schropp           $27,000.00                   092517ROA    $27,000.00                     NYAG-00116332
                                                                             Air Transportation -
                                  Corporate America                          Washington/Jackson/Washington/ San
9/19/2019   9/25/2019   9/29/2019 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Washington                    (3) W & S LaPierre; C. Kinney            $58,800.00   -$48,400.00          92519   $10,400.00 Credit on Account   NYAG-00116333

                                  Corporate America                          Air Transportation -                                                                                                                                    NYAG-00116334
9/21/2018   9/26/2018   10/2/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Van Nuys/Pierre/ Washington     (2) W&S LaPierre                    $86,220.00                        92618   $86,220.00                     NYAG-00116335
                                                                             Air Transportation -
                                  Corporate America                          Washington/Williston/Salt Lake
9/15/2017   9/28/2017   10/4/2017 Aviation, Inc.        I.I. & I.S. Travel   City/Lewistown/Van Nuys/ Washington        (4) W & S LaPierre and guests       $80,850.00                   092817ROA    $80,850.00                     NYAG-00116336
                                                                             Air Transportation -
                                    Corporate America                        Washington/Williston/Provo/
8/23/2017   9/28/2017   10/3/2017   Aviation, Inc.      I.I. & I.S. Travel   Lewistown/Van Nuys/Washington              (4) W & S LaPierre and guests       $80,050.00                   092817ROA    $80,050.00                     NYAG-00116337
                                    Corporate America                        Air Transportation -                       (3) Dana Loesch, Christopher
9/26/2017   9/29/2017   9/29/2017   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Provo/Dallas                        Loesch, Lacey Duffy                 $28,075.00                 092917-a-ROA   $28,075.00                     NYAG-00116338
                                    Corporate America                        Air Transportation -                       (2) Dana Loesch, Lacey Duffy
9/19/2017   9/29/2017   9/29/2017   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Provo/Dallas                        Sterner                             $26,725.00                   092917ROA    $26,725.00                     NYAG-00116339
                                    Corporate America                        Air Transportation -                       (2) Susan LaPierre, Nader
9/21/2016   9/30/2016   9/30/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Jacksonville/ Washington        Tavangar                            $17,150.00                   093016ROA    $17,150.00                     NYAG-00116340
                                                                             Air Transportation -
                                    Corporate America                        Washington/Jacksonville/West Palm
9/16/2016   9/30/2016   9/30/2016   Aviation, Inc.      I.I. & I.S. Travel   Beach/Jacksonville/ Washington             (2) W&S LaPierre                    $24,125.00                   093016ROA    $24,125.00                     NYAG-00116341
                                    Corporate America                        Air Transportation -
9/21/2018   10/3/2018   10/4/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Charlotte/ Martinsburg          (2) Wayne LaPierre, Joshua Powell   $18,610.00                      1003-18   $18,610.00                     NYAG-00116342
                                    Corporate America                        Air Transportation -
9/21/2018   10/3/2018   10/4/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Charlotte/Washington            (2) Wayne LaPierre, Joshua Powell   $16,100.00                       100318   $16,100.00                     NYAG-00116343
                                    Corporate America                        Air Transportation -
9/21/2018   10/3/2018   10/4/2018   Aviation, Inc.      I.I. & I.S. Travel   Washington/Charlotte/ Martinsburg          (2) Wayne LaPierre, Joshua Powell   $16,100.00                       100318   $16,100.00                     NYAG-00116344
                                    Corporate America                        Air Transportation -
9/25/2019   10/3/2019   10/6/2019   Aviation, Inc.      I.I. & I.S. Travel   Washington/Lincoln/Pueblo/ Washington      (3) W & S LaPierre; C. Kinney       $48,050.00                       100319   $48,050.00                     NYAG-00116345
                                    Corporate America                        Air Transportation -
7/31/2017   10/5/2017   10/5/2017   Aviation, Inc.      I.I. & I.S. Travel   Minneapolis/Pierre                         (2) C. Cox, D. Lehman                $7,085.00                   100517ROA     $7,085.00                     NYAG-00116346




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                                                                              Air Transportation -
                                     Corporate America                        Dallas/Wichita/Kearney/Madison
 10/4/2017    10/6/2017    10/9/2017 Aviation, Inc.      I.I. & I.S. Travel   /Pierre/Washington                      (4) W. LaPierre and guests         $59,600.00          100617ROA    $59,600.00                          NYAG-00116347
                                                                              Air Transportation -
                                                                              Washington/Kearney/Colorado
                                     Corporate America                        Springs/Omaha/Colorado
 10/7/2015    10/7/2015   10/13/2015 Aviation, Inc.      I.I. & I.S. Travel   Springs/Kearney/Pierre/ Washington      (4) W. LaPierre and guests         $79,135.00          100715ROA    $79,135.00                          NYAG-00116348
                                     Corporate America                        Air Transportation -                    (3) W & S LaPierre; Christopher
 9/25/2017    10/8/2017    10/9/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/Madison/Pierre/ Washington   Cox                                $36,185.00          100817ROA    $36,185.00                          NYAG-00116349
                                     Corporate America                        Air Transportation -
 10/3/2015    10/9/2015    10/9/2015 Aviation, Inc.      I.I. & I.S. Travel   Laramie/Colorado Springs                (4) D. Cheney and guests           $13,440.00          100915ROA    $13,440.00                          NYAG-00116350
                                     Corporate America                        Air Transportation -                    (4) W. LaPierre, C. Cox, D.
 9/25/2017   10/11/2017   10/11/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/Lexington/ Washington        Lehman, T. Schropp                 $13,865.00          101117ROA    $13,865.00                          NYAG-00116351
                                     Corporate America                        Air Transportation -
 9/26/2016   10/12/2016   10/12/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington/Lexington/ Washington        (tba) W. LaPierre and guests       $10,595.00          101216ROA    $10,595.00                          NYAG-00116352
                                     Corporate America                        Air Transportation -
 10/4/2016   10/12/2016   10/12/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington/Lexington/ Washington        (4) W. LaPierre and guests         $13,350.00          101216ROA    $13,350.00                          NYAG-00116353
                                                                              Air Transportation -
                                                                              Washington/North Platte/
                                     Corporate America                        Flagstaff/Scottsdale/Burbank/
 10/9/2017   10/12/2017   10/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Scottsdale/North Platte/ Washington     (6) W. LaPierre and guests         $73,270.00        101217-a-ROA   $73,270.00                          NYAG-00116354
                                                                              Air Transportation -
                                                                              Washington/North Platte/
                                     Corporate America                        Flagstaff/Scottsdale/North Platte/
 9/26/2017   10/12/2017   10/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                              (5) W. LaPierre and guests         $62,550.00          101217ROA    $62,550.00                          NYAG-00116355
                                                                              Air Transportation -
                                     Corporate America                        Washington/Thermal/Kearney/
 10/6/2016   10/13/2016   10/21/2016 Aviation, Inc.      I.I. & I.S. Travel   Madison/Washington                      (2) W&S LaPierre                   $83,785.00          101316ROA    $83,785.00                          NYAG-00116356
                                                                              Air Transportation -
                                     Corporate America                        Washington/Thermal/Kearney/
 9/27/2016   10/13/2016   10/19/2016 Aviation, Inc.      I.I. & I.S. Travel   Washington                              (2) W&S LaPierre                   $69,250.00          101316ROA    $69,250.00                          NYAG-00116357
                                                                              Air Transportation -
                                     Corporate America                        Washington/Charleston/Manassas
10/15/2015   10/16/2015   10/17/2015 Aviation, Inc.      I.I. & I.S. Travel   /Charleston                             (2) W&S LaPierre                   $24,300.00          101615ROA    $24,300.00                          NYAG-00116358
                                                                              Air Transportation -
                                     Corporate America                        Washington/Chicago/Nashville/
10/11/2017   10/17/2017   10/19/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington                              (4) W. LaPierre and guests         $31,400.00          101717ROA    $31,400.00                          NYAG-00116359
                                                                              Air Transportation -
                                                                              Washington/Charleston/
                                                                              Springfield/Kearney/Springfield/
                                     Corporate America                        Nashville/Memphis/Nashville/
10/15/2015   10/19/2015   10/22/2015 Aviation, Inc.      I.I. & I.S. Travel   Washington                              (6) W. LaPierre and guests         $66,800.00          101915ROA    $66,800.00                          NYAG-00116360
                                     Corporate America                        Air Transportation -
 9/26/2018   10/19/2018   10/21/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Merced/Washington            (2) W&S LaPierre                   $68,715.00              101918   $68,715.00                          NYAG-00116361
                                     Corporate America                        Air Transportation -
10/20/2017   10/24/2017   10/24/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/Wilmington/ Washington       (2) C. Cox, D. Lehman              $14,500.00          102417ROA    $14,500.00                          NYAG-00116362
                                                                              Air Transportation -
                                     Corporate America                        Washington/New Orleans/San
10/27/2015   10/27/2015   10/30/2015 Aviation, Inc.      I.I. & I.S. Travel   Antonio/Midland/Washington              (4-5) W. LaPierre and guests       $56,100.00          102715ROA    $56,100.00                          NYAG-00116363
                                                                              Air Transportation -
                                     Corporate America                        Washington/New Orleans/
10/15/2015   10/27/2015   10/30/2015 Aviation, Inc.      I.I. & I.S. Travel   Midland/Washington                      (6) W. LaPierre and guests         $52,700.00          102715ROA    $52,700.00                          NYAG-00116364
                                                                              Air Transportation -
                                     Corporate America                        Washington/North Platte/Dallas/ North   (5) W&S LaPierre, Tyler Schropp;
10/12/2018    11/1/2018    11/5/2018 Aviation, Inc.      I.I. & I.S. Travel   Platte/Washington                       Colleen & Sienna Sterner           $54,290.00              110118   $54,290.00                          NYAG-00116365
                                                                              Air Transportation -
                                     Corporate America                        Washington/North Platte/Dallas/ North   (5) W&S LaPierre, Tyler Schropp;
10/23/2018    11/2/2018    11/5/2018 Aviation, Inc.      I.I. & I.S. Travel   Platte/Washington                       Colleen & Sienna Sterner           $59,790.00             1102-18   $59,790.00                          NYAG-00116366
                                                                              Air Transportation -
                                     Corporate America                        Washington/Dallas/Kearney/
10/25/2016    11/2/2016    11/7/2016 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Kearney/Dallas/ Washington       (4) W. LaPierre and guests         $62,580.00          110216ROA    $62,580.00                          NYAG-00116367
                                                                              Air Transportation -
                                                                              Washington/Dallas/San Antonio/
                                     Corporate America                        Dallas/Kearney/Dallas/Kearney/
 10/7/2016    11/2/2016    11/7/2016 Aviation, Inc.      I.I. & I.S. Travel   Dallas/Washington                       (5) W. LaPierre and guests         $74,250.00          110216ROA    $74,250.00                          NYAG-00116368
                                                                              Air Transportation -
                                     Corporate America                        Washington/North Platte/Dallas/ North
10/22/2017    11/2/2017    11/7/2017 Aviation, Inc.      I.I. & I.S. Travel   Platte/Washington                       (2-6) W. LaPierre and guests       $55,400.00          110217ROA    $55,400.00                          NYAG-00116369
                                                                              Air Transportation -
                                     Corporate America                        Washington/North Platte/Dallas/ North   (5) W&S LaPierre, Tyler Schropp;                                               Note: Replaces Invoice
10/23/2018    11/2/2018    11/5/2018 Aviation, Inc.      I.I. & I.S. Travel   Platte/Washington                       Colleen & Sienna Sterner           $53,160.00              110218   $53,160.00 #110118                  NYAG-00116370
                                                                              Air Transportation -
                                     Corporate America                        Washington/North Platte/Dallas/ North
10/29/2017    11/4/2017    11/7/2017 Aviation, Inc.      I.I. & I.S. Travel   Platte/Washington                       (2-6) W. LaPierre and guests       $52,300.00          110417ROA    $52,300.00                          NYAG-00116371
                                     Corporate America                        Air Transportation -
10/29/2017   11/11/2017   11/16/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/Orlando/Austin/ Washington   (3) W & S LaPierre; T. Schropp     $55,300.00        111117-a-ROA   $55,300.00                          NYAG-00116372
                                     Corporate America                        Air Transportation -
10/27/2017   11/11/2017   11/15/2017 Aviation, Inc.      I.I. & I.S. Travel   Washington/Orlando/Austin/ Washington   (3) W & S LaPierre; T. Schropp     $49,175.00          111117ROA    $49,175.00                          NYAG-00116373
                                                                              Air Transportation -
                                     Corporate America                        Washington/Tulsa/Austin/                (2) Wayne LaPierre, Anthony
 11/2/2016   11/12/2016   11/15/2016 Aviation, Inc.      I.I. & I.S. Travel   Orlando/Savannah/Washington             Makris                             $49,500.00          111216ROA    $49,500.00                          NYAG-00116374




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                                                                                Air Transportation -
                                     Corporate America                          Washington/Las Vegas/Van
11/11/2015   11/17/2015   11/20/2015 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Washington                           (1) W. LaPierre                      $70,450.00        11172015ROA    $70,450.00                      NYAG-00116375
                                                                                Air Transportation -
                                     Corporate America                          Washington/Las Vegas/Van
11/11/2015   11/17/2015   11/20/2015 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Washington                           (1) W. LaPierre                      $72,500.00        11172015ROA    $72,500.00                      NYAG-00116376
                                     Corporate America                          Air Transportation -                      (3) Wayne LaPierre, Anthony
11/23/2016   11/30/2016   11/30/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Nashville/ Washington          Makris, Vanessa Shahidi              $21,715.00          113016ROA    $21,715.00                      NYAG-00116377
                                     Corporate America                          Air Transportation -
11/17/2017    12/1/2017    12/3/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Teterboro/ Washington          (2) W&S LaPierre                     $18,650.00         120117aROA    $18,650.00                      NYAG-00116378
                                                                                Air Transportation -
                                     Corporate America                          Washington/Teterboro/Colorado
10/31/2017    12/1/2017    12/5/2017 Aviation, Inc.        I.I. & I.S. Travel   Springs/Washington                        (2) W&S LaPierre                     $53,850.00          120117ROA    $53,850.00                      NYAG-00116379
                                     Corporate America                          Air Transportation -
11/28/2017    12/4/2017    12/4/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Raleigh/Washington             (2) C. Cox, D. Lehman                $10,800.00          120417ROA    $10,800.00                      NYAG-00116380
                                                                                Air Transportation -
                                     Corporate America                          Washington/Dallas/Washington/             (3) Wayne LaPierre, Anthony
11/28/2016    12/6/2016    12/8/2016 Aviation, Inc.        I.I. & I.S. Travel   Teterboro                                 Makris; Susan LaPierre               $37,700.00          120616ROA    $37,700.00                      NYAG-00116381
                                     Corporate America                          Air Transportation -
11/28/2016   12/11/2016   12/11/2016 Aviation, Inc.        I.I. & I.S. Travel   Teterboro/Washington                      (2) Wayne & Susan LaPierre           $12,535.00          121116ROA    $12,535.00                      NYAG-00116382
                                     Corporate America                          Air Transportation -
11/29/2017   12/14/2017   12/15/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Scottsdale/ Washington         (2) W. LaPierre, T. Schropp          $50,400.00          121417ROA    $50,400.00                      NYAG-00116383
                                                                                Air Transportation -
                                     Corporate America                          Washington/North Platte/Colorado
 12/6/2017   12/21/2017   12/21/2017 Aviation, Inc.        I.I. & I.S. Travel   Springs                                   (4) W & S LaPierre, C & S Sterner    $38,285.00          122117ROA    $38,285.00                      NYAG-00116384
                                                                                Air Transportation -
                                     Corporate America                          Washington/Colorado Springs/
11/26/2018   12/21/2018   12/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington                                (2) W&S LaPierre                     $56,310.00              122118   $56,310.00                      NYAG-00116385
                                     Corporate America                          Air Transportation -
 12/6/2017   12/22/2017   12/22/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Colorado Springs               (2) W&S LaPierre                     $36,875.00          122217ROA    $36,875.00                      NYAG-00116386
                                                                                Air Transportation -
                                     Corporate America                          Washington/North Platte/Colorado          (4) Wayne & Susan LaPierre;
12/19/2016   12/23/2016   12/23/2016 Aviation, Inc.        I.I. & I.S. Travel   Springs                                   Colleen & Sienna Sterner             $31,000.00          122316ROA    $31,000.00                      NYAG-00116387
                                     Corporate America                          Air Transportation -                      (4) Wayne & Susan LaPierre;
 12/5/2016   12/23/2016   12/23/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Kearney/Colorado Springs       Colleen & Sienna Sterner             $30,750.00          122316ROA    $30,750.00                      NYAG-00116388
                                                                                Air Transportation -
                                     Corporate America                          Colorado Springs/North Platte/N.
 12/8/2017   12/26/2017   12/26/2017 Aviation, Inc.        I.I. & I.S. Travel   Eleuthera, Bahamas                        (4) W & S LaPierre, C & S Sterner    $41,685.00        122617-a-ROA   $41,685.00                      NYAG-00116389

                                     Corporate America                          Air Transportation -
12/14/2017   12/26/2017   12/26/2017 Aviation, Inc.        I.I. & I.S. Travel   Colorado Springs/N. Eleuthera, Bahamas    (2) W&S LaPierre                     $35,400.00        122617-b-ROA   $35,400.00                      NYAG-00116390
                                                                                Air Transportation -
                                     Corporate America                          Colorado Springs/North Platte/ Nassau,
 12/6/2017   12/26/2017   12/26/2017 Aviation, Inc.        I.I. & I.S. Travel   Bahamas                                   (4) W & S LaPierre, C & S Sterner    $41,185.00          122617ROA    $41,185.00                      NYAG-00116391

                                       Corporate America                        Air Transportation -
 12/5/2016   12/27/2016   12/27/2016   Aviation, Inc.      I.I. & I.S. Travel   Colorado Springs/N. Eleuthera, Bahamas    (2) Wayne & Susan LaPierre           $28,650.00          122716ROA    $28,650.00                      NYAG-00116392
                                       Corporate America                        Air Transportation -
 12/6/2017   12/27/2017   12/27/2017   Aviation, Inc.      I.I. & I.S. Travel   Colorado Springs/Nassau, Bahamas          (5) W & S LaPierre and guests        $46,615.00          122717ROA    $46,615.00                      NYAG-00116393
                                       Corporate America                        Air Transportation -
12/15/2015   12/29/2015   12/29/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/N. Eleuthera, Bahamas          (2) W&S LaPierre                     $18,900.00          122915ROA    $18,900.00                      NYAG-00116394
                                       Corporate America                        Air Transportation -
12/15/2015   12/30/2015   12/30/2015   Aviation, Inc.      I.I. & I.S. Travel   Nashville/Baton Rouge/ Washington         (1) Christopher Cox                  $20,985.00          123015ROA    $20,985.00                      NYAG-00116395

                                       Corporate America                        Air Transportation -
 5/29/2015    5/18/2015    5/20/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Charlotte/ Washington   (4) W. LaPierre and guests           $41,819.10                5233   $41,819.10                      NYAG-00116396
                                       Corporate America                        Air Transportation -
 5/28/2015    5/24/2015    5/24/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/Concord/Washington             (3) W. LaPierre and guests           $10,866.00                5235   $10,866.00                      NYAG-00116397
                                       Corporate America                        Air Transportation -
  6/1/2015    5/26/2015    5/30/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys/ Washington           (2) W. LaPierre and guests           $65,468.88                5236   $65,468.88                      NYAG-00116398
                                       Corporate America                        Air Transportation -
 5/27/2015    5/31/2015    5/31/2015   Aviation, Inc.      I.I. & I.S. Travel   Halifax/Teterboro                         (2) T. Selleck, D. Muntz             $15,095.00                5237   $15,095.00                      NYAG-00116399
                                       Corporate America                        Air Transportation -
 6/11/2015     6/2/2015     6/7/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/Victoria, BC                   (2) W&S LaPierre                     $68,040.84                5238   $68,040.84                      NYAG-00116400
                                       Corporate America                        Air Transportation -
 6/11/2015    6/10/2015    6/10/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/Nashville                      (2) W&S LaPierre                     $12,282.77                5240   $12,282.77                      NYAG-00116401
                                       Corporate America                        Air Transportation -
 6/15/2015    6/14/2015    6/14/2015   Aviation, Inc.      I.I. & I.S. Travel   Nashville/Washington                      (2) W&S LaPierre                     $12,476.46                5241   $12,476.46                      NYAG-00116402
                                       Corporate America                        Air Transportation -
 6/18/2015    6/16/2015    6/17/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/St. Louis/Colorado Springs     (1) S. LaPierre                      $24,620.00                5243   $24,620.00                      NYAG-00116403
                                       Corporate America                        Air Transportation -
 6/18/2015    6/16/2015    6/17/2015   Aviation, Inc.      I.I. & I.S. Travel   Washington/St. Louis/Colorado Springs     (1) S. LaPierre                      $24,624.75                5243   $24,624.75 "Original" Invoice   NYAG-00116404
                                                                                Air Transportation -
                                     Corporate America                          Washington/Colorado Springs/ Grand
 6/18/2015    6/17/2015    6/19/2015 Aviation, Inc.        I.I. & I.S. Travel   Island/Washington                         (5) W. LaPierre and guests           $43,650.73                5244   $43,650.73                      NYAG-00116405
                                                                                Air Transportation -
                                     Corporate America                          Washington/Nassau, Bahamas/               (5 out/4 back) W. LaPierre and
 6/29/2015    6/20/2015    6/27/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington                                guests                               $34,786.18                5245   $34,786.18                      NYAG-00116406
                                     Corporate America                          Air Transportation -
 8/24/2015    8/22/2015    8/22/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Bristol/Washington             (2) W. LaPierre, N. Tavangar         $11,295.00                5260   $11,295.00                      NYAG-00116407
                                     Corporate America                          Air Transportation -
 9/15/2015    9/14/2015    9/14/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Charlotte/Washington           (3) W. LaPierre and guests           $11,800.00                5262   $11,800.00                      NYAG-00116408




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                                                                                Air Transportation -
                                     Corporate America                          Washington/Van Nuys/Santa Fe/
 9/29/2015    9/17/2015    9/25/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Sanford                      (2) W. LaPierre and guests          $82,366.13               5263   $82,366.13                                NYAG-00116409
                                     Corporate America                          Air Transportation -
 9/24/2015    9/23/2015    9/23/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Reading/Washington           (3) C. Cox, D. Lehman, R. Weaver     $5,218.00               5264    $5,218.00                                NYAG-00116410

                                     Corporate America                          Air Transportation -
 9/30/2015    9/25/2015    9/29/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Sanford/Albany/ Washington   (2) W&S LaPierre                    $18,835.00               5265   $18,835.00                                NYAG-00116411
                                     Corporate America                          Air Transportation -
 9/30/2015    9/29/2015    9/29/2015 Aviation, Inc.        I.I. & I.S. Travel   Albany/Washington                       (2) W&S LaPierre                     $9,300.00               5265    $9,300.00                                NYAG-00116412
                                                                                Air Transportation -
                                                                                Washington/Kearney/Colorado
                                     Corporate America                          Springs/Omaha/Colorado Springs/
10/15/2015    10/7/2015   10/13/2015 Aviation, Inc.        I.I. & I.S. Travel   Kearney/Pierre/Washington               (4) W. LaPierre and guests          $78,523.10               5267   $78,523.10                                NYAG-00116413
                                     Corporate America                          Air Transportation -
10/16/2015   10/14/2015   10/14/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Lexington/Washington         (3) LaPierre, Lehman, Weaver        $10,725.00               5270   $10,725.00                                NYAG-00116414
                                                                                Air Transportation -
                                     Corporate America                          Washington/Charleston/Manassas/
10/20/2015   10/16/2015   10/17/2015 Aviation, Inc.        I.I. & I.S. Travel   Charleston                              (2) W&S LaPierre                    $24,236.45               5271   $24,236.45                                NYAG-00116415
                                                                                Air Transportation -
                                     Corporate America                          Washington/New Orleans/San
 11/3/2015   10/27/2015   10/29/2015 Aviation, Inc.        I.I. & I.S. Travel   Antonio/Midland/Washington              (5) W. LaPierre and guests          $54,624.92               5274   $54,624.92                                NYAG-00116417
                                                                                Air Transportation -
                                     Corporate America                          Washington/Dallas/Grand Island/
11/12/2015    11/5/2015   11/10/2015 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Washington                       (5) W. LaPierre and guests          $65,380.17               5275   $65,380.17                                NYAG-00116418
                                                                                                                                                                                                       Credit for Inv. 5275 -
                                     Corporate America                          Air Transportation -                                                                                                   Overpayment Received on
11/16/2015   11/14/2015   11/14/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Starkville/Washington        (3) W. LaPierre and guests          $26,813.74     -$4.83    5278   $26,808.91 11/04/15                       NYAG-00116419
                                                                                Air Transportation -                                                                                                   Note: Oklahoma City was
                                     Corporate America                          Washington/Las Vegas/Van                                                                                               not part of the original
11/24/2015   11/17/2015   11/20/2015 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Oklahoma City/Washington           (1) W. LaPierre                     $73,686.68               5280   $73,686.68 itinerary                      NYAG-00116420
                                     Corporate America                          Air Transportation -
12/15/2015   12/10/2015   12/13/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/New York/ Washington         (2) W&S LaPierre                    $18,500.00               5289   $18,500.00                                NYAG-00116421
                                     Corporate America                          Air Transportation -
12/15/2015   12/11/2015   12/11/2015 Aviation, Inc.        I.I. & I.S. Travel   Washington/Statesville/ Washington      (2) C. Cox, R. Weaver               $11,409.38               5290   $11,409.38                                NYAG-00116422
                                                                                Air Transportation -
                                       Corporate America                        Washington/Denver/Grand Island/
  6/1/2016    5/26/2016    5/27/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington                              (5) W. LaPierre and guests          $41,184.92               5332   $41,184.92                                NYAG-00116423
                                       Corporate America                        Air Transportation -
 6/10/2016     6/9/2016     6/9/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Nashville                    (1) S. LaPierre                     $13,064.00               5335   $13,064.00                                NYAG-00116424
                                       Corporate America                        Air Transportation -                                                                                                                                  NYAG-00116425
 6/15/2016    6/10/2016    6/10/2016   Aviation, Inc.      I.I. & I.S. Travel   Nashville/Washington/Nashville          (2) W. LaPierre and guests          $21,334.40               5336   $21,334.40                                NYAG-00116426
                                       Corporate America                        Air Transportation -
 6/21/2016    6/13/2016    6/17/2016   Aviation, Inc.      I.I. & I.S. Travel   Nashville/Dallas/Washington             (4) W. LaPierre and guests          $47,704.26               5338   $47,704.26                                NYAG-00116427
                                       Corporate America                        Air Transportation -
 6/21/2016    6/20/2016    6/20/2016   Aviation, Inc.      I.I. & I.S. Travel   Washington/Hartford/Washington          (3) C. Cox and guests               $11,879.28               5339   $11,879.28                                NYAG-00116428
                                                                                Air Transportation -
                                     Corporate America                          Washington/Kearney/Alpine/
 6/28/2016    6/24/2016    6/26/2016 Aviation, Inc.        I.I. & I.S. Travel   Kearney/Washington/Savannah             (3) W. LaPierre and guests          $60,576.74               5340   $60,576.74                                NYAG-00116429
                                     Corporate America                          Air Transportation -
  7/6/2016     7/1/2016     7/1/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Atlanta/Orlando              (2) W. LaPierre and guest           $16,930.00               5341   $16,930.00                                NYAG-00116430
                                     Corporate America                          Air Transportation -
  7/6/2016     7/4/2016     7/4/2016 Aviation, Inc.        I.I. & I.S. Travel   Orlando/Washington                      (2) W&S LaPierre                    $19,264.03               5342   $19,264.03                                NYAG-00116431
                                                                                                                                                                                                       Credit from Inv. 5342:
                                     Corporate America                          Air Transportation -                                                                                                   $35.97 and Credit from
  7/7/2016     7/5/2016     7/6/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Jackson Hole/ Washington     (2) W. LaPierre and guest           $49,449.03    -$84.24    5343   $49,364.79 Inv. 5322: $48.27              NYAG-00116432

                                     Corporate America                          Air Transportation -
 7/14/2016     7/9/2016    7/10/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Milwaukee/Kearney/ Nassau    (5) W. LaPierre and guests          $37,613.49               5344   $37,613.49                                NYAG-00116433
                                                                                Air Transportation -
                                     Corporate America                          Nassau/Minneapolis/Kearney/
 7/22/2016    7/17/2016    7/18/2016 Aviation, Inc.        I.I. & I.S. Travel   Minneapolis/Washington                  (5) W. LaPierre and guests          $60,330.01   -$236.51    5345   $60,093.50 Credit from Inv. 5344          NYAG-00116434
                                     Corporate America                          Air Transportation -
 7/22/2016    7/21/2016    7/21/2016 Aviation, Inc.        I.I. & I.S. Travel   Cleveland/Washington                    (4) C. Cox and guests                $8,898.00               5346    $8,898.00                                NYAG-00116435
                                                                                Air Transportation -
                                       Corporate America                        Washington/Springfield/Oklahoma
 8/15/2016    8/11/2016    8/12/2016   Aviation, Inc.      I.I. & I.S. Travel   City/Kearney/Washington                 (3) W. LaPierre and guests          $36,194.91               5352   $36,194.91                                NYAG-00116436
                                       Corporate America                        Air Transportation -
 8/15/2016    8/11/2016    8/11/2016   Aviation, Inc.      I.I. & I.S. Travel   Cape Girardeau/Washington               (2) C. Cox, D. Lehman               $14,200.93               5353   $14,200.93                                NYAG-00116437
                                       Corporate America                        Air Transportation -
 8/15/2016    8/11/2016    8/11/2016   Aviation, Inc.      I.I. & I.S. Travel   Cape Girardeau/Oklahoma City            (1) W. LaPierre                     $13,812.97               5354   $13,812.97                                NYAG-00116438
                                       Corporate America                        Air Transportation -
 8/22/2016    8/20/2016    8/20/2016   Aviation, Inc.      I.I. & I.S. Travel   Currituck/Bristol                       (3) W. LaPierre and guests           $7,945.00               5357    $7,945.00                                NYAG-00116439
                                       Corporate America                        Air Transportation -
 8/22/2016    8/20/2016    8/20/2016   Aviation, Inc.      I.I. & I.S. Travel   Bristol/Washington                      (3) W. LaPierre and guests          $12,750.00               5358   $12,750.00                                NYAG-00116440
                                       Corporate America                        Air Transportation -
 8/22/2016    8/21/2016    8/21/2016   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Kearney                          (2) C & S Sterner                   $11,435.00               5359   $11,435.00                                NYAG-00116441
                                                                                Air Transportation -
                                     Corporate America                          Washington/Van Nuys/Scottsdale/ Van                                                                                    Note: Scottsdale not part of
  9/6/2016    8/29/2016     9/2/2016 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Kearney/Washington                 (3) W. LaPierre and guests          $72,148.00               5360   $72,148.00 original quoted itinerary.     NYAG-00116442




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                                                                                Air Transportation -
                                     Corporate America                          Washington/Oklahoma City/
  9/8/2016    9/14/2016    9/16/2016 Aviation, Inc.        I.I. & I.S. Travel   Louisville/Washington                   (2) W. LaPierre, T. Schropp           $34,564.57                   5363   $34,564.57                              NYAG-00116443
                                     Corporate America                          Air Transportation -
 9/20/2016    9/16/2016    9/18/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Brunswick/ Washington        (2) Wayne & Susan LaPierre            $26,450.00                   5364   $26,450.00                              NYAG-00116444
                                                                                Air Transportation -
                                                                                Washington/Dallas/Kearney/
                                     Corporate America                          Dallas/Scottsdale/North                 (4) W & S LaPierre, N. Tavangar,
 9/20/2016    9/19/2016    9/26/2016 Aviation, Inc.        I.I. & I.S. Travel   Platte/Denver/Dallas/New York           A. Makris                             $85,860.00                   5366   $85,860.00                              NYAG-00116445
                                                                                Air Transportation -
                                                                                Washington/Dallas/Kearney/
                                     Corporate America                          Dallas/Scottsdale/North                 (4) W & S LaPierre, N. Tavangar,                                                     Credit from Inv. 5371
 10/7/2016    9/19/2016    9/26/2016 Aviation, Inc.        I.I. & I.S. Travel   Platte/Denver/Dallas/New York           A. Makris                             $86,380.99      -$67.81      5366   $86,313.18 "Original" Invoice           NYAG-00116446
                                     Corporate America                          Air Transportation -
 9/27/2016    9/28/2016    9/28/2016 Aviation, Inc.        I.I. & I.S. Travel   Teteboro/Washington                     (2) Wayne & Susan LaPierre             $8,050.00                   5369    $8,050.00                              NYAG-00116447
                                     Corporate America                          Air Transportation -                    (2) Susan LaPierre, Nader
 10/5/2016    9/30/2016    9/30/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Jacksonville/ Washington     Tavangar                              $17,082.19                   5371   $17,082.19                              NYAG-00116448
                                                                                Air Transportation -
                                     Corporate America                          Washington/Dallas/Van Nuys/             (2) Wayne LaPierre, Nader
10/14/2016    10/5/2016    10/9/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington                              Tavangar                              $64,070.26                   5372   $64,070.26                              NYAG-00116449
                                     Corporate America                          Air Transportation -
10/14/2016   10/12/2016   10/12/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Lexington/Washington         (4) W. LaPierre and guests            $13,350.00                   5374   $13,350.00                              NYAG-00116450
                                                                                Air Transportation -
                                     Corporate America                          Washington/Thermal/Kearney/
10/26/2016   10/13/2016   10/21/2016 Aviation, Inc.        I.I. & I.S. Travel   Madison/Washington                      (2) Wayne & Susan LaPierre            $83,709.24                   5375   $83,709.24                              NYAG-00116451
                                     Corporate America                          Air Transportation -                    (2) Christopher Cox, David
10/20/2016   10/19/2016   10/19/2016 Aviation, Inc.        I.I. & I.S. Travel   Van Nuys/Las Vegas/Van Nuys             Lehman                                 $7,225.00                   5376    $7,225.00                              NYAG-00116452
                                     Corporate America                          Air Transportation -
10/25/2016   10/23/2016   10/23/2016 Aviation, Inc.        I.I. & I.S. Travel   Madiso/Kearney                          (1) Susan LaPierre                     $8,825.00                   5377    $8,825.00                              NYAG-00116453
                                                                                Air Transportation -
                                     Corporate America                          Washington/Tulsa/Austin/Orlando/        (3) Wayne LaPierre, Anthony
11/21/2016   11/13/2016   11/16/2016 Aviation, Inc.        I.I. & I.S. Travel   Savannah/Washington                     Makris, Wilson Phillips               $49,235.02                   5380   $49,235.02                              NYAG-00116454
                                     Corporate America                          Air Transportation -                    (3) Wayne LaPierre, Anthony
11/28/2016   11/30/2016   11/30/2016 Aviation, Inc.        I.I. & I.S. Travel   Washington/Nashville/Washington         Makris, Vanessa Shahidi                $4,994.86                   5389    $4,994.86                              NYAG-00116455
                                                                                Air Transportation -
                                       Corporate America                        Washington/North Platte/ Colorado       (5) Wayne & Susan LaPierre;                                                          Note: Remaining leg to
12/31/2016   12/23/2016   12/27/2016   Aviation, Inc.      I.I. & I.S. Travel   Springs/North Platte                    Terry, Colleen & Sienna Sterner       $35,685.26                   5396   $35,685.26 Bahamas billed separately.   NYAG-00116456
                                       Corporate America                        Air Transportation -
 1/19/2017    1/14/2017    1/15/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Houston/Las Vegas            (2) Wayne LaPierre and guests         $40,850.75                   5404   $40,850.75                              NYAG-00116457
                                       Corporate America                        Air Transportation -
 2/22/2017    2/15/2017    2/16/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Dallas/Washington            (2) W. LaPierre, N. Tavangar          $30,004.00                   5419   $30,004.00                              NYAG-00116458
                                       Corporate America                        Air Transportation -
 4/27/2017    4/26/2017    4/26/2017   Aviation, Inc.      I.I. & I.S. Travel   Dallas/Atlanta                          (5) Dana Loesch and guests            $25,300.00                   5436   $25,300.00                              NYAG-00116459
                                       Corporate America                        Air Transportation -                    (3) W & S LaPierre; Christopher
 5/16/2017     5/4/2017     5/7/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/San Antonio/ Washington      Cox                                   $43,390.36                   5440   $43,390.36                              NYAG-00116460
                                       Corporate America                        Air Transportation -                    (3) W & S LaPierre; Christopher
 5/16/2017     5/4/2017     5/7/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/San Antonio/ Washington      Cox                                   $43,150.00                   5440   $43,150.00 "Original" Invoice           NYAG-00116461
                                                                                Air Transportation -
                                     Corporate America                          Washington/North Platte/Van             (5) W & S LaPierre; C & S
 5/17/2017     5/9/2017    5/12/2017 Aviation, Inc.        I.I. & I.S. Travel   Nuys/Washington                         Sterner; Mildred Hallow               $64,900.00                   5442   $64,900.00                              NYAG-00116462
                                     Corporate America                          Air Transportation -
 5/31/2017    5/21/2017    5/24/2017 Aviation, Inc.        I.I. & I.S. Travel   Washington/Scottsdale/ Washington       (1) W. LaPierre                       $54,351.52                   5447   $54,351.52                              NYAG-00116463
                                     Corporate America                          Air Transportation -
  7/5/2017     7/1/2017     7/1/2017 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Orlando                          (2) C & S Sterner                     $26,995.00                   5458   $26,995.00                              NYAG-00116464
                                                                                Air Transportation -
                                       Corporate America                        Washington/Seattle/Fairbanks/
 7/26/2017    7/12/2017    7/16/2017   Aviation, Inc.      I.I. & I.S. Travel   International Falls/Washington          (2) W&S LaPierre                      $25,911.54                   5461   $25,991.54                              NYAG-00116465
                                       Corporate America                        Air Transportation -
 7/19/2017    7/20/2017    7/20/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Lakeland/Washington          (2) W. LaPierre, N. Tavangar          $23,650.00                   5462   $23,650.00                              NYAG-00116466
                                       Corporate America                        Air Transportation -
 10/4/2017    10/5/2017    10/5/2017   Aviation, Inc.      I.I. & I.S. Travel   Minneapolis/Pierre                      (2) C. Cox, D. Lehman                  $3,295.35                   5488    $3,295.35                              NYAG-00116467
                                       Corporate America                        Air Transportation -                                                                                                         Credit from Inv.
12/18/2017   11/11/2017   11/15/2017   Aviation, Inc.      I.I. & I.S. Travel   Washington/Orlando/Austin/ Washington   (3) W & S LaPierre; T. Schropp        $52,935.65   -$52,300.00     5500      $635.65 110417ROA                    NYAG-00116468
                                                                                                                                                                                                             Credit from Inv. 012718-
                                                                                                                                                                                                             CXL: $15,917.41, Credit
                                     Corporate America                          Air Transportation -                                                                                                         from Inv. 012618-CR:
  2/6/2018    1/27/2018    1/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Grand Island/Van Nuys                   (2) Colleen & Sienna Sterner          $25,625.00   -$21,157.91   5518-a    $4,467.09 $5,240.50                    NYAG-00116469
                                     Corporate America                          Air Transportation -
  2/5/2018    1/27/2018    1/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Grand Island/Van Nuys                   (2) Colleen & Sienna Sterner          $25,625.00                   5518   $25,625.00                              NYAG-00116470
                                                                                Air Transportation -
                                     Corporate America                          Dallas/Fort Lauderdale/                                                                                                      Note: Original Invoice
  3/6/2018    2/21/2018    2/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Dallas (leg cancelled)       (3) D&C Loesch, Henry Martin          $65,340.54                   5529   $65,340.54 dated February 21, 2018      NYAG-00116471
                                     Corporate America                          Air Transportation -
 2/22/2018    2/22/2018    2/22/2018 Aviation, Inc.        I.I. & I.S. Travel   Washington/Dallas                       (3) D. Loesch and guests              $33,100.00                   5531   $33,100.00                              NYAG-00116472
                                                                                Air Transportation -
                                                                                Brunswick/West Palm Beach/              02/26-27 morn: (1) C. Sterner daily
                                     Corporate America                          Brunswick/West Palm Beach/              02/27 aft: (5) W & S LaPierre; C.                                                    Note: Replaces Invoice
 2/21/2018    2/26/2018    2/27/2018 Aviation, Inc.        I.I. & I.S. Travel   Brunswick/Washington                    Kinney, A. Makris, C. Sterner         $45,105.59     -$120.01      5533   $44,985.58 #022618ROA                   NYAG-00116473
                                     Corporate America                          Air Transportation -
 4/12/2018    4/11/2018    4/11/2018 Aviation, Inc.        I.I. & I.S. Travel   Dallas/Grand Island/Washington          (4) W & S LaPierre, C & S Sterner     $37,195.00                 5540-A   $37,195.00                              NYAG-00116474
                                     Corporate America                          Air Transportation -                    (4) W & S LaPierre, Andra                                                            Note: Formerly Invoice
  5/7/2019    4/23/2019    4/30/2019 Aviation, Inc.        I.I. & I.S. Travel   Washington/Indianapolis/ Washington     Fischer, Tyler Schropp                $34,233.40                   5628   $34,233.40 #0423-3019                   NYAG-00116475




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                                    Corporate America                        Air Transportation -
9/21/2018    9/26/2018    10/2/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Van Nuys/Pierre/ Washington   (2) W&S LaPierre                       $96,200.00                       0926-18    $96,200.00   NYAG-00116476
                                    Corporate America                        Air Transportation -                     (2) David Lehman, Christopher
9/26/2018    10/3/2018    10/3/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Lexington/ Washington         Cox                                    $13,990.00                      1003-18a    $13,990.00   NYAG-00116477
                                    Corporate America                        Air Transportation -
9/21/2018    10/3/2018    10/4/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Charlotte/ Washington         (2) Wayne LaPierre, Joshua Powell      $18,610.00                       1003-18    $18,610.00   NYAG-00116478
                                    Corporate America                        Air Transportation -
9/26/2018   10/19/2018   10/21/2018 Aviation, Inc.      I.I. & I.S. Travel   Washington/Merced/Washington             (2) W&S LaPierre                       $75,715.00                       1019-18    $75,715.00   NYAG-00116479
                                                                             Air Transportation -
                                    Corporate America                        Washington/Orlando/North Platte/         (2/4/2) W&S LaPierre, C&S
 2/7/2019     3/2/2019    3/11/2019 Aviation, Inc.      I.I. & I.S. Travel   Washington                               Sterner, W&S LaPierre                  $71,400.00                   02-030911-19   $71,400.00   NYAG-00116480

                                                                                                                                               Total      $11,556,082.43   -$152,906.76
                                                                                                                                  Total Minus Credits     $11,403,175.67




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